Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 1 of 172




           EXHIBIT 1
                          Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 2 of 172
      Court of Common Pleas of Philadelphia County                                               For Prothonotary Use Only (Docket Number)
                    Trial Division
                   Civil Cover Sheet                                        E-Filing Number:   2109004398
PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA                                   FACTORY MUTUAL INSURANCE COMPANY

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 2929 WALNUT STREET SUITE 460                                                 P.O. BOX 7500
 PHILADELPHIA PA 19104-5099                                                   JOHNSTON RI 02919


PLAINTIFF'S NAME                                                            DEFENDANT'S NAME




PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS




PLAINTIFF'S NAME                                                            DEFENDANT'S NAME




PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS




TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS        COMMENCEMENT OF ACTION
                                                                       X Complaint                  Petition Action                     Notice of Appeal
               1                                     1
                                                                          Writ of Summons           Transfer From Other Jurisdictions
AMOUNT IN CONTROVERSY          COURT PROGRAMS

                                   Arbitration                   Mass Tort                       X Commerce                          Settlement
    $50,000.00 or less             Jury                          Savings Action                    Minor Court Appeal                Minors
 X More than $50,000.00            Non-Jury                      Petition                          Statutory Appeals                 W/D/Survival
                                   Other:
CASE TYPE AND CODE

  1O - CONTRACTS OTHER

STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                        IS CASE SUBJECT TO
                                                                                                                      COORDINATION ORDER?
                                                                                                                                  YES         NO


                                                                    SEP 02 2021
                                                                          S. RICE

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: TRUSTEES OF THE UNIVERSITY OF
                                                                        PENNSYLVANIA
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY                      ADDRESS

 DAVID J. STANOCH                                                            KANNER & WHITELEY, L.L.C.
                                                                             701 CAMP STREET
PHONE NUMBER                            FAX NUMBER                           NEW ORLEANS LA 70130
 (504)524-5777                          none entered

SUPREME COURT IDENTIFICATION NO.                                           E-MAIL ADDRESS

 91342                                                                       d.stanoch@kanner-law.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                      DATE SUBMITTED
 DAVID STANOCH                                                               Thursday, September 02, 2021, 06:03 pm

                                                  FINAL COPY (Approved by the Prothonotary Clerk)
                    Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 3 of 172
                                 COMMERCE PROGRAM ADDENDUM
                                      TO CIVIL COVER SHEET

     This case is subject to the Commerce Program because it is not an arbitration matter and it falls within one or
more of the following types (check all applicable):


         1.       Actions relating to the internal affairs or governance, dissolution or liquidation, rights or obligations
                  between or among owners (shareholders, partners, members), or liability or indemnity of managers
                  (officers, directors, managers, trustees, or members or partners functioning as managers) of business
                  corporations, partnerships, limited partnerships, limited liability companies or partnerships,
                  professional associations, business trusts, joint ventures or other business enterprises, including but
                  not limited to any actions involving interpretation of the rights or obligations under the organic law
                  (e.g., Pa. Business Corporation Law), articles of incorporation, by-laws or agreements governing such
                  enterprises;


         2.       Disputes between or among two or more business enterprises relating to transactions, business
                  relationships or contracts between or among the business enterprises. Examples of such transactions,
                  relationships and contracts include:

                                a.     Uniform Commercial Code transactions;
                                b.     Purchases or sales of business or the assets of businesses;
                                c.     Sales of goods or services by or to business enterprises;
                                d.     Non-consumer bank or brokerage accounts, including loan, deposit cash
                                       management and investment accounts;

                                e.     Surety bonds;
                                f.     Purchases or sales or leases of, or security interests in, commercial, real
                                       or personal property; and

                                g.     Franchisor/franchisee relationships.

         3.       Actions relating to trade secret or non-compete agreements;

         4.       "Business torts," such as claims of unfair competition, or interference with contractual relations or
                  prospective contractual relations;

         5.       Actions relating to intellectual property disputes;

         6.       Actions relating to securities, or relating to or arising under the Pennsylvania Securities Act;

         7.       Derivative actions and class actions based on claims otherwise falling within these ten types, such as
                  shareholder class actions, but not including consumer class actions, personal injury class actions, and
                  products liability class actions;

         8.       Actions relating to corporate trust affairs;


  X      9.       Declaratory judgment actions brought by insurers, and coverage dispute and bad faith claims brought
                  by insureds, where the dispute arises from a business or commercial insurance policy, such as a
                  Comprehensive General Liability policy;

         10.      Third-party indemnification claims against insurance companies where the subject insurance policy
                  is a business or commercial policy and where the underlying dispute would otherwise be subject to
                  the Commerce Program, not including claims where the underlying dispute is principally a personal
                  injury claim.

EFS #2109004398                                                                                                      \\zdraddm 5/07
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 4 of 172




 KANNER & WHITELEY, LLC                                                                            Filed and Attested by the
 By: Allan Kanner, Bar No. 31703                                          Attorneys for Plaintiff
                                                                                           Office of Judicial Records
 Cynthia St. Amant, pro hac vice forthcoming                                                           02 SEP 2021 06:03 pm
 David J. Stanoch, Bar No. 91342                                                                              S. RICE
 701 Camp Street
 New Orleans, LA 70130
 Tel: (504) 524-5777


 THE TRUSTEES OF THE UNIVERSITY OF                                       COURT OF COMMON PLEAS
 PENNSYLVANIA,                                                           PHILADELPHIA COUNTY, PA

                     Plaintiff,
                                                                         No.:
 vs.
                                                                         COMMERCE PROGRAM
 FACTORY MUTUAL INSURANCE
 COMPANY,                                                               JURY TRIAL DEMANDED
          Defendant.



                                           CIVIL ACTION COMPLAINT


                           NOTICE                                                               AVISO

You have been sued in court. If you wish to defend against the          Le han demandado a usted en la corte. Si usted quiere
claims set forth in the following pages, you must take action within    defenderse de estas demandas expuestas en las paginas
twenty (20) days after this complaint and notice are served, by         siguientes, usted tiene veinte (20) dias de plazo al partir de
entering a written appearance personally or by attorney and filing      la fecha de la demanda y la notificacion. Hace falta asentar
in writing with the court your defenses or objections to the claims     una comparencia escrita o en persona o con un abogado y
set forth against you. You are warned that if you fail to do so the     entregar a la corte en forma escrita sus defensas o sus
case may proceed without you and a judgment may be entered              objeciones a las demandas en contra de su persona. Sea
against you by the court without further notice for any money           avisado que si usted no se defiende, la corte tomara medidas
claimed in the complaint or for any other claim or relief requested     y puede continuar la demanda en contra suya sin previo
by the plaintiff. You may lose money or property or other rights        aviso o nofificacion. Ademas, la corte puede decidir a favor
important to you.                                                       del demandante y requiere que usted cumpla con todas las
                                                                        provisiones de esta demanda. Usted puede perder dinero o
                                                                        sus propiedades y otros derechos importantes para usted.
You should take this paper to your lawyer at once. If you do not
have a lawyer or cannot afford one, go to or telephone the office      Lleve esta demanda a un abogado immediatamente. si no
set forth below to find out where you can get legal help.              tiene abogado o si no tiene el dinero suficiente de pagar tal
                                                                       servico. vaya en persona o llame por telefono a la oficina
       Philadelphia Bar Association                                    cuya direccion se encuentra escrita abajo para averiguar
       Lawyer Referral and Information Service                         donde se puede conseguir asistencia legal.
       One Reading Center
       Philadelphia, PA 19107                                                  Asociacion D Licenciados De Filadelfia
       (215) 238-6333                                                          Servicio De Referencia E Informacion Legal
       TIY (215) 451-6197                                                      One Reading Center
                                                                               Filadelpia, PA 19107
                                                                               (215) 238-6333
                                                                               TIY (215) 451-6197




                                                                                                                          Case ID: 210900124
            Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 5 of 172




 KANNER & WHITELEY, LLC                                                  Filed and Attested by the
 By: Allan Kanner, Bar No. 31703                      Attorneys for Plaintiff
                                                                       Office of Judicial Records
 Cynthia St. Amant, pro hac vice forthcoming                                02 SEP 2021 06:03 pm
 David J. Stanoch, Bar No. 91342                                                   S. RICE
 701 Camp Street
 New Orleans, LA 70130
 Tel: (504) 524-5777


 THE TRUSTEES OF THE UNIVERSITY OF                    COURT OF COMMON PLEAS
 PENNSYLVANIA,                                        PHILADELPHIA COUNTY, PA

                Plaintiff,
                                                      No.:
 vs.
                                                     COMMERCE PROGRAM
 FACTORY MUTUAL INSURANCE
 COMPANY,                                            JURY TRIAL DEMANDED
          Defendant.



                                CIVIL ACTION COMPLAINT
       Plaintiff, the Trustees of the University of Pennsylvania, files this Complaint against

Defendant Factory Mutual Insurance Company and in support alleges as follows:

       1.      This is a breach of contract action. Plaintiff, along with others, acquired the

insurance policy described herein, issued by Defendant Factory Mutual Insurance Company,

covering one-hundred seventy and one insured locations owned and/or operated by Plaintiff,

according to the schedule of locations, “Appendix A” of the Policy, pp. 80-128.

                                           PARTIES

       2.      Plaintiff, the Trustees of the University of Pennsylvania (“Plaintiff”) is a private

educational institution commonly referred to as the “University of Pennsylvania” located at 2929

Walnut Street, Suite 460, Philadelphia, Pennsylvania 19104-5099.




                                                1
                                                                                          Case ID: 210900124
            Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 6 of 172




       3.      Defendant Factory Mutual Insurance Company (“Defendant”) is a Rhode Island

corporation with its principal place of business in Johnston, Rhode Island. Defendant is licensed

to transact, and is regularly transacting, business in the Commonwealth of Pennsylvania.


                                 JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this action pursuant to 42 Pa. C.S.A. § 931.

       5.      Pursuant to Pa. R.C. P. No. 2179 venue is proper because Philadelphia is the county

where Plaintiff’s Covered Property is headquartered, because Defendant regularly conducts

business in this county, including but not limited to selling policies, adjusting claims and accepting

premiums, and because a substantial part of the transactions or occurrences giving rise to the claim

occurred in this county.


                                              FACTS

I.     Plaintiff’s Policy

       6.      Plaintiff purchased commercial property insurance policy # 1056619 (the

“Policy”), effective July 1, 2019, through July 1, 2020, covering 171 insured locations owned

and/or operated by Plaintiff, as set forth in the schedule of locations, “Appendix A” of the Policy.

A paginated copy of the Policy, prepared by Plaintiff’s Counsel for the convenience of the Court,

is attached hereto as Exhibit A. The Policy is incorporated herein and made a part of this

Complaint.

       7.      The Policy is an “all-risk” commercial property insurance policy that provides

coverage for physical loss or damage to the insured property from all risks except those expressly

excluded by Policy language. Ex. A at 8.

       8.      Unlike most other business interruption policies, the Policy expressly includes

coverages for communicable disease response, interruption by communicable disease, as well as

                                                  2
                                                                                            Case ID: 210900124
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 7 of 172




claims preparation costs, decontamination costs, protection and preservation of property, civil

authority, business income losses and extra expenses. Id. at 29, 31, 38, 45, 48, 55, 62. There is no

exclusion or limitation in the Policy for communicable disease related losses or damages.

        9.       There is no exclusion in the Policy for lost business income and expenses caused

by either emergency Orders limiting one’s operations or the pandemic causing property damage

and restricting Plaintiff’s operational activities at its properties, or both.

        10.      The Policy sold by the Defendant to Plaintiff, like all insurance policies, must be

read as a whole, in light of the reasonable expectations of the insured.1

        11.      The Defendant has numerous duties under the insurance policy, including (but not

limited to) answering insured questions regarding coverage, receiving loss notices, honestly

investigating and assessing claims without a predetermined result, and issuing declination of

coverage letters when appropriate, and promptly paying the claim when appropriate.

        12.      All conditions precedent to this action have been performed by Plaintiff or have

been waived.

        13.      Despite agreeing to cover Plaintiff for all risks of physical loss or damage to

property resulting from any cause not excluded, as well as the resulting time element and extra

expense losses, Defendant has refused to honor its contractual obligations in the face of a claim

for which coverage is expressly provided. Instead, Defendant attempts to wrongfully shoehorn

Plaintiff’s claim into a narrow and limited grant of coverage, while abstaining from granting or

denying all other coverage under the Policy. Defendant must nevertheless cover the loss sustained

by Plaintiff that Defendant contractually agreed to insure.



1
 See Consolidated Rail Corporation v. ACE Property & Casualty Ins. Co., 182 A.3d 1011, 1026 (Pa. Super, 2018)
app. denied, 648 Pa. 165, 191 A.3d 1288 (2018).


                                                      3
                                                                                                    Case ID: 210900124
                 Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 8 of 172




II.        SARS-CoV-2

           14.      The World Health Organization (“WHO”) has declared a global pandemic as a

result of SARS-CoV-2, the name given to the virus belonging to the orthocoronavirinae subfamily

which, based on today’s knowledge and science, is transmitted through respiratory droplets,

fomites or aerosols which remain suspended in the air for prolonged periods of times.

           15.      The uncontrolled spread of SARS-CoV-2 throughout Pennsylvania, the nation, and

the world, like a wildfire, constitutes a natural disaster that insurance should cover.

           16.      On March 11, 2020, WHO declared the COVID-19 outbreak a pandemic and

former President Trump declared a nationwide emergency due to the public health emergency

caused by the COVID-19 outbreak in the United States.

           17.      A pandemic, by definition, is an ‘‘epidemic occurring worldwide . . . .”2 This is

different from a mere virus, and other insurers have specifically excluded pandemics which is not

the case herein.

           18.      The global COVID-19 pandemic is exacerbated by the fact that the coronavirus is

a physical substance that directly lives on and is active on surfaces of objects or materials in a

building for extended periods. The COVID-19 virus is airborne, directly emitted and permeates

the insured property and premises. The virus is spread, in part, because of its aerosol transport in

and throughout buildings and their airways. At the beginning of the pandemic, the medical concern

was focused on surface contacts, but recent science shows that the airborne exposures are very

problematic in spreading disease.

           19.      The COVID-19 virus has repeatedly been found in various covered locations and

is a cause of real physical loss or damage to property. According to a study published in THE



2
    See https://www.who.int/bulletin/volumes/89/7/11-088815.pdf (last viewed on September 1, 2021).

                                                         4
                                                                                                      Case ID: 210900124
                 Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 9 of 172




NEW ENGLAND JOURNAL OF MEDICINE, the virus adheres to its environment, remaining

stable and transmittable in aerosols for at least three hours, up to four hours on copper, up to 24

hours on cardboard and up to two to three days on plastic and stainless steel. These are common

objects found in Plaintiff’s insured premises. Other studies suggest a longer lifespan.3

           20.      Scientific studies and guidance from WHO indicated that the COVID-19 virus

spreads through (1) close contact with an infected person, (2) absorbing respiratory droplets when

an infected person talks, sneezes, or coughs so as to taint the buildings air and threaten its surfaces

or (3) touching one’s eyes, nose, or mouth after touching a surface on which the virus is present.

           21.      The respiratory droplets that carry the COVID-19 virus are physical objects,

carrying a physical substance, that attached to and caused harm to Plaintiff's insured property.

           22.      Educational institutions like Plaintiff are highly susceptible to being or becoming

affected by the presence of the virus, as both respiratory droplets and fomites are likely to be

retained on the Covered Property or in its air, remaining viable for an extended period of time.

           23.      Plaintiff’s properties are also highly susceptible to being affected by the rapid

transmission of the virus because of the nature of the property and its use as a highly social context

in close proximity to the property, to one another, and to the existing load of the COVID-19 virus

presence at surfaces or aerosol.

           24.      The material dimensions of a property can be altered and damaged through

microscopic changes caused by the COVID-19 virus. Such damage may produce deadly results to

human beings. If a person infected with the COVID-19 virus enters a building, as has happened at

various of Plaintiff’s locations, then (until disinfected) the building would be (1) physically altered




3
    Scientific findings are dynamic and may continue to evolve prior to trial.


                                                             5
                                                                                              Case ID: 210900124
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 10 of 172




by the direct physical presence of the virus on surfaces or the air, and (2) thus physically damaged,

and (3) may potentially be transformed into a superspreading viral incubator.

           25.      The numerous COVID-19 cases discovered at Plaintiff’s properties; the high

positivity rates; the fact that the coronavirus is transmitted by asymptomatic individuals; and, the

inability to clean a location without depopulating it, support the factual allegation that a continuous

presence of the COVID-19 virus existed within the insured premises. Moreover, Plaintiff's website

compiles a dashboard since the beginning of the pandemic with data of the positivity rate and all

cases of positive testing for COVID-19 on-campus. 4

           26.      One of the best ways to mitigate the presence of COVID-19 in a building is to

depopulate it by keeping COVID-19 virus carriers out or lowering the number of people allowed

in at one time in combination with a vigorous cleaning routine and structural alterations, such as

using plexiglass dividers. Plaintiff did this at enormous business income loss. The COVID-19

virus is virtually impossible to remove by ordinary cleaning so long as it is populated and used.

Ceasing or limiting use are needed to remedy the loss and damage caused by the presence of the

virus.

           27.      Many COVID-19 viral carriers (people) can infect others even though these carriers

are asymptomatic. These carriers can transmit the virus directly or indirectly. Since the virus

travels in aerosols or remains active on surfaces after being emitted by the carriers when they

speak, shout, or sing, viral aerosols often end up on surfaces, or remain in the air and air circulation

equipment of buildings continuously as carriers enter and reenter the location until the location is

depopulated.




4
    See https://coronavirus.upenn.edu/content/dashboard-fall-2020 (last viewed on September 1, 2021).


                                                          6
                                                                                                        Case ID: 210900124
          Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 11 of 172




       28.     When it became apparent that publicity alone concerning COVID-19 would not

naturally facilitate voluntary actions that would mitigate the pandemic the world is facing, state

and local authorities intervened through a series of emergency Orders.

       29.      For the most part (including those causing Plaintiff’s loss), the emergency Orders

were issued pursuant to an executive’s emergency powers. They were not the result of the

legislative or deliberative body’s process typical of laws and regulations.

       30.     Plaintiff complied with all applicable Orders.

       31.     A nationwide debate has erupted as to the Orders’ necessity, appropriateness,

breadth and length with some high-profile federal and state officials in some circumstances

questioning the motivation behind them or their continuation.

       32.     As a result of the COVID-19 pandemic, Pennsylvania’s Governor Tom Wolf issued

a Proclamation of Disaster Emergency. The proclamation allowed the State to direct state

resources to affected communities and prohibited excessive price increases on goods and services.

At the time of the proclamation the pandemic was pervasive and/or posing an imminent risk of

harm to people and property.

       33.     On March 19, 2020, Governor Wolf issued an Order requiring all non-life

sustaining businesses in the Commonwealth to cease operation and to close all physical locations.

       34.     On March 23, 2020, Governor Wolf issued a Stay-at-Home Order for citizens of

various counties including Philadelphia County. On this same day, the Pennsylvania Department

of Health issued a similar Order noting that the “operation of non-life sustaining businesses present

the opportunity for unnecessary gathering, personal contact and interaction that will increase the

risk of transmission and the risk of community spread of COVID-19.”




                                                 7
                                                                                            Case ID: 210900124
          Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 12 of 172




        35.     On April 1, 2020, Governor Tom Wolf extended the March 23, 2020 Stay at Home

Order to the entire Commonwealth of Pennsylvania. These emergency Orders confirmed that the

presence or suspected presence of COVID-19 caused damage to property by rendering such

businesses too dangerous to operate.

        36.     The goal of the emergency Orders was to mitigate actual or imminent harms caused

by disease-causing agents, and to protect people and property.

        37.     As an institution of higher education operating in locations under emergency

Orders, Plaintiff has been required to comply with the applicable Orders.

        38.     It is undeniable that Plaintiff sustained losses because of the pandemic. In an effort

to avert further illness and injury to citizens and to slow or prevent the community spread of

COVID-19 virions – which are tangible, physical things – the emergency Orders limited the

Plaintiff’s ability to physically use its properties. These Orders evidence that the presence of

COVID-19 on or around Plaintiff’s insured locations rendered the premises unsafe and unfit for

their intended use. As a result, Plaintiff alleges it sustained significant losses.

        39.     These unprecedented emergency Orders were hardly a foregone conclusion or

obvious consequence of the pandemic, as demonstrated by the great variance between states and

localities as to the types and extent of restrictions placed on businesses.

        40.     The emergency Orders required almost complete closure of Plaintiff’s academic

operations. On the week of March 13, 2020, Plaintiff had to send home all staff, employees and

students. Residential dormitories were restricted to only those students who were homeless or who

were unable to return to a home due to exigent circumstances. Remote work and an online platform

were implemented throughout Plaintiff’s locations by April 1, 2020, right after Spring Break, and

classes resumed online for the remainder of the term. Many of the insured locations have reopened



                                                   8
                                                                                            Case ID: 210900124
             Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 13 of 172




but are subject to emergency Orders limiting operational capacity and increasing costs of

operation.

        41.     It is undeniable that Plaintiff sustained losses because of the pandemic. In an effort

to avert further illness and injury to citizens and to slow or prevent the community spread of SARS-

CoV-2 virions, which themselves are tangible, physical things that invade physical property,

government Orders limited Plaintiff’s ability to physically use its property because the physical

use of the insured property and its air increased the damage. These Orders evidence what is

apparent to all: the presence of SARS-CoV-2 on or around Plaintiff’s insured locations rendered

the premises unsafe and unfit for their intended use. As a result, Plaintiff alleges it sustained

significant losses.

        III.    COVID-19 Meets the Definition of a Communicable Disease

        42.     On April 3, 2020, Plaintiff provided its first notice of loss to Defendant and showed

it had incurred business income losses during the policy term.

        43.     Even though Defendant never issued an official denial letter, on August 3, 2020,

Defendant issued a letter (Exhibit B, hereto) to Plaintiff informing that only Communicable

Disease Response and Interruption by Communicable Disease coverages would be triggered by

Plaintiff's claim.

        44.     On October 28, 2020, Defendant's adjuster acknowledged coverage for

Communicable Disease Response and Interruption by Communicable Disease and paid the one

million sublimit of coverage for property loss arising from communicable disease, however at the

same time Defendant's adjuster indirectly summarily rejected all other coverages.

        45.     The Policy’s “Communicable Disease Response” coverage applies when an insured

location “has the actual not suspected presence of communicable disease and access to such



                                                  9
                                                                                            Case ID: 210900124
          Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 14 of 172




location is limited, restricted or prohibited by: (1) an order of an authorized governmental agency

regulating the actual not suspected presence of communicable disease; or (2) a decision of an

Officer of the Insured as a result of the actual not suspected presence of communicable disease….”

Ex. A at 29. Under this coverage, Defendant agrees to cover “the reasonable and necessary costs

incurred by the Insured…for the: (1) cleanup, removal and disposal of the actual not suspected

presence of communicable diseases from insured property; and (2) actual costs of fees payable to

public relations services or actual costs of using the Insured’s employees for reputation

management resulting from the actual not suspected presences of communicable diseases on

insured property.” Id.

        46.     The Policy also provides coverage for “Interruption by Communicable Disease”

which applies when an insured location “has the actual not suspected presence of communicable

disease and access to such location is limited, restricted or prohibited by: (1) an order of an

authorized governmental agency regulating the actual not suspected presence of communicable

disease; or (2) a decision of an Officer of the Insured as a result of the actual not suspected presence

of communicable disease….” Ex. A at 62. Under this coverage, Defendant agrees to cover the

Actual Loss Sustained and EXTRA EXPENSE incurred by the Insured during the PERIOD OF

LIABILITY at such location with the actual not suspected presence of communicable disease.” Id.

        47.     “Communicable Disease” is defined in the Policy’s relevant part, as “disease which

is transmissible from human to human by direct or indirect contact with an affected individual or

the individual’s discharges.” Id. at 75.

        48.     Inclusion of these coverages means that the Policy expressly acknowledges that

communicable disease causes “physical loss or damage” to property and such physical loss

requires “cleanup, removal and disposal.”



                                                  10
                                                                                              Case ID: 210900124
          Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 15 of 172




       49.     COVID-19 as a “Communicable Disease” is a covered cause of loss.

       50.     There is no exclusion in the Policy for Communicable Disease or a Pandemic.

       51.     There is no exclusion in the Policy for the statistically determined risk of

contamination, and any preventative actions taken relative to the same.

       52.     There is no exclusion in the Policy for the suspected presence of a contaminant.

       53.     The Interruption by Communicable Disease and Communicable Disease Response

Coverages do not expressly preclude coverage under other coverages.

IV.    Plaintiff’s Losses – The Devastating Slowdown and/or Cessation of Plaintiff’s
       Business Activities

       54.     In 1779, Plaintiff was the first American institution of higher education to be named

a university. The brainchild of Benjamin Franklin, Plaintiff today has a total of 18,000 employees,

out of those 5,048 are faculty members. It has a total of 26,552 students, 9,960 are full-time

undergraduate students and 11,825 are full-time graduate students. Plaintiff’s 299-acre West

Philadelphia campus reflects its rich heritage—a heritage closely bound with the birth and core

values of the United States—home to more than 180 buildings and many notable landmarks.

       55.     All of Plaintiff’s 171 locations spread throughout its campuses in Pennsylvania and

worldwide, are insured properties under the Policy. Ex. A at 80-128.

       56.     Institutions of higher education, such as Plaintiff, have been hit particularly hard by

the ongoing COVID-19 pandemic. Since the disease began to spread rapidly across the country in

late February and early March 2020, almost every college and university, including Plaintiff, has

taken action to protect its students, faculty, staff, and the general public from COVID-19. This was

no easy task. Most institutions of higher education are more like small or medium sized cities than

mere schools, and Plaintiff is no exception. In addition to educating the future of America, they

provide housing for thousands of students; serve and sell food; operate stores; employ large

                                                 11
                                                                                            Case ID: 210900124
          Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 16 of 172




numbers of faculty, administrators, and other employees; sponsor sports teams; host public events;

and perform many other services.

       57.     Apart from the nightmarish logistical challenge, and the serious disruption to its

core mission of education, the measures Plaintiff has taken as a result of the COVID-19 pandemic

have had the sort of adverse financial impact that is the reason for buying business interruption

insurance. After reducing dorms and dining halls to very limited student population and skeleton

operations, Plaintiff provided room-and-board reimbursements, totaling in the millions of dollars

to those students who were forced to leave campus. Other substantial losses include, but are not

limited to, lost revenue from on-campus events; lost revenue from dining refunds; lost revenue

from rent forgiveness; lost revenue from business services provided by Plaintiff, e.g. hotels,

parking and retail; lost revenue from research shutdown of many departments; lost revenue from

ticket sales from Plaintiff's museums and several art related events; conference cancelations and

many others. And these losses may continue or worsen if these precautions continue.

       58.     The profits derived from Plaintiff’s operations had a drastic hit with the slow down

and radical changes implemented to Plaintiff’s operations, which in some cases included complete

cessation of certain operations at virtually each and every covered location, except medical

services. Plaintiff believed that the Policy bought from Defendant in full effect would insure

against unforeseen perils such as the COVID-19 pandemic and ensuing emergency Orders.

       59.     During the Policy period, in response to the emergency Orders and to the pervasive

presence of COVID-19 in the insured locations, and in order to protect the health of its students,

faculty, and staff, Plaintiff discontinued the majority of in person operations on its campus, shifted

classes to online platforms and offered reimbursement for parking, living and eating expenses to

its students, among other things.



                                                 12
                                                                                            Case ID: 210900124
            Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 17 of 172




       60.       Public health authorities understood that the risk of harm to people and property

was real, concrete and imminent as COVID-19 was exploding in the general population at an

alarming rate.

       61.       Whether a building has been infected prior to the emergency Orders or was at

imminent risk of being invaded by the COVID-19 virus can be demonstrated by circumstantial

evidence.

       62.       Beginning in March 2020, Plaintiff was forced to severely restrict on-campus

activities even canceling academic, sports and entertainment events it would normally provide at

its properties and derive revenue from, all as a result of, and in connection with the COVID-19

pandemic and related governmental restrictions on non-essential business.

       63.       Since March 19, 2020, Plaintiff was not permitted to allow the majority of on-

premises activities other than those required for life/safety, operating almost entirely through an

online platform. With the passing of time, as the emergency Orders allowed, Plaintiff began to

return certain in person operations with limited capacity on-campus. As a direct result of the

emergency Orders described herein, Plaintiff has incurred a physical loss of (or alternatively,

damage to) its properties for regular operations.

       64.       Specifically, Plaintiff lost the ability to provide certain services at its properties,

was denied access to a number of insured properties, the majority of its students and staff were

prevented from physically occupying the properties, causing the properties to be physically

uninhabitable by students, staff and faculty members except in cases of emergency, causing their

function to be nearly eliminated, and causing a suspension of Plaintiff’s normal operations.

       65.       This loss of and/or damage to Plaintiff’s insured properties caused Plaintiff a

substantial loss of gross earnings and gross profit with substantial incurred extra expenses.



                                                   13
                                                                                              Case ID: 210900124
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 18 of 172




        66.      As a result of the emergency Orders and the pandemic Plaintiff suffered business

income and extra expense losses.

        67.      Plaintiff alternatively states that it suffered direct physical loss of, or damage to its

property causing business income and extra expense losses, as a result of:

        (i)      its reasonable actions—regardless of emergency Orders—to preserve property and

persons from an imminent risk of harm; or

        (ii)     the risk of imminent harm, as said risk of imminent harm is itself a covered cause

of loss; or

        (iii)    emergency Orders designating Plaintiff’s business as uninhabitable and unusable

on premises and in other forms without a prior governmental finding of on-site contamination; or

        (iv)     emergency Orders pursuant to inherent authorities to act in a disaster regardless of

the actual presence of COVID-19 virus on-site;

        (v)      the actual presence of COVID-19 at the insured premises; or

        (vi)     the availability of other coverages under the Policy.

        68.      Plaintiff’s losses and expenses at its insured properties have continued through the

date of filing of this action, and various operations restrictions in the emergency Orders are likely

to continue.

        69.      Plaintiff’s actions were reasonable and necessary to comply with the various Orders

or to mitigate the physical losses described herein to prevent greater harms, or both.

        70.      Plaintiff’s causes of loss are not excluded by the Policy.

        71.      Plaintiff has suffered substantial losses of insured business income and has incurred

insured expenses caused by insured causes of loss within the terms and conditions of the Policy,

or the common law.



                                                    14
                                                                                                Case ID: 210900124
          Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 19 of 172




       72.     First, courts have treated the terms “physical loss” and “physical damage” from the

1950s to the inception of COVID-19 pandemic as including the infusion of property with disease-

causing agents—radon gas, asbestos, ammonia, smoke, bacteria, carbon monoxide, oil fumes, etc.

Policyholders and insurance companies knew this, as did the entities that draft standard-form

insurance policy language. Indeed, the insurance industry made payouts for losses from the first

novel coronavirus, SARS-CoV-1. This knowledge, spanning decades, and the ease with which

the insurance industry could have drafted language to address loss from the occurrence of a

pandemic should have been considered by Defendant in adjusting Plaintiff’s claims.

       73.     Second, the presence of SARS-CoV-2 can cause physical loss or damage to

property, like other disease-causing agents; for instance, an average person breathes in hundreds

of thousands of asbestos fibers per day, but in the absence of injury as a result, there is no insurance

claim. In other words, physical property suffers foreseeable loss or damage when danger to people

and business activities from concentrations of ammonia, asbestos, radon or SARS-CoV-2 are high

enough to be a risk to health.

V.      Plaintiff Purchased Insurance for Its Business, Not Just Its Buildings

       74.     In order to protect its property, business, and income from losses, Plaintiff obtained

the Policy issued by the Defendant.

       75.     At all relevant times, the Policy was in full effect as Plaintiff paid premiums due

which the Defendant accepted. Plaintiff has been insured with the Defendant since 2006, paying

the required premiums annually.

       76.     Plaintiff has continuously relied on the Defendant’s promises to cover its insured

business income losses and its additional extra expenses caused by such losses.

       77.     The premium Plaintiff paid included coverages for, inter alia, real property,

personal property, time element including business income and extra expense. It also
                                                  15
                                                                                              Case ID: 210900124
           Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 20 of 172




encompassed, but is not limited to, additional coverages for claims preparation costs,

communicable disease response, interruption by communicable disease, decontamination costs,

protection and preservation of property, contingent time element extended, extended period of

liability, civil authority, ingress/egress, emergency vacating expense and attraction property. The

coverages are set forth in Exhibit A.

VI.     Relevant Policy Provisions Provide Coverage for Plaintiff’s Loss

        78.      The losses and expenses incurred by Plaintiff’s business operations are covered

under various Policy provisions.

        79.      The Policy must be read as a whole in light of its purpose and the reasonable

expectation of the parties. Plaintiff’s Policy is an all-risk commercial property insurance policy

that covers insured property “against ALL RISKS OF PHYSICAL LOSS OR DAMAGE, except

as hereinafter excluded, while located as described in this Policy.” Ex. A at 8.

        80.      Regarding the mandatory nature of the rules governing insurance policy

interpretation, the application of the contra proferentem rule5 places on the drafter of the Policy

the burden to narrowly draft exclusions clearly.

        81.      Plaintiff has to prove a risk of physical loss or damage. Here, Plaintiff alleges that

actual physical presence of COVID-19 attached to its property causing physical loss or damage, a

fact admitted by Defendant who made a partial payment on Plaintiff’s loss, as well as compliance

with operative emergency Orders.




5
  The contra proferentem rule has been called the “first principle of insurance law.” See Kenneth Abraham, A
Theory of Insurance Policy Interpretation, 95 MICH. L. REV. 531 (1996).


                                                       16
                                                                                                        Case ID: 210900124
            Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 21 of 172




       82.     Loss of use of property because of the actual or imminent and substantial

endangerment to people and property from a disease-causing agent is recognized in Pennsylvania

as physical loss or damage.

       83.     There are no exclusions in Plaintiff’s Policy for the loss of business income caused

by emergency Orders, the presence of COVID-19, or the pandemic; or alternatively, otherwise

resulting in the physical loss of or damage to Plaintiff’s properties.

       A.      Preservation of Property

       84.     The Policy under “Protection and Preservation of Property” covers “reasonable and

necessary costs incurred for actions to temporarily protect or preserve immediately impending,

insured physical loss or damage to such insured property.” Ex. A at 38.

       85.     Closing or depopulating the University pursuant to emergency Orders was designed

to preserve and protect property. There is no limit on this liability. Since a covered or insured

physical loss or damage under the Policy is the actual presence of a communicable disease, then it

constitutes a physical loss or damage of the type insured.

       86.     Plaintiff acted to protect and preserve its property, and the lives of its community,

and continues to do so for the foreseeable future. It was certainly reasonable and necessary to

comply with the Governor’s emergency Orders which were designed to mitigate the harm to

people and property in the face of a pandemic disaster. These harms were certainly imminent and

substantial and had manifested throughout the state and locally.

       B.      Time Element Coverages

       87.     The Time Element Coverage and Extended Time Element Coverage covers

Plaintiff’s deprivation of the unlimited use of its property and associated business income losses,

as well as providing coverage for the time after the removal of the last Executive Order to ramp



                                                 17
                                                                                           Case ID: 210900124
            Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 22 of 172




back up to pre-loss levels of profitability. Time Element Coverage covers losses resulting from

physical loss or damage of the type insured. Ex. A at 44. It covers, without limitation, lost gross

earnings and / or gross profits, id. at 45-46, up to the Policy’s applicable limits and sublimits.

       88.     Plaintiff has suffered and continues to suffer substantial loss of business income

during the Policy term which were caused by the loss of or damage to its insured property at the

covered locations.

       89.     Plaintiff’s loss of business income is covered under the Policy and has not been

excluded from coverage, thus, Plaintiff is entitled to payment for these business income losses.

       C.      Extra Expense

       90.     The Time Element section also provides coverage for Extra Expense. Ex. A at 48.

Extra Expenses are recoverable if reasonable and necessary extra costs are incurred during the

period of liability, including “to temporarily continue as nearly normal as practicable the conduct

of the Insured’s business.” Id. The expenses incurred by Plaintiff beyond those necessary in the

normal operation of its operations solely as a result of the physical loss and damage caused by

COVID-19 trigger coverage under the Policy’s Extra Expense coverage.

       D.      Decontamination Costs

       91.     The Policy also provide coverage for “Decontamination Costs,” which covers “the

increased cost of decontamination and/or removal of…contaminated insured property” if “insured

property is contaminated as a direct result of insured physical damage and there is in force at the

time of the loss any law or ordinance regulating contamination due to the actual not suspected

presence of contaminants.” Ex. A at 31.

       92.     There is no limit on “Decontamination Costs.” Id. If insured property is

contaminated as a direct result of insured physical damage and there is in force at the time of the



                                                 18
                                                                                             Case ID: 210900124
             Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 23 of 172




loss any law or ordinance regulating “contamination” due to the actual not suspected presence of

“contaminant(s),” then this Policy covers, as a direct result of enforcement of such law or an

ordinance, the increased cost of decontamination and/or removal of such contaminated insured

property in a manner to satisfy such law or ordinance . . . .” Here, the closing of all Plaintiff’s

campuses was a means of decontamination.

        93.     The policy defines “contamination” as “any condition of property due to the actual

or suspected presence of any . . . virus, disease causing or illness causing agent . . . .” Id. at 75. In

other words, decontamination is appropriate if there is a suspected presence of virus.

        E.      Civil Authority

        94.     The Policy provides coverage from an interruption to business caused by an order

from a “Civil or Military Authority.” Id. at 55. Specifically, the Policy covers “the Actual Loss

Sustained and EXTRA EXPENSE incurred by the insured during the PERIOD OF LIABILITY if

an order of civil or military authority limits, restricts or prohibits partial or total access to an insured

location provided such order is the direct result of physical damage of the type insured at the

insured location or within five statute miles/eight kilometres of it.” Id.

        95.     A communicable disease is a physical loss or damage of the type insured under

the policy. The actual presence of communicable disease at Plaintiff’s properties, which is not in

dispute, is a “physical damage not excluded.”

        96.     This coverage applies because access to Plaintiff’s property has been limited,

restricted, and prohibited in part or in total due to the presence and threat of COVID-19 and related

emergency Orders.

        97.     Under the Policy, at least, actual communicable disease contamination of covered

property is an insured physical damage as are “Preservation of Property” and “Decontamination”.



                                                    19
                                                                                                  Case ID: 210900124
            Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 24 of 172




As noted, such actual contamination was pervasive in Pennsylvania, including within 5 statute

miles of Plaintiff. Plaintiff was very much at risk.

       98.     Although the Policy limits the amount of payment for two discrete harms, it does

not limit Policy coverage for other communicable disease related harms.

       99.     Specifically, the following hospitals and locations are home to innumerable

COVID-19 positive cases and within the five miles-radius requested by the Policy language:

      Hospital of the University of Pennsylvania, Cedar Avenue (1.9 miles)

      Hospital of the University of Pennsylvania, Civic Center Boulevard (0.4 miles)

      Children’s Hospital of Philadelphia (1.5 miles)

      Mercy Fitz Hospital (4.5 miles)

      Thomas Jefferson University Hospitals (2.1 miles)

      Delaware County Memorial Hospital (5.0 miles)

      Methodist Hospital (2.8 miles)

      Frankford Hospitals (2.0 miles)

      Girard Medical Center (3.6 miles)

      Lankenau Medical Center (4.7 miles)

      Kensington Hospital (5.0 miles)

       F.      Ingress/Egress

       100.    The Policy provides “Ingress/Egress” coverage, which requires the Defendant to

pay for “the Actual Loss Sustained and EXTRA EXPENSE incurred by the Insured…due to the

necessary interruption of the Insured’s business due to partial or total physical prevention of

ingress to or egress from an insured location” provided that “such prevention is a direct result of

physical damage of the type insured to property of the type insured.” Ex. A at 56.


                                                 20
                                                                                          Case ID: 210900124
             Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 25 of 172




        101.     Unlike other insurance policies that require total prohibition of access to trigger

this coverage, Plaintiff's Policy, on its face, includes partial or total physical prevention of access.

Ingress to and egress from Plaintiff’s property has been partially or totally prevented due to

COVID-19 presence at the covered locations. The Executive Orders limited ingress/egress by

limiting the size of gatherings, even for essential services, and the stay-at-home Orders which

prohibited travel by students, staff, faculty, and potential students, except for limited purposes.

        G.      Additional Coverages

        102.    The actual presence of COVID-19 at Penn’s locations and surrounding property

and the emergency Orders have triggered coverage under many of the Policy’s provisions

including additional coverages not listed hereto and not limited to the following: “Contingent Time

Element Extended”; “Expediting Costs”; “Claims Preparation Costs”; “Emergency Vacating

Expenses”; and “Attraction Property” coverages.

VII.    The Policy’s Contamination Exclusion Does Not Apply

        103.    The Policy contains an exclusion that purports to preclude coverage for

“contamination.” Ex. A at 21. Among other things, the Policy defines “contamination” as a “virus.”

Id. at 75.

        104.    The Policy’s “contamination” exclusion does not exclude coverage for loss caused

by “communicable disease” or related emergency Orders.

        105.    The Policy’s “contamination” exclusion does not exclude coverage for Plaintiff’s

claim, which is based on the direct physical loss or damage caused by COVID-19 and the resulting

emergency Orders.

        106.    Defendant's letter from August 3, 2020, at one hand affirmed that "COVID-19

meets the definition of a communicable disease under the Policy," but on the other hand, Defendant



                                                  21
                                                                                              Case ID: 210900124
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 26 of 172




qualifies COVID-19 as "a form of contamination as defined in the Policy, which is excluded."

Exhibit B. Defendant cannot have it both ways.

           107.     To the extent Defendant contends that the Policy’s “contamination” exclusion bars

coverage for loss caused by “communicable disease” or some other aspect of Plaintiff’s claim, the

Policy is ambiguous because it is susceptible to more than one reasonable interpretation and,

therefore, must be construed against the drafter and in favor of coverage.6 If communicable disease

is a covered cause of loss, as it is under this Policy, the Contamination exclusion is inconsistent

and should not be construed as to nullify another section of this contract, especially in light of

exclusionary language, that should be narrowly construed, as opposed to coverage provisions,

which should be construed broadly. The Policy does not state that "communicable disease" is a

subset of or included within the definition of "contamination."

           108.     Like all exclusions, this exclusion must be narrowly construed. The reference to

“virus” within “contamination” exclusion is clearly not intended to exclude coverage for a

pandemic involving a “communicable disease.” The Policy’s interpretation must give effect to all

of the policy’s language to determine its plain and ordinary meaning. The reference to “virus” is

limited to the pollution context like the other “contaminants.” Thus, the exclusion clearly does not

apply here to a case that does not involve pollution.

VIII. The Insurer’s Duties, its Arbitrary Denial and Company Line

           109.     Plaintiff, like others, purchased its insurance policy for business income protection

caused by unforeseen disaster.

           110.     During such times, individuals and businesses (including Penn) are vulnerable and

dependent on the Defendant’s promises of coverage, a fact of which insurance companies


6
    See Penn Psychiatric Center v. United States Liability Ins. Co., 2021 WL 2460789, at *4 (Pa. Super. 2021);


                                                          22
                                                                                                           Case ID: 210900124
          Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 27 of 172




(including the Defendant) has knowledge. Insurance companies promise, warrant and sell “peace

of mind” that in the unlikely event of a catastrophe or disaster the policyholder will be fully and

promptly protected.

       111.    The contract of insurance carries with it a duty of utmost good faith on the part of

the insurer because of the vulnerability of policyholders during and following an insured cause of

loss. The Defendant’s duties include but are not limited to the Defendant’s obligation to fairly and

quickly adjust Plaintiff’s claims to determine coverage and amount of loss, adjust its insurance

claims, and providing prompt payment.

       112.    Here, Defendant made a blanket decision initially to deny all business income

claims. Defendant failed to make a good faith investigation, determine coverage and adjust

Plaintiff's claims because Defendant reached a pre-determined conclusion to deny coverage.

       113.    The Defendant summarily and arbitrarily asserted that Plaintiff’s losses were not

caused from direct physical loss of or damage to covered property, but provided no basis therefore.

       114.    The Defendant summarily and arbitrarily did not adjust potential losses under the

Policy coverages, simply relying on Defendant’s pre-determined conclusions of no coverage.

       115.    Without reasonable investigation, the Defendant made summary coverage

determinations as to the inapplicability of civil authority coverage or other coverages but provided

no basis for its factual conclusions.

       116.    For example, the Defendant did not consider, nor did it have any procedures to

consider that the applicable law has recognized the “physical loss or damage” to property language

as ambiguous in cases where, as here, dangerous viruses entered a building, or were at imminent

risk of entering a building.




                                                23
                                                                                           Case ID: 210900124
          Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 28 of 172




       117.    Instead, the Defendant chose to blanket deny coverage, with the exception of the

communicable disease coverages discussed above, in violation of its contractual duty for the

purpose of saving its bottom line.

       118.    Upon information and belief, the Defendant used similar or same coverage decision

language in different states, without regard for applicable state statutory and decisional case law

affecting coverage.

       119.     The Defendant’s one-size-fits-all approach to its contractual and common law

duties to act reasonably and in good faith to investigate claims, decide policy coverage, and make

claim adjustments has led to the improper denial of countless business interruption claims,

including Plaintiff’s.

       120.    Plaintiff has now been forced to file a lawsuit and will expend considerable efforts

pursuing this action.

       121.    Plaintiff (like others who purchase business interruption insurance) has faithfully

paid its premiums.       Yet, when Plaintiff made a claim because of a catastrophic business

interruption caused by state and local emergency Orders, the Defendant summarily and arbitrarily

denied Plaintiff’s claims. At all relevant times, Plaintiff (like many businesses) relied on its

business interruption insurance to cover what it is supposed to cover – replacement of business

income and payment of ongoing expenses in order to rebuild its businesses.

       122.    Accordingly, Plaintiff brings this suit in response to the Defendant’s breach of its

contractual obligation to pay Plaintiff’s covered losses; and in response to Defendant’s failure or

refusal to adjust Plaintiff’s claims under applicable coverages, and promptly pay Plaintiff’s

business income losses and claims.




                                                24
                                                                                          Case ID: 210900124
          Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 29 of 172




       123.      The losses Plaintiff suffered are covered under the Policy, but the Defendant has

denied coverage despite Plaintiff’s timely notice of its claim.

                                               COUNT I

                                     BREACH OF CONTRACT

       124.      Plaintiff incorporates by reference the preceding paragraphs as though fully set

forth herein.

       125.      Plaintiff has a commercial property insurance policy issued by the Defendant.

       126.      Plaintiff has performed all its obligations as specified by the Policy including the

payment of all premiums due, cooperating in loss investigation, and seeking to prevent avoidable

additional losses.

       127.      Plaintiff’s Policy provides coverage for losses, expenses, damages and costs,

including but not limited to costs and expenses incurred mending or repairing the premises,

business income loss, extended business income loss, and/or extra expense coverages.

       128.      As described in detail above, Plaintiff suffered a direct physical “loss of” (or

alternatively, “damage to”) its property at the covered locations, which was caused by or resulted

from the emergency Orders described herein.

       129.      In the alternative, Plaintiff suffered and continues to suffer physical loss of and/or

damage to its insured properties at the covered locations, which was caused by or resulted from

the ubiquitous presence of the COVID-19 virus, and the numerous civil authority Orders, and

emergency Orders, or both, all of which qualify as types of loss that “all risk” property policies

are designed to insure.

       130.      Plaintiff further alternatively states that it suffered and continues to suffer physical

loss of, or damage to its insured properties at the covered locations, which was caused by or

resulted from:
                                                   25
                                                                                               Case ID: 210900124
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 30 of 172




        (i)      subject to circumstantial proof, actual on-site COVID-19 presence that caused a

loss of, or damage to its property; or

        (ii)     its reasonable actions—regardless of emergency Orders—to preserve property and

persons from an imminent risk of harm; or

        (iii)    the risk of imminent harm, which is itself a covered cause of loss; or

        (iv)     emergency Orders designating Plaintiff’s business as uninhabitable and unusable

on premises and in other forms; or

        (v)      emergency Orders pursuant to inherent authorities to act, regardless of the actual

presence of COVID-19 virus on-site; or

        (vi)     the availability of other coverages under the Policy.

        131.     This direct physical ‘loss of’ (or alternatively, ‘damage to’) Plaintiff’s property

caused the necessary slowdown or cessation of Plaintiff’s normal operations, resulting in an actual

loss of business income.

        132.     The Policy also provides that the Defendant will pay for any necessary expenses

that Plaintiff incurs that it would not have incurred had there been no physical loss or damage to

its property.

        133.     The Defendant is also in breach of the Policy by refusing to adjust potential losses

under other potentially applicable coverages.

        134.     As a result of the Defendant’s repudiation or breach of the insurance policies,

Plaintiff has suffered actual damages.

        WHEREFORE, Plaintiff seeks compensatory damages resulting from the Defendant’s

breach of contract, and further seeks all relief deemed appropriate by this Court, including

attorneys’ fees and costs.



                                                  26
                                                                                            Case ID: 210900124
          Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 31 of 172




                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

       (1)     Awarding Plaintiff compensatory damages from the Defendant’s breach of the

insurance policy in an amount to be determined at trial or appraisal ordered by this Court, together

with appropriate prejudgment interest at the maximum rate allowable by law;

       (2)     Awarding Plaintiff costs and disbursements and reasonable allowances for the fees

of Plaintiff’s experts, and reimbursement of expenses;

       (3)     Awarding Plaintiff attorneys’ fees; and

       (4)     Awarding such other and further relief the Court deems just, proper, and equitable.


                                DEMAND FOR A JURY TRIAL

       Plaintiff requests a jury trial for any and all Counts for which a trial by jury is permitted by

law.

       Respectfully submitted this 2nd day of September, 2021.



                                              KANNER & WHITELEY, LLC

                                         By: /s/ David J. Stanoch         .




                                             David J. Stanoch, Esq. (Bar No. 91342)

                                              Allan Kanner, Esq. (Bar No. 31703)
                                                             Cynthia St. Amant, Esq. (pro hac vice forthcoming)
                                              701 Camp Street
                                              New Orleans, LA 70130
                                              Tel: (504) 524-5777
                                              Fax: (504) 524-5763
                                              d.stanoch@kanner-law.com
                                              a.kanner@kanner-law.com
                                              c.stamant@kanner-law.com
                                              Counsel for Plaintiff




                                                 27
                                                                                             Case ID: 210900124
Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 32 of 172



                                                 Filed and Attested by the
                                                Office of Judicial Records
                                                    02 SEP 2021 06:03 pm
                                                           S. RICE




                                                                Case ID: 210900124
Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 33 of 172




                                                 Filed and Attested by the
                                                Office of Judicial Records
                                                    02 SEP 2021 06:03 pm
                                                           S. RICE




                       Exhibit A




                                                                Case ID: 210900124
                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 34 of 172




                                                                         MUTUAL CORPORATION
                                                                         NON-ASSESSABLE POLICY
       Factory Mutual Insurance Company
       P.O. Box 7500
       Johnston, Rhode Island 02919
       1-800-343-7722

DECLARATIONS
Policy No.                                       Previous Policy No.                            DATE OF ISSUE
 1056619                                           1042003                                       28 June 2019


Account No.                                      Replaces Binder No.
 1-56307

In consideration of this Policy’s Provisions, Conditions, Stipulations, Exclusions and Limits of Liability, and of premium charged,
Factory Mutual Insurance Company, hereafter referred to as the Company, does insure:

                        INSURED:

                        The Trustees of the University of Pennsylvania




                                           (For Complete Title See Policy)

The term of this Policy is from the 1st day of July 2019 to the 1st day of July 2020 at 12:01 a.m., Standard Time, at the Locations of
property involved as provided in this Policy.

This Policy covers property, as described in this Policy, against ALL RISKS OF PHYSICAL LOSS OR DAMAGE, except as
hereinafter excluded, while located as described in this Policy.

By virtue of this Policy and any other policies purchased from the Company being in force, the Insured becomes a member of the
Company, subject to the provisions of its charter and by-laws, and is entitled to one vote either in person or by proxy at any and all
meetings of said Company.

Assignment of this Policy will not be valid except with the written consent of the Company.

This Policy is made and accepted subject to the above provisions and those hereinafter stated, which are made a part of this
Policy, together with such other provisions and agreements as may be added to this Policy.

In Witness, this Company has issued this Policy at its office in the city of Johnston, R. I.
this 28th day of June 2019.




 _______________________________________________
Authorized Signature                                                 Secretary                               President




Countersigned (if required) this        day of                         _________________________________________________
                                                                                                                              Agent

Form FMGA DEC                                                                                                    Printed in U.S.A.
7020 (5/99)



                                                                                                                         Case ID: 210900124
                                                                                                                     POLICY-001
Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 35 of 172




                                                                Case ID: 210900124
                                                            POLICY-002
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 36 of 172




                                   Factory Mutual Insurance Company
                                   Johnston, Rhode Island
                                   A Mutual Corporation




                                   This policy is Non-Assessable.



                                   It is important that the written
                                   portions of all policies covering
                                   the same property read exactly
                                   alike. If they do not, they should
                                   be made uniform at once.




                                   In case of loss notify the company
                                   or its local agent at once in writing.




7019 (9/01)




                                                                              Case ID: 210900124
                                                                            POLICY-003
                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 37 of 172



       This policy is issued by a mutual company having special regulations lawfully applicable to its organization,
membership, policies, or contracts of insurance of which the following shall apply to and form a part of this policy.

                             EXTRACTS FROM CHARTER OF THIS COMPANY
                            Granted by the General Assembly of the State of Rhode Island

          SECTION 5: Except as hereinafter specifically provided, each natural person, partnership, association, corporation or
legal entity insured on the mutual plan by the Corporation shall be a member of the Corporation during the term of its policy but
no longer, and at all meetings of the members shall be entitled to one vote either in person or by proxy, provided, however, that
where there is more than one insured under any policy, such insureds shall nevertheless be deemed to be a single member of the
Corporation for all purposes. The Corporation may issue policies which do not entitle the insured to membership in the
Corporation nor to participate in its surplus.

         SECTION 10: Upon the termination of the membership of any member, all his or its right and interest in the surplus,
reserves and other assets of the Corporation shall forthwith cease.


                           EXTRACTS FROM THE BY-LAWS OF THIS COMPANY
                                                       Adopted July 13, 2000


         ARTICLE 1 – MEETINGS OF THE MEMBERS

         SECTION 1. Annual Meeting
         The annual meeting of the members shall be held at the principal offices of the Company, or at such other place as may
be stated in the notice of the meeting, at 9:00 a.m. on the second Thursday of April in each year, for the election of directors and
the transaction of such other business as may be brought before the meeting. If the annual meeting is omitted on the day herein
provided therefor, a special meeting may be held in place thereof; and any business transacted or elections held at such special
meeting shall be as effective as if transacted or held at the annual meeting.




         7019 (9/01)



                                                                                                                      Case ID: 210900124
                                                                                                                   POLICY-004
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 38 of 172

                                                                                                                     Account No. 1-56307
                                                                                                                      Policy No. 1056619


                                              TABLE OF CONTENTS
                                           (Order In Which They Appear)                                                                     Page No.


DECLARATIONS PAGE

DECLARATIONS
1.      NAMED INSURED AND MAILING ADDRESS ............................................................................ 1
2.      POLICY DATES ................................................................................................................................ 1
3.      INSURANCE PROVIDED ................................................................................................................ 1
4.      PREMIUM.......................................................................................................................................... 1
5.      PREMIUM PAYABLE ...................................................................................................................... 1
6.      LOSS ADJUSTMENT/PAYABLE .................................................................................................... 1
7.      TERRITORY ...................................................................................................................................... 2
8.      JURISDICTION ................................................................................................................................. 2
9.      CURRENCY ...................................................................................................................................... 2
10.     LIMITS OF LIABILITY .................................................................................................................... 2
11.     DEDUCTIBLES ................................................................................................................................. 6

PROPERTY DAMAGE
1.      INSURED PROPERTY ..................................................................................................................... 9
2.      EXCLUDED PROPERTY ................................................................................................................. 9
3.      EXCLUSIONS ................................................................................................................................. 11
4.      APPLICATION OF POLICY TO DATE OR TIME RECOGNITION ........................................... 14
5.      VALUATION ................................................................................................................................... 15
6.      ADDITIONAL COVERAGES ........................................................................................................ 17
        CYBER ADDITIONAL COVERAGES .......................................................................................... 17
        A.   DATA RESTORATION ........................................................................................................ 17
        B.   DATA SERVICE PROVIDER PROPERTY DAMAGE ...................................................... 18
        OTHER ADDITIONAL COVERAGES .......................................................................................... 19
        A.   ACCIDENTAL INTERRUPTION OF SERVICES .............................................................. 19
        B.   ACCOUNTS RECEIVABLE ................................................................................................ 20
        C.   ANIMALS.............................................................................................................................. 21
        D.   AUTOMATIC COVERAGE ................................................................................................. 21
        E.   BRANDS AND LABELS ...................................................................................................... 22
        F.   CLAIMS PREPARATION COSTS ....................................................................................... 22
        G.   COMMUNICABLE DISEASE RESPONSE ......................................................................... 22
        H.   CONSEQUENTIAL REDUCTION IN VALUE ................................................................... 23
        I.   CONTROL OF DAMAGED PROPERTY ............................................................................ 23
        J.   DEBRIS REMOVAL ............................................................................................................. 24
        K.   DECONTAMINATION COSTS ........................................................................................... 24
        L.   EMERGENCY VACATING EXPENSE............................................................................... 24
        M. ERRORS AND OMISSIONS ................................................................................................ 25
        N.   EXPEDITING COSTS........................................................................................................... 25
        O.   INSTALLMENT OR DEFERRED PAYMENTS ................................................................. 25
        P.   LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND DISPOSAL ...... 26
        Q.   LAW AND ORDINANCE..................................................................................................... 26
        R.   LOSS PAYMENT INCREASED TAX LIABILITY ............................................................ 28
        S.   MACHINERY OR EQUIPMENT STARTUP OPTION ....................................................... 28
        T.   MISCELLANEOUS PROPERTY ......................................................................................... 28
        U.   OPERATIONAL TESTING .................................................................................................. 29
        V.   PATIENT AND TENANT RELOCATION EXPENSE........................................................ 29


Printed 28-Jun-2019                                                                                                                         Page 1
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                                             Case ID: 210900124
                                                                                                                                         POLICY-005
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 39 of 172

                                                                                                                  Account No. 1-56307
                                                                                                                   Policy No. 1056619


                                             TABLE OF CONTENTS
                                          (Order In Which They Appear)                                                                  Page No.

        W.       PATIENT'S PERSONAL PROPERTY ................................................................................. 30
        X.       PRIZES AND GIVEAWAYS ................................................................................................ 31
        Y.       PROTECTION AND PRESERVATION OF PROPERTY ................................................... 31
        Z.       SERVICE INTERRUPTION PROPERTY DAMAGE ......................................................... 31
        AA.      TEMPORARY REMOVAL OF PROPERTY ....................................................................... 32
        BB.      TERRORISM ......................................................................................................................... 33
        CC.      TRANSPORTATION ............................................................................................................ 33
        DD.      VALUABLE PAPERS AND RECORDS.............................................................................. 36

TIME ELEMENT
1.      LOSS INSURED .............................................................................................................................. 37
2.      TIME ELEMENT COVERAGES .................................................................................................... 38
        A.   INSURED OPTION ............................................................................................................... 38
        B.   GROSS EARNINGS .............................................................................................................. 38
        C.   GROSS PROFIT .................................................................................................................... 39
        D.   EXTRA EXPENSE ................................................................................................................ 41
        E.   LEASEHOLD INTEREST .................................................................................................... 42
        F.   RENTAL INSURANCE ........................................................................................................ 42
3.      PERIOD OF LIABILITY ................................................................................................................. 43
4.      TIME ELEMENT EXCLUSIONS ................................................................................................... 45
5.      TIME ELEMENT COVERAGE EXTENSIONS............................................................................. 46
        CYBER TIME ELEMENT COVERAGE EXTENSIONS .............................................................. 46
        A.   DATA SERVICE PROVIDER TIME ELEMENT ................................................................ 46
        B.   OWNED NETWORK INTERRUPTION .............................................................................. 47
        SUPPLY CHAIN TIME ELEMENT COVERAGE EXTENSIONS ............................................... 48
        A.   CIVIL OR MILITARY AUTHORITY .................................................................................. 48
        B.   CONTINGENT TIME ELEMENT EXTENDED ................................................................. 49
        C.   INGRESS/EGRESS ............................................................................................................... 49
        D.   LOGISTICS EXTRA COST .................................................................................................. 50
        E.   SERVICE INTERRUPTION TIME ELEMENT ................................................................... 51
        ADDITIONAL TIME ELEMENT COVERAGE EXTENSIONS ................................................... 53
        A.   ATTRACTION PROPERTY ................................................................................................. 53
        B.   CRISIS MANAGEMENT...................................................................................................... 53
        C.   DELAY IN STARTUP .......................................................................................................... 54
        D.   EXTENDED PERIOD OF LIABILITY ................................................................................ 54
        E.   INTERRUPTION BY COMMUNICABLE DISEASE ......................................................... 55
        F.   ON PREMISES SERVICES .................................................................................................. 55
        G.   PROTECTION AND PRESERVATION OF PROPERTY TIME ELEMENT..................... 56
        H.   RELATED REPORTED VALUES ....................................................................................... 56
        I.   RESEARCH AND DEVELOPMENT ................................................................................... 56
        J.   SOFT COSTS......................................................................................................................... 57

LOSS ADJUSTMENT AND SETTLEMENT
1.      REQUIREMENTS IN CASE OF LOSS .......................................................................................... 58
2.      CURRENCY FOR LOSS PAYMENT ............................................................................................. 59
3.      PARTIAL PAYMENT OF LOSS SETTLEMENT.......................................................................... 59
4.      COLLECTION FROM OTHERS .................................................................................................... 59
5.      SUBROGATION.............................................................................................................................. 59
6.      COMPANY OPTION ....................................................................................................................... 59


Printed 28-Jun-2019                                                                                                                     Page 2
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                                          Case ID: 210900124
                                                                                                                                     POLICY-006
                 Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 40 of 172

                                                                                                                      Account No. 1-56307
                                                                                                                       Policy No. 1056619


                                               TABLE OF CONTENTS
                                            (Order In Which They Appear)                                                                    Page No.

7.       ABANDONMENT ........................................................................................................................... 59
8.       APPRAISAL .................................................................................................................................... 59
9.       SUIT AGAINST THE COMPANY ................................................................................................. 60
10.      SETTLEMENT OF CLAIMS .......................................................................................................... 60

GENERAL PROVISIONS
1.   CANCELLATION/NON-RENEWAL ............................................................................................. 62
2.   INSPECTIONS ................................................................................................................................. 62
3.   PROVISIONS APPLICABLE TO SPECIFIC JURISDICTIONS ................................................... 62
4.   LIBERALIZATION ......................................................................................................................... 64
5.   MISREPRESENTATION AND FRAUD ........................................................................................ 64
6.   LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS................. 65
7.   OTHER INSURANCE ..................................................................................................................... 66
8.   POLICY MODIFICATION.............................................................................................................. 67
9.   REDUCTION BY LOSS .................................................................................................................. 68
10. SUSPENSION .................................................................................................................................. 68
11. TITLES ............................................................................................................................................. 68
12. ASSIGNMENT ................................................................................................................................ 68
13. DEFINITIONS ................................................................................................................................. 68
SCHEDULE OF LOCATIONS .............................................................................................. APPENDIX A
WIND AREAS ........................................................................................................................ APPENDIX B
SUPPLEMENTAL UNITED STATES CERTIFIED ACT OF TERRORISM ENDORSEMENT, Form
FMG7308
RISK IMPROVEMENT COVERAGE ENDORSEMENT, Form FMG7332
CYBER OPTIMAL RECOVERY ENDORSEMENT, Form FMG7588




Printed 28-Jun-2019                                                                                                                         Page 3
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                                             Case ID: 210900124
                                                                                                                                         POLICY-007
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 41 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619




                                                      DECLARATIONS

        This Policy covers property, as described in this Policy, against ALL RISKS OF PHYSICAL
        LOSS OR DAMAGE, except as hereinafter excluded, while located as described in this Policy.

1.      NAMED INSURED AND MAILING ADDRESS

        The Trustees of the University of Pennsylvania and any subsidiary, and The Trustees of the
        University of Pennsylvania interest in any partnership or joint venture in which The Trustees of the
        University of Pennsylvania has management control or ownership as now constituted or hereafter is
        acquired, as the respective interest of each may appear; all hereafter referred to as the “Insured,”
        including legal representatives.

        2929 Walnut Street, Suite 460
        Philadelphia, PA 19104-5099

2.      POLICY DATES

                      The term of this Policy is:

                      FROM: 01 July 2019 at 12:01 a.m., Standard Time;
                      TO:  01 July 2020 at 12:01 a.m., Standard Time,

                      at the location of property involved as provided in this Policy.

3.      INSURANCE PROVIDED

        The coverage under this Policy applies to property described on the Schedule of Locations or
        covered under the terms and conditions of the AUTOMATIC COVERAGE, ERRORS AND
        OMISSIONS or MISCELLANEOUS PROPERTY provisions, unless otherwise provided.

        Schedule of Locations are as listed on the Schedule of Locations attached to this Policy.

4.      PREMIUM

        This Policy is issued in consideration of an initial premium.

5.      PREMIUM PAYABLE

        Marsh USA, Inc. pays the premium under this Policy, and any return of the paid premium accruing
        under this Policy will be paid to the account of Marsh USA, Inc.

6.      LOSS ADJUSTMENT/PAYABLE

        Loss, if any, will be adjusted with and payable to The Trustees of the University of Pennsylvania,
        or as may be directed by The Trustees of the University of Pennsylvania.

        Additional insured interests will also be included in loss payment as their interests may appear
        when named as additional named insured, lender, mortgagee and/or loss payee either on a
        Certificate of Insurance or other evidence of insurance on file with the Company or named below.


Printed 28-Jun-2019                                                                                             Page 1
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-008
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 42 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


        When named on a Certificate of Insurance or other evidence of insurance, such additional interests
        are automatically added to this Policy as their interests may appear as of the effective date shown
        on the Certificate of Insurance or other evidence of insurance. The Certificate of Insurance or other
        evidence of insurance will not amend, extend or alter the terms, conditions, provisions and limits of
        this Policy.

7.      TERRITORY

        Coverage as provided under this Policy applies in Canada, the United States of America, the
        Commonwealth of Puerto Rico, Botswana and the People’s Republic of China.

        As respects MISCELLANEOUS PROPERTY, coverage as provided under this Policy applies
        worldwide except does not apply in:

        Afghanistan; Albania; Algeria; Angola; Armenia; Azerbaijan; Bangladesh; Belarus; Belize; Benin;
        Bhutan; Bolivia; Bosnia and Herzegovina; Burkina Faso; Burundi; Cambodia; Cameroon; Central
        African Republic; Chad; Cote D’Ivoire; Cuba; Democratic Republic of the Congo; Djibouti; Egypt;
        Equatorial Guinea; Eritrea; Ethiopia; Fiji; Gabon; Gambia; Georgia; Ghana; Grenada; Guinea;
        Guinea-Bissau; Guatemala; Guyana; Haiti; Honduras; Jammu and Kashmir in India; Iran; Iraq;
        Israel; Gaza Strip, West Bank and territories north of Latitude 32.80 N in Israel; Kenya; Laos;
        Lebanon; Lesotho; Liberia; Libya; Madagascar; Malawi; Mali; Mauritania; Mauritius; Moldova;
        Mongolia; Montenegro; Montserrat; Mozambique; Myanmar; Namibia; Nepal; Niger; Nigeria;
        North Korea; Pakistan; Papua New Guinea; Aksai Chin and Trans-Karakoram Tract in People’s
        Republic of China; Republic of the Congo; Chechen Republic of the Russian Federation; Rwanda;
        Senegal; Seychelles; Sierra Leone; Somalia; Sri Lanka; South Sudan; Sudan; Swaziland; Syria;
        Tajikistan; Tanzania; Timor-Leste; Togo; Tunisia; Agri, Batman, Bingol, Bitlis, Diyarbakir, Elazig,
        Hakkari, Igdir, Mardin, Mus, Sanliurfa, Siirt, Sirnak and Van in Turkey; Turkmenistan; Uganda;
        Ukraine; Crimea Region of Ukraine; Uzbekistan; Venezuela; Yemen; Zambia; and Zimbabwe.

8.      JURISDICTION

        This Policy will be governed by the laws of the United States of America.

        Any disputes arising hereunder will be exclusively subject to the jurisdiction of the United States of
        America.

9.      CURRENCY

        All amounts, including deductibles, premiums and limits of liability, indicated in this Policy shall
        be in the currency represented by the three letter currency designation shown. This three letter
        currency designator is defined in Table A.1-Currency and funds code list, International
        Organization for Standardization (ISO) 4217, edition in effect at the inception of this Policy.

10.     LIMITS OF LIABILITY

        The Company’s maximum limit of liability in an occurrence, including any insured TIME
        ELEMENT loss, will not exceed the Policy limit of liability of USD 2,250,000,000 subject to the
        following provisions:

        A.      Limits of liability and time limits stated below or elsewhere in this Policy are part of, and not
                in addition to, the Policy limit of liability.

        B.      Limits of liability apply per occurrence, unless otherwise stated.

Printed 28-Jun-2019                                                                                             Page 2
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-009
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 43 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



        C.      Limits of liability in an occurrence apply to the total loss or damage at all locations and for
                all coverages involved, including any insured TIME ELEMENT loss, subject to the
                following provisions:

                1) when a limit of liability applies as an annual aggregate, the Company’s maximum
                   amount payable will not exceed such limit of liability during any policy year.

                2) when a limit of liability applies to a location or other specified property, such limit of
                   liability will be the maximum amount payable for all loss or damage at all locations
                   arising from physical loss or damage at such location or to such other specified
                   property.

        D.      Should an occurrence result in liability payable under more than one policy issued to the
                Named Insured by the Company, or its representative company(ies), the maximum amount
                payable in the aggregate under all such policies will be the applicable limit(s) of liability
                indicated in this Policy.

       Applicable Limits of Liability/Time Limits:

        property located in Botswana                           USD 1,000,000

        property located in the People’s                       USD 2,222,000
        Republic of China

        For locations where TIME ELEMENT                       USD 500,000,000 for TIME ELEMENT loss
        values have not been reported by
        building excluding Penn Medicine and
        the University of Pennsylvania Health
        Systems locations per the schedule on
        file with the Company

        ANIMALS                                                USD 10,000,000, not to exceed USD 5,000,000 for
                                                               overhead, laboratory, research and experimentation
                                                               costs, not to exceed USD 50,000 per animal

        ATTRACTION PROPERTY                                    30 days

        AUTOMATIC COVERAGE                                     90 days, not to exceed USD 50,000,000 per location

        CIVIL OR MILITARY AUTHORITY                            30 days

        CLAIMS PREPARATION COSTS                               USD 500,000

        COMMUNICABLE DISEASE                                   USD 1,000,000 annual aggregate
        RESPONSE
                                                               The Company’s maximum limit of liability for
                                                               INTERRUPTION BY COMMUNICABLE DISEASE
                                                               and this coverage combined shall not exceed
                                                               USD 1,000,000 annual aggregate.



Printed 28-Jun-2019                                                                                             Page 3
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-010
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 44 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


        CONTINGENT TIME ELEMENT                                USD 25,000,000
        EXTENDED

        CRISIS MANAGEMENT                                      30 days

        cyber event                                            1.      USD 1,000,000 annual aggregate for DATA
                                                                       RESTORATION and OWNED NETWORK
                                                                       INTERRUPTION combined

                                                               2.      USD 1,000,000 annual aggregate for DATA
                                                                       SERVICE PROVIDER PROPERTY DAMAGE
                                                                       and DATA SERVICE PROVIDER TIME
                                                                       ELEMENT combined

                                                               3.      USD 25,000,000 annual aggregate for physical
                                                                       loss or damage to stock in process or finished
                                                                       goods manufactured by or for the Insured caused
                                                                       by or resulting from a cyber event that impacts
                                                                       the processing, manufacturing, or testing of such
                                                                       property or while it is otherwise being worked on

        DATA RESTORATION                                       USD 10,000,000 annual aggregate

        DATA SERVICE PROVIDER                                  USD 5,000,000 annual aggregate
        PROPERTY DAMAGE and DATA
        SERVICE PROVIDER TIME
        ELEMENT combined

        earth movement                                         USD 250,000,000 annual aggregate, not to exceed
                                                               USD 6,000,000 annual aggregate for property located
                                                               in California

        EMERGENCY VACATING                                     USD 2,500,000
        EXPENSE

        ERRORS AND OMISSIONS                                   USD 50,000,000

        EXPEDITING COSTS and EXTRA                             USD 50,000,000
        EXPENSE combined

        EXTENDED PERIOD OF LIABILITY                           365 days

        fines or penalties for breach of contract              USD 100,000
        or for late or noncompletion of orders
        combined

        flood                                                  USD 250,000,000, not to exceed the following:

                                                                1)    USD 1,000,000 for Location No. 1, ID No. 0049 as
                                                                      described on the Schedule of Locations



Printed 28-Jun-2019                                                                                             Page 4
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-011
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 45 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



                                                                2)    USD 25,000,000 for Location No. 46, Location
                                                                      No. 1, ID No. 0039 and 0040; Location No. 35 for
                                                                      the two lane entrace for approximately 500ft of
                                                                      roadway and Location No. 163 as described on the
                                                                      Schedule of Locations

        GROSS PROFIT                                           12 months

        historic buildings                                     125% of the last reported building value

        INGRESS/EGRESS                                         30 days

        INTERRUPTION BY                                        365 days, not to exceed USD 1,000,000 annual
        COMMUNICABLE DISEASE                                   aggregate

                                                               The Company’s maximum limit of liability for
                                                               COMMUNICABLE DISEASE RESPONSE and this
                                                               coverage combined shall not exceed USD 1,000,000
                                                               annual aggregate.

        LAND AND WATER                                         USD 250,000 annual aggregate
        CONTAMINANT CLEANUP,
        REMOVAL AND DISPOSAL

        landscape gardening                                    USD 2,500,000 except USD 10,000,000 for Location
                                                               No. 35 as described on the Schedule of Locations

        LEASEHOLD INTEREST                                     USD 50,000,000

        LOGISTICS EXTRA COST                                   180 days, not to exceed 200% of the normal cost

        MISCELLANEOUS PROPERTY                                 1.      USD 50,000,000 per location, not to exceed USD
                                                                       2,500,000 per location for property located
                                                                       outside the United States of America, Canada and
                                                                       The Commonwealth of Puerto Rico for property
                                                                       at a location

                                                               2.      USD 12,500,000, not to exceed USD 2,500,000
                                                                       for property located outside the United States of
                                                                       America, Canada and The Commonwealth of
                                                                       Puerto Rico for property not at a location

        PATIENT AND TENANT                                     USD 2,500,000
        RELOCATION EXPENSE

        PATIENT’S PERSONAL PROPERTY                            USD 2,500,000

        PRIZES AND GIVEAWAYS                                   USD 500,000


Printed 28-Jun-2019                                                                                             Page 5
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-012
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 46 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


        racing shells, support launches and                    USD 2,500,000, not to exceed USD 500,000 while on
        sailing dinghies                                       water

        RESEARCH AND DEVELOPMENT                               USD 50,000,000

        SERVICE INTERRUPTION                                   USD 50,000,000
        PROPERTY DAMAGE and SERVICE
        INTERRUPTION TIME ELEMENT
        combined

        TERRORISM                                              USD 5,000,000 annual aggregate, not to exceed the
                                                               following:

                                                               1.      USD 5,000,000 annual aggregate for
                                                                       AUTOMATIC COVERAGE, ERRORS AND
                                                                       OMISSIONS, MISCELLANEOUS PROPERTY
                                                                       and TEMPORARY REMOVAL OF PROPERTY
                                                                       combined

                                                               2.      USD 5,000,000 annual aggregate for flood when
                                                                       caused by or resulting from terrorism

                                                               The limits for TERRORISM shall not include the actual
                                                               cash value portion of fire damage caused by terrorism.

                                                               The limits for TERRORISM do not apply to the
                                                               SUPPLEMENTAL UNITED STATES CERTIFIED
                                                               ACT OF TERRORISM ENDORSEMENT(S).

        valuable papers and records                            USD 100,000,000, not to exceed USD 50,000 per item
                                                               for irreplaceable valuable papers and records not on a
                                                               schedule on file with the Company



11.     DEDUCTIBLES

        Subject to the deductible general provisions stated below, in each case of loss covered by this
        Policy the following deductibles apply per occurrence, for all coverages involved, unless otherwise
        stated:

         property located in Botswana                          USD 25,000

         Penn Medicine and the University of                   USD 250,000
         Pennsylvania Health System locations

         cyber event                                           USD 250,000 for DATA RESTORATION and OWNED
                                                               NETWORK INTERRUPTION

         DATA SERVICE PROVIDER                                 USD 250,000
         PROPERTY DAMAGE and DATA


Printed 28-Jun-2019                                                                                             Page 6
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-013
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 47 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


         SERVICE PROVIDER TIME
         ELEMENT

         earthquake                                            For property located in California:

                                                               Property Damage: 5%, per location

                                                               Time Element: 5%, per location

                                                               The above are subject to a minimum of USD 500,000 for
                                                               Property Damage and Time Element combined per
                                                               location.

         flood                                                 For Location No. 46, Location No. 1, ID No. 0039 and
                                                               0040, Location No. 35 for the two lane entrace for
                                                               approximately 500ft of roadway and Location No. 163
                                                               as described on the Schedule of Locations:

                                                              Property Damage: USD 500,000, per location, subject to
                                                              the National Flood Insurance Program provision in the
                                                              OTHER INSURANCE clause of this Policy

                                                               Time Element: USD 500,000, per location.

         LOGISTICS EXTRA COST                                  USD 500,000

         wind                                                  For wind loss associated with or occurring in
                                                               conjunction with a storm or weather disturbance
                                                               identified by name by any meteorological authority,
                                                               whether or not named prior to the loss:

                                                               For locations described on Wind Areas, Appendix B:

                                                               Property Damage: 1% per building, per location

                                                               Time Element: 1% per building, per location

                                                               The above are subject to a minimum of USD 500,000 for
                                                               Property Damage and Time Element combined

         All Other Loss                                        USD 500,000



        Deductible General Provisions:

        In each case of loss covered by this Policy, the Company will be liable only if the Insured sustains a
        loss, including any insured TIME ELEMENT loss, in a single occurrence greater than the
        applicable deductible specified above, and only for its share of that greater amount.

        A.       For SERVICE INTERRUPTION loss, when a deductible is not specifically stated as
                 applying to SERVICE INTERRUPTION, the deductible applied to the SERVICE


Printed 28-Jun-2019                                                                                             Page 7
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-014
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 48 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                INTERRUPTION loss will be the deductible that would apply if the cause of the interruption
                happened at the insured location that sustains the interruption of the specified services.

        B.      For CONTINGENT TIME ELEMENT EXTENDED loss, when a deductible is not
                specifically stated as applying to CONTINGENT TIME ELEMENT EXTENDED, the
                deductible for CONTINGENT TIME ELEMENT EXTENDED loss will be determined as
                though the contingent time element location was an insured location under this Policy.

        C.      The stated earthquake deductible will be applied to earthquake loss. The stated flood
                deductible will be applied to flood loss. The stated wind deductible will be applied to wind
                loss. The provisions of item E below will also be applied to each.

        D.      When this Policy insures more than one location, the deductible will apply against the total
                loss covered by this Policy in an occurrence except that a deductible that applies on a per
                location basis, if specified, will apply separately to each location where the physical damage
                happened regardless of the number of locations involved in the occurrence.

        E.      Unless stated otherwise, if two or more deductibles apply to an occurrence, the total to be
                deducted will not exceed the largest deductible applicable. For the purposes of this
                provision, when a separate Property Damage and a separate Time Element deductible apply,
                the sum of the two deductibles will be considered a single deductible. If two or more
                deductibles apply on a per location basis in an occurrence, the largest deductible applying
                to each location will be applied separately to each such location.

        F.      When a % deductible is stated above, whether separately or combined, the deductible is
                calculated as follows:

                Property Damage – % of the value, per the Valuation clause(s) of the PROPERTY
                DAMAGE section, of the property insured at the location where the physical damage
                happened.

                Time Element – % of the full Time Element values that would have been earned in the 12
                month period following the occurrence by use of the facilities at the location where the
                physical damage happened, plus that proportion of the full Time Element values at all other
                locations where TIME ELEMENT loss ensues that was directly affected by use of such
                facilities and that would have been earned in the 12 month period following the occurrence.

        G.      For insured physical loss or damage:

                1) to insured fire protection equipment; or

                2) from water or other substance discharged from fire protection equipment of the type
                   insured,

                the applicable deductible applying to items 1 or 2 above only will be reduced by fifty percent
                (50%), per occurrence. However, this provision will not apply to loss or damage resulting
                from fire or earth movement regardless of whether claim is made for such fire or earth
                movement.




Printed 28-Jun-2019                                                                                             Page 8
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-015
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 49 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                                                  PROPERTY DAMAGE

1.      INSURED PROPERTY

        This Policy insures the following property, unless otherwise excluded elsewhere in this Policy, as
        described in the INSURANCE PROVIDED provision or within 1,000 feet/300 metres thereof, to
        the extent of the interest of the Insured in such property:

        A.      Real Property, including new buildings and additions under construction, in which the
                Insured has an insurable interest.

        B.      Personal Property:

                1) owned by the Insured.

                2) consisting of the Insured’s interest as a tenant in improvements and betterments. In the
                   event of physical loss or damage, the Company agrees to accept and consider the Insured
                   as sole and unconditional owner of improvements and betterments, notwithstanding any
                   contract or lease to the contrary.

                3) of officers and employees of the Insured.

                4) of others in the Insured’s custody to the extent the Insured is under obligation to keep
                   insured for physical loss or damage insured by this Policy.

                5) of others in the Insured’s custody to the extent of the Insured’s legal liability for insured
                   physical loss or damage to Personal Property. The Company will defend that portion of
                   any suit against the Insured that alleges such liability and seeks damages for such
                   insured physical loss or damage. The Company may, without prejudice, investigate,
                   negotiate and settle any claim or suit as the Company deems expedient.

        This Policy also insures the interest of contractors and subcontractors in insured property during
        construction at an insured location or within 1,000 feet/300 metres thereof, to the extent of the
        Insured’s legal liability for insured physical loss or damage to such property. Such interest of
        contractors and subcontractors is limited to the property for which they have been hired to perform
        work and such interest will not extend to any TIME ELEMENT coverage provided under this
        Policy.

2.      EXCLUDED PROPERTY

        The following exclusions apply unless otherwise stated in this Policy:

        This Policy excludes:

        A.      accounts, bills, currency, deeds, evidences of debt or title, fine arts, rare books, money, notes
                or securities.

        B.      precious metal in bullion form.

        C.      land and any substance in or on land. However, this exclusion does not apply to:

                1) landscape gardening.



Printed 28-Jun-2019                                                                                             Page 9
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-016
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 50 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                2) car parks, parking lots, pavement, roadways, railways, transformer enclosures or
                   walkways.

                3) fill beneath car parks, parking lots, pavement, roadways, railways, transformer
                   enclosures, walkways, or buildings and structures.

        D.      water. However, this exclusion does not apply to:

                1) water that is contained within any enclosed tank, piping system or any other processing
                   equipment.

        E.      animals except as provided by the ANIMALS coverage of this Policy, standing timber or
                growing crops.

        F.      watercraft or aircraft, except when unfueled and manufactured by the Insured or watercraft
                consisting of racing shells, support launches and sailing dinghies, or as provided by the
                PRIZES AND GIVEAWAYS coverage of this Policy.

        G.      vehicles of officers or employees of the Insured or vehicles otherwise insured for physical
                loss or damage except as provided by the PRIZES AND GIVEAWAYS coverage of this
                Policy.

        H.      underground mines or mine shafts or any property within such mine or shaft.

        I.      dams or dikes.

        J.      property in transit, except as otherwise provided by this Policy.

        K.      property sold by the Insured under conditional sale, trust agreement, installment plan or other
                deferred payment plan after delivery to customers, except as provided by the
                INSTALLMENT OR DEFERRED PAYMENTS coverage of this Policy.

        L.      electronic data, programs or software, except when incorporated into physical goods
                intended to be sold as:

               1)     finished goods manufactured by the Insured; or

               2)     other merchandise not manufactured by the Insured,

               or as otherwise provided by the DATA RESTORATION coverage of this Policy.

       M.      personal property of students.

       N.      property located at 2970 Market Street, 3000 Chestnut Street, Philadelphia, PA 19104.

       O.      property located at 3900 Walnut Street, Philadelphia, PA 19104-3609, New College House
               West.

       P.      property located at Penn Medicine Lancaster General Health locations.

       Q.      property located at Penn Medicine Princeton Health locations.




Printed 28-Jun-2019                                                                                             Page 10
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-017
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 51 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


       R.      property located at 1 Convention Avenue, Philadelphia, PA 19104, Pavilion at the Hospital of
               University of Pennsylvania.

       S.      property located at 701 East Marshall Street, West Chester, PA 19380-4412, Chester County
               Hospital Expansion project.

       T.      property located at 145 King of Prussia Road, Radnor, PA 19087, Penn Medicine at Radnor

3.      EXCLUSIONS

        In addition to the exclusions elsewhere in this Policy, the following exclusions apply unless
        otherwise stated:

        A.      This Policy excludes:

                1) indirect or remote loss or damage.

                2) interruption of business, except to the extent provided by this Policy.

                3) loss of market or loss of use.

                4) loss or damage or deterioration arising from any delay.

                5) mysterious disappearance, loss or shortage disclosed on taking inventory, or any
                   unexplained loss.

                6) loss from enforcement of any law or ordinance:

                      a) regulating the construction, repair, replacement, use or removal, including debris
                         removal, of any property; or

                      b) requiring the demolition of any property, including the cost in removing its debris;

                      except as provided by the DECONTAMINATION COSTS and LAW AND
                      ORDINANCE coverages of this Policy.

                7) loss resulting from the voluntary parting with title or possession of property if induced
                   by any fraudulent act or by false pretence.

        B.      This Policy excludes loss or damage directly or indirectly caused by or resulting from any of
                the following regardless of any other cause or event, whether or not insured under this
                Policy, contributing concurrently or in any other sequence to the loss:

                1) nuclear reaction or nuclear radiation or radioactive contamination. However:

                      a) if physical damage by fire or sprinkler leakage results, then only that resulting
                         damage is insured; but not including any loss or damage due to nuclear reaction,
                         radiation or radioactive contamination.

                      b) this Policy does insure physical damage directly caused by sudden and accidental
                         radioactive contamination, including resultant radiation damage, from material used
                         or stored or from processes conducted on the insured location, provided that on the
                         date of loss, there is neither a nuclear reactor nor any new or used nuclear fuel on


Printed 28-Jun-2019                                                                                             Page 11
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-018
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 52 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                           the insured location. This coverage does not apply to any act, loss or damage
                           excluded in item B2f of this EXCLUSIONS clause.

                      This exclusion B1 and the exceptions in B1a and B1b do not apply to any act, loss or
                      damage which also comes within the terms of exclusion B2b of this EXCLUSIONS
                      clause.

                2) a) hostile or warlike action in time of peace or war, including action in hindering,
                      combating or defending against an actual, impending or expected attack by any:

                           (i) government or sovereign power (de jure or de facto);

                           (ii) military, naval or air force; or

                           (iii) agent or authority of any party specified in i or ii above.

                      b) discharge, explosion or use of any nuclear device, weapon or material employing or
                         involving nuclear fission, fusion or radioactive force, whether in time of peace or
                         war and regardless of who commits the act.

                      c) insurrection, rebellion, revolution, civil war, usurped power, or action taken by
                         governmental authority in hindering, combating or defending against such an event.

                      d) seizure or destruction under quarantine or custom regulation, or confiscation by
                         order of any governmental or public authority.

                      e) risks of contraband, or illegal transportation or trade.

                      f) terrorism, including action taken to prevent, defend against, respond to or retaliate
                         against terrorism or suspected terrorism, except to the extent provided in the
                         TERRORISM coverage of the Policy. However, if direct loss or damage by fire
                         results from any of these acts (unless committed by or on behalf of the Insured),
                         then this Policy covers only to the extent of the actual cash value of the resulting
                         direct loss or damage by fire to property insured. This coverage exception for such
                         resulting fire loss or damage does not apply to:

                           (i) direct loss or damage by fire which results from any other applicable exclusion
                               in the Policy, including the discharge, explosion or use of any nuclear device,
                               weapon or material employing or involving nuclear fission, fusion or radioactive
                               force, whether in time of peace or war and regardless of who commits the act.

                           (ii) any coverage provided in the TIME ELEMENT section of this Policy or to any
                                other coverages provided in this Policy.

                           Any act which satisfies the definition of terrorism shall not be considered to be
                           vandalism, malicious mischief, riot, civil commotion, or any other risk of physical
                           loss or damage covered elsewhere in this Policy.

                           If any act which satisfies the definition of terrorism also comes within the terms of
                           item B2a of this EXCLUSIONS clause then item B2a applies in place of this item
                           B2f exclusion.




Printed 28-Jun-2019                                                                                             Page 12
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-019
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 53 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                           If any act which satisfies the definition of terrorism also comes within the terms of
                           item B2b of this EXCLUSIONS clause then item B2b applies in place of this item
                           B2f exclusion.

                           If any act which satisfies the definition of terrorism also comes within the terms of
                           item B2c of this EXCLUSIONS clause then item B2c applies in place of this item
                           B2f exclusion.

                           If any act excluded herein involves nuclear reaction, nuclear radiation or radioactive
                           contamination, this item B2f exclusion applies in place of item B1 of this
                           EXCLUSIONS clause.

                3) any dishonest act, including but not limited to theft, committed alone or in collusion with
                   others, at any time:

                      a) by an Insured or any proprietor, partner, director, trustee, officer, or employee of an
                         Insured; or

                      b) by any proprietor, partner, director, trustee, or officer of any business or entity (other
                         than a common carrier) engaged by an Insured to do anything in connection with
                         property insured under this Policy.

                      This Policy does insure acts of direct insured physical damage intentionally caused by an
                      employee of an Insured or any individual specified in b above, and done without the
                      knowledge of the Insured. This coverage does not apply to any act excluded in B2f of
                      this EXCLUSIONS clause. In no event does this Policy cover loss by theft by any
                      individual specified in a or b above.

                4) lack of the following services:

                      a) incoming electricity, fuel, water, gas, steam or refrigerant;

                      b) outgoing sewerage;

                      c) incoming or outgoing voice, data or video,

                      all when caused by an event off the insured location, except as provided in the DATA
                      SERVICE PROVIDER and SERVICE INTERRUPTION coverages of this Policy. But,
                      if the lack of such a service directly causes insured physical damage on the insured
                      location, then only that resulting damage is insured.

        C.      This Policy excludes the following, but, if physical damage not excluded by this Policy
                results, then only that resulting damage is insured:

                1) faulty workmanship, material, construction or design from any cause.

                2) loss or damage to stock or material attributable to manufacturing or processing
                   operations while such stock or material is being processed, manufactured, tested, or
                   otherwise worked on.

                3) deterioration, depletion, rust, corrosion or erosion, wear and tear, inherent vice or latent
                   defect.



Printed 28-Jun-2019                                                                                             Page 13
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-020
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 54 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                4) settling, cracking, shrinking, bulging, or expansion of:

                      a) foundations (including any pedestal, pad, platform or other property supporting
                         machinery).

                      b) floors.

                      c) pavements.

                      d) walls.

                      e) ceilings.

                      f) roofs.

                5) a) changes of temperature damage (except to machinery or equipment); or

                      b) changes in relative humidity damage,

                      all whether atmospheric or not.

                6) insect, animal or vermin damage.

                7) loss or damage to the interior portion of buildings under construction from rain, sleet or
                   snow, whether or not driven by wind, when the installation of the roof, walls or windows
                   of such buildings has not been completed.

        D.      This Policy excludes the following unless directly resulting from other physical damage not
                excluded by this Policy:

                1) contamination, and any cost due to contamination including the inability to use or
                   occupy property or any cost of making property safe or suitable for use or occupancy. If
                   contamination due only to the actual not suspected presence of contaminant(s) directly
                   results from other physical damage not excluded by this Policy, then only physical
                   damage caused by such contamination may be insured. This exclusion D1 does not
                   apply to radioactive contamination which is excluded elsewhere in this Policy.

                2) shrinkage.

                3) changes in color, flavor, texture or finish.

                4) loss, damage, death or disease of plants, trees or shrubs caused by or resulting from
                   experiments, research projects or natural causes.

4.      APPLICATION OF POLICY TO DATE OR TIME RECOGNITION

        With respect to situations caused by any date or time recognition problem by electronic data
        processing equipment or media (such as the so-called Year 2000 problem), this Policy applies as
        follows.

        A.      This Policy does not pay for remediation, change, correction, repair or assessment of any
                date or time recognition problem, including the Year 2000 problem, in any electronic data
                processing equipment or media, whether preventative or remedial, and whether before or


Printed 28-Jun-2019                                                                                             Page 14
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-021
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 55 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                after a loss, including temporary protection and preservation of property. This Policy does
                not pay for any TIME ELEMENT loss resulting from the foregoing remediation, change,
                correction, repair or assessment.

        B.      Failure of electronic data processing equipment or media to correctly recognize, interpret,
                calculate, compare, differentiate, sequence, access or process data involving one or more
                dates or times, including the Year 2000, is not insured physical loss or damage. This Policy
                does not pay for any such incident or for any TIME ELEMENT loss resulting from any such
                incident.

        Subject to all of its terms and conditions, this Policy does pay for physical loss or damage not
        excluded by this Policy that results from a failure of electronic data processing equipment or
        media to correctly recognize, interpret, calculate, compare, differentiate, sequence, access or
        process data involving one or more dates or times, including the Year 2000. Such covered resulting
        physical loss or damage does not include any loss, cost or expense described in A or B above. If
        such covered resulting physical loss or damage happens, and if this Policy provides TIME
        ELEMENT coverage, then, subject to all of its terms and conditions, this Policy also covers any
        insured Time Element loss directly resulting therefrom.

5.      VALUATION

        Adjustment of the physical loss amount under this Policy will be computed as of the date of loss at
        the place of the loss, and for no more than the interest of the Insured.

        Unless stated otherwise in an Additional Coverage, adjustment of physical loss to property will be
        subject to the following:

        A.      On stock in process, the value of raw materials and labor expended plus the proper
                proportion of overhead charges.

        B.      On finished goods manufactured for the Insured, the regular cash selling price, less all
                discounts and charges to which the finished goods would have been subject had no loss
                happened.

        C.      On raw materials, supplies or other merchandise not manufactured by the Insured:

                1) if repaired or replaced, the actual expenditure incurred in repairing or replacing the
                   damaged or destroyed property; or

                2) if not repaired or replaced, the actual cash value.

        D.      On exposed films, records, manuscripts and drawings that are not valuable papers and
                records, the value blank plus the cost of copying information from back-up or from originals
                of a previous generation. These costs will not include research, engineering or any costs of
                restoring or recreating lost information.

        E.      On property that is damaged by fire and such fire is the result of terrorism, the actual cash
                value of the fire damage loss. Any remaining fire damage loss shall be adjusted according to
                the terms and conditions of the Valuation clause(s) in this section of the Policy and shall be
                subject to the limit(s) of liability for TERRORISM, and if stated the limit of liability for
                SUPPLEMENTAL UNITED STATES CERTIFIED ACT OF TERRORISM
                ENDORSEMENT(S), as shown in the LIMITS OF LIABILITY clause in the
                DECLARATIONS section.


Printed 28-Jun-2019                                                                                             Page 15
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-022
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 56 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



         F.      On books, pre-recorded audio or video tapes, records or laser discs, microforms, periodicals,
                 music scores, pamphlets, slides, maps, photographs and charts, the cost of repairing or
                 replacing such property with like kind or quality including the costs of acquisition,
                 processing and cataloging.

         G.     On plants, trees and shrubs reported in the statement(s) of values, the value determined by
                the “Replacement Cost” or “Trunk Formula Method” described in the Guide for Plant
                Appraisal, 2000 edition, and/or the most recent edition available, of the International Society
                of Arboriculture (I.S.A.) and supplemented by relevant regional I.S.A. chapter species rating
                and valuation guides. On all other plants, trees and shrubs, the value of the largest
                commercially available nursery stock, or seeds but not to exceed the cost to repair or replace
                such property with material of like kind or quality.

        H.      On all other property, the lesser of the following:

                1) The cost to repair.

                2) The cost to rebuild or replace on the same site with new materials of like size, kind and
                   quality.

                3) The cost in rebuilding, repairing or replacing on the same or another site, but not to
                   exceed the size and operating capacity that existed on the date of loss.

                4) The selling price of real property or machinery and equipment, other than stock, offered
                   for sale on the date of loss.

                5) The cost to replace unrepairable electrical or mechanical equipment, including computer
                   equipment, with equipment that is the most functionally equivalent to that damaged or
                   destroyed, even if such equipment has technological advantages and/or represents an
                   improvement in function and/or forms part of a program of system enhancement.

                6) The increased cost of demolition, if any, directly resulting from insured loss, if such
                   property is scheduled for demolition.

                7) The unamortized value of improvements and betterments, if such property is not
                   repaired or replaced at the Insured’s expense.

                8) The actual cash value if such property is:

                      a) useless to the Insured; or

                      b) not repaired, replaced or rebuilt on the same or another site within two years from
                         the date of loss, unless such time is extended by the Company.

                The Insured may elect not to repair or replace the insured real or personal property lost,
                damaged or destroyed. Loss settlement may be elected on the lesser of repair or replacement
                cost basis if the proceeds of such loss settlement are expended on other capital expenditures
                related to the Insured’s operations within two years from the date of loss. As a condition of
                collecting under this item, such expenditure must be unplanned as of the date of loss and be
                made at an insured location under this Policy. This item does not extend to LAW AND
                ORDINANCE.



Printed 28-Jun-2019                                                                                             Page 16
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-023
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 57 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


6.      ADDITIONAL COVERAGES

        This Policy includes the following Additional Coverages for insured physical loss or damage.

        These Additional Coverages:

        1)      are subject to the applicable limit of liability;

        2)      will not increase the Policy limit of liability; and

        3)      are subject to the Policy provisions, including applicable exclusions and deductibles,

        all as shown in this section and elsewhere in this Policy.

        CYBER ADDITIONAL COVERAGES

        A.      DATA RESTORATION

                This Policy covers insured physical loss or damage to electronic data, programs or
                software.

                With respect to physical loss or damage to electronic data, programs or software caused
                by or resulting from a cyber event, this Additional Coverage will apply when the time to
                recreate or restore such data, programs or software with due diligence and dispatch is in
                excess of 48 hours.

                For the purposes of this Additional Coverage, insured data, programs or software can be
                anywhere worldwide, including while in transit, except in Cuba, Iran, North Korea, Sudan,
                Syria or Crimea Region of Ukraine.

                This Additional Coverage also covers:

                1) the cost of the following reasonable and necessary actions taken by the Insured provided
                   such actions are taken due to actual insured physical loss or damage to electronic data,
                   programs or software:

                      a) actions to temporarily protect and preserve insured electronic data, programs or
                         software.

                      b) actions taken for the temporary repair of insured physical loss or damage to
                         electronic data, programs or software.

                      c) actions taken to expedite the permanent repair or replacement of such damaged
                         property.

                2) the reasonable and necessary costs incurred by the Insured to temporarily protect or
                   preserve insured electronic data, programs or software against immediately impending
                   insured physical loss or damage to electronic data, programs or software. In the
                   event that there is no physical loss or damage, the costs covered under this item will be
                   subject to the deductible that would have applied had there been such physical loss or
                   damage.




Printed 28-Jun-2019                                                                                             Page 17
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                Case ID: 210900124
                                                                                                              POLICY-024
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 58 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                Costs recoverable under this Additional Coverage are excluded from coverage elsewhere in
                this Policy.

                This Additional Coverage excludes loss or damage to data, programs or software when
                incorporated into physical goods intended to be sold as:

                1) finished goods manufactured by the Insured; or

                2) other merchandise not manufactured by the Insured.

                DATA RESTORATION Exclusions: As respects DATA RESTORATION, the following
                applies:

                1) the exclusions in the EXCLUSIONS clause of this section do not apply except for A1,
                   A2, A6, B1, B2, B3a and B4.

                2) the following additional exclusions apply:

                      This Policy excludes the following, but, if physical damage not excluded by this Policy
                      results, then only that resulting damage is insured:

                      a) errors or omissions in processing or copying.

                      b) loss or damage to data, programs or software from errors or omissions in
                         programming or machine instructions.

                      c) deterioration, inherent vice, vermin or wear and tear.

                DATA RESTORATION Valuation: On property covered under this Additional Coverage the
                loss amount will not exceed:

                1) the cost to repair, replace or restore data, programs or software including the costs to
                   recreate, research and engineer;

                2) if not repaired, replaced or restored within two years from the date of loss, the blank
                   value of the media.

        B.      DATA SERVICE PROVIDER PROPERTY DAMAGE

                This Policy covers insured physical loss or damage to insured property at an insured location
                when such physical loss or damage results from the interruption of off-premises data
                processing or data transmission services by reason of any accidental event at the facilities
                of the provider of such services that immediately prevents in whole or in part the delivery of
                such provided services.

                For the purposes of this Additional Coverage:

                1) facilities of the provider of off-premises data processing or data transmission
                   services can be located worldwide except in Cuba, Iran, North Korea, Sudan, Syria or
                   Crimea Region of Ukraine, and

                2) an accidental event to satellites will be considered an accidental event at the facilities of
                   the provider.


Printed 28-Jun-2019                                                                                             Page 18
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-025
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 59 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



                This Additional Coverage will apply when the period of interruption of off-premises data
                processing or data transmission services as described below is in excess of 24 hours.

                The period of interruption of off-premises data processing or data transmission services
                is the period starting with the time when an interruption of provided services happens; and
                ending when with due diligence and dispatch the service could be wholly restored.

                Additional General Provisions:

                1) The Insured will immediately notify the company providing off-premises data
                   processing or data transmission services of any interruption of such services.

                2) The Company will not be liable if the interruption of such services is caused directly or
                   indirectly by the failure of the Insured to comply with the terms and conditions of any
                   contracts the Insured has entered into for such specified services.

                DATA SERVICE PROVIDER PROPERTY DAMAGE Exclusions: As respects DATA
                SERVICE PROVIDER PROPERTY DAMAGE, the following applies:

                1) Items B4 and C5 of the EXCLUSIONS clause in this section do not apply except for B4
                with respect to:

                      a) incoming electricity, fuel, water, gas, steam or refrigerant; and

                      b) outgoing sewerage.

                2) The following additional exclusions apply:

                      This Policy excludes loss or damage directly or indirectly caused by or resulting from
                      the following regardless of any other cause or event, whether or not insured under this
                      Policy, contributing concurrently or in any other sequence to the loss:

                      a) earth movement for property located in California, in the New Madrid Seismic
                         Zone or in the Pacific Northwest Seismic Zone.

                      b) terrorism.

        OTHER ADDITIONAL COVERAGES

        A.      ACCIDENTAL INTERRUPTION OF SERVICES

                This Policy covers physical damage resulting from changes in temperature or relative
                humidity to insured property at an insured location when such changes in temperature or
                relative humidity result from the interruption of services consisting of electricity, gas, fuel,
                steam, water or refrigeration by reason of any accidental event, other than insured physical
                loss or damage, at the insured location.

                This Additional Coverage will apply when the period of service interruption as described
                below is in excess of 24 hours.




Printed 28-Jun-2019                                                                                             Page 19
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-026
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 60 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                The period of service interruption is the period starting with the time when an interruption of
                specified services happens; and ending when with due diligence and dispatch the service
                could be wholly restored.

        B.      ACCOUNTS RECEIVABLE

                This Policy covers the following directly resulting from insured physical loss or damage to
                accounts receivable records while anywhere within this Policy’s TERRITORY, including
                while in transit:

                1) any shortage in the collection of accounts receivable.

                2) the interest charges on any loan to offset such impaired collection pending repayment of
                   such uncollectible sum. Unearned interest and service charges on deferred payment
                   accounts and normal credit losses on bad debts will be deducted in determining the
                   amount recoverable.

                3) the reasonable and necessary cost incurred for material and time required to re-establish
                   or reconstruct accounts receivable records excluding any costs covered by any other
                   insurance.

                4) any other necessary and reasonable costs incurred to reduce the loss, to the extent the
                   losses are reduced.

                Accounts receivable records will include accounts receivable records stored as electronic
                data.

                In the event of loss, the Insured will:

                1) use all reasonable efforts, including legal action, if necessary, to effect collection of
                   outstanding accounts receivable.

                2) reduce loss by use of any suitable property or service:

                      a) owned or controlled by the Insured; or

                      b) obtainable from other sources.

                3) reconstruct, if possible, accounts receivable records so that no shortage is sustained.

                The settlement of loss will be made within 90 days from the date of physical loss or damage.
                All amounts recovered by the Insured on outstanding accounts receivable on the date of loss
                will belong and be paid to the Company up to the amount of loss paid by the Company. All
                recoveries exceeding the amount paid will belong to the Insured.

                ACCOUNTS RECEIVABLE Exclusions: As respects ACCOUNTS RECEIVABLE, the
                following additional exclusions apply:

                This Policy does not insure against shortage resulting from:

                1) bookkeeping, accounting or billing errors or omissions; or

                2) a) alteration, falsification, manipulation; or


Printed 28-Jun-2019                                                                                             Page 20
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-027
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 61 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



                      b) concealment, destruction or disposal,

                      of accounts receivable records committed to conceal the wrongful giving, taking,
                      obtaining or withholding of money, securities or other property; but only to the extent of
                      such wrongful giving, taking, obtaining or withholding.

        C.      ANIMALS

                This Policy covers insured physical loss or damage to animals.

                ANIMALS Exclusions: As respects ANIMALS, the following additional exclusions apply:

                This Policy excludes the following unless directly resulting from other physical damage not
                excluded by this Policy:

                1) death, destruction, or injury from natural causes.

                2) escape.

                3) sickness, disease, infection, infestation or illness.

                4) error or omission in processing and/or failure on the part of the Insured to provide
                   nourishment, medicine or sanitary conditions.

                5) contamination of animals, food or medicine.

                ANIMALS Valuation: On property covered under this Additional Coverage the loss amount
                will not exceed:

                1) the purchase price of commercially available laboratory animals, including overhead,
                   laboratory, research and experimentation costs.

        D.      AUTOMATIC COVERAGE

                This Policy covers insured physical loss or damage to insured property at any location
                purchased, leased, rented or otherwise acquired by the Insured after the inception date of this
                Policy.

                This Additional Coverage applies:

                1) from the date of purchase, lease, rental or acquisition,

                2) until the first of the following:

                      a) the location is bound by the Company.

                      b) agreement is reached that the location will not be insured under this Policy.

                      c) the time limit shown in the LIMITS OF LIABILITY clause in the
                         DECLARATIONS section has been reached. The time limit begins on the date that
                         the University Risk Manager has received notification of the purchase, lease, rental
                         acquisition or utilization of the property.


Printed 28-Jun-2019                                                                                             Page 21
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-028
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 62 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



        E.      BRANDS AND LABELS

                If branded or labeled insured property is physically damaged and the Company elects to take
                all or any part of that property, the Insured may at the Company’s expense:

                1) stamp “salvage” on the property or its containers; or

                2) remove or obliterate the brands or labels,

                if doing so will not damage the property.

                The Insured must relabel such property or its containers to be in compliance with any
                applicable law.

        F.      CLAIMS PREPARATION COSTS

                This Policy covers the actual costs incurred by the Insured:

                1) of reasonable fees payable to the Insured’s: accountants, architects, auditors, engineers,
                   or other professionals; and

                2) the cost of using the Insured’s employees,

                for producing and certifying any particulars or details contained in the Insured’s books or
                documents, or such other proofs, information or evidence required by the Company resulting
                from insured loss payable under this Policy for which the Company has accepted liability.

                This Additional Coverage will not cover the fees and costs of:

                1) attorneys, public adjusters, and loss appraisers, all including any of their subsidiary,
                   related or associated entities either partially or wholly owned by them or retained by
                   them for the purpose of assisting them,

                2) loss consultants who provide consultation on coverage or negotiate claims.

                This Additional Coverage is subject to the deductible that applies to the loss.

        G.      COMMUNICABLE DISEASE RESPONSE

                If a location owned, leased or rented by the Insured has the actual not suspected presence of
                communicable disease and access to such location is limited, restricted or prohibited by:

                1) an order of an authorized governmental agency regulating the actual not suspected
                   presence of communicable disease; or

                2) a decision of an Officer of the Insured as a result of the actual not suspected presence of
                   communicable disease,

                this Policy covers the reasonable and necessary costs incurred by the Insured at such
                location with the actual not suspected presence of communicable disease for the:




Printed 28-Jun-2019                                                                                             Page 22
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-029
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 63 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                1) cleanup, removal and disposal of the actual not suspected presence of communicable
                   diseases from insured property; and

                2) actual costs of fees payable to public relations services or actual costs of using the
                   Insured’s employees for reputation management resulting from the actual not suspected
                   presence of communicable diseases on insured property.

                This Additional Coverage will apply when access to such location is limited, restricted or
                prohibited in excess of 48 hours.

                This Additional Coverage does not cover any costs incurred due to any law or ordinance
                with which the Insured was legally obligated to comply prior to the actual not suspected
                presence of communicable disease.

                COMMUNICABLE DISEASE RESPONSE Exclusions: As respects COMMUNICABLE
                DISEASE RESPONSE, the following additional exclusion applies:

                This Policy excludes loss or damage directly or indirectly caused by or resulting from the
                following regardless of any other cause or event, whether or not insured under this Policy,
                contributing concurrently or in any other sequence to the loss:

                1) terrorism.

        H.      CONSEQUENTIAL REDUCTION IN VALUE

                This Policy covers the reduction in value of insured merchandise that is a part of pairs, sets,
                or components, directly resulting from insured physical loss or damage to other insured parts
                of pairs, sets or components of such merchandise. If settlement is based on a constructive
                total loss, the Insured will surrender the undamaged parts of such merchandise to the
                Company.

        I.      CONTROL OF DAMAGED PROPERTY

                This Policy gives control of physically damaged property consisting of finished goods
                manufactured by or for the Insured.

                1) the Insured will have full rights to the possession and control of damaged property in the
                   event of insured physical damage to such property provided proper testing is done to
                   show which property is physically damaged.

                2) the Insured using reasonable judgment will decide if the physically damaged property
                   can be reprocessed or sold.

                3) property so judged by the Insured to be unfit for reprocessing or selling will not be sold
                   or disposed of except by the Insured, or with the Insured’s consent.

                4) any salvage proceeds received will go to the:

                      a) Company at the time of loss settlement; or

                      b) Insured if received prior to loss settlement and such proceeds will reduce the amount
                         of loss payable accordingly.



Printed 28-Jun-2019                                                                                             Page 23
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-030
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 64 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


        J.      DEBRIS REMOVAL

                This Policy covers the reasonable and necessary costs incurred to remove debris from an
                insured location that remains as a direct result of insured physical loss or damage.

                This Additional Coverage does not cover the costs of removal of:

                1) contaminated uninsured property; or

                2) the contaminant in or on uninsured property,

                whether or not the contamination results from insured physical loss or damage. This
                Additional Coverage covers the costs of removal of contaminated insured property or the
                contaminant in or on insured property only if the contamination, due to the actual not
                suspected presence of contaminant(s), of the debris resulted directly from other physical
                damage not excluded by the Policy.

        K.      DECONTAMINATION COSTS

                If insured property is contaminated as a direct result of insured physical damage and there is
                in force at the time of the loss any law or ordinance regulating contamination due to the
                actual not suspected presence of contaminant(s), then this Policy covers, as a direct result of
                enforcement of such law or ordinance, the increased cost of decontamination and/or removal
                of such contaminated insured property in a manner to satisfy such law or ordinance. This
                Additional Coverage applies only to that part of insured property so contaminated due to the
                actual not suspected presence of contaminant(s) as a direct result of insured physical
                damage.

                The Company is not liable for the costs required for removing contaminated uninsured
                property or the contaminant therein or thereon, whether or not the contamination results
                from an insured event.

        L.      EMERGENCY VACATING EXPENSE

                As respects Penn Medicine and the University of Pennsylvania Health System only:

                This Policy covers the reasonable and necessary costs incurred by the Insured for the
                emergency evacuation and subsequent return of patients, tenants and residents that are
                undergoing medical care, assistance or rehabilitation when:

                1) an authorized governmental agency; or

                2) an Officer of the Insured using reasonable discretion,

                orders such evacuation from an insured healthcare facility as a direct result of immediately
                impending physical loss or damage of the type insured.

                This Additional Coverage does not cover costs resulting from evacuation of any patient or
                tenant because of a medical condition(s).

                This Additional Coverage is subject to the deductible provisions that would have applied had
                the physical loss or damage happened.



Printed 28-Jun-2019                                                                                             Page 24
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-031
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 65 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                EMERGENCY VACATING EXPENSE Exclusion: As respects EMERGENCY
                VACATING EXPENSE, the following additional exclusion applies:

                This Policy excludes loss or damage directly or indirectly caused by or resulting from the
                following regardless of any other cause or event, whether or not insured under this Policy,
                contributing concurrently or in any other sequence to the loss:

                1) terrorism.

        M.      ERRORS AND OMISSIONS

                If physical loss or damage is not payable under this Policy solely due to an error or
                unintentional omission:

                1) in the description of where insured property is physically located;

                2) to include any location:

                      a) owned, leased or rented by the Insured on the effective date of this Policy; or

                      b) purchased, leased or rented by the Insured during the term of this Policy; or

                3) that results in cancellation of the property insured under this Policy;

                this Policy covers such physical loss or damage, to the extent it would have provided
                coverage had such error or unintentional omission not been made.

                It is a condition of this Additional Coverage that any error or unintentional omission be
                reported by the Insured to the Company when discovered and corrected.

        N.      EXPEDITING COSTS

                This Policy covers the reasonable and necessary costs incurred:

                1) for the temporary repair of insured physical damage to insured property;

                2) for the temporary replacement of insured equipment suffering insured physical damage;
                   and

                3) to expedite the permanent repair or replacement of such damaged property.

                This Additional Coverage does not cover costs recoverable elsewhere in this Policy,
                including the cost of permanent repair or replacement of damaged property.

        O.      INSTALLMENT OR DEFERRED PAYMENTS

                This Policy covers insured physical loss or damage to personal property of the type insured
                sold by the Insured under a conditional sale or trust agreement or any installment or deferred
                payment plan and after such property has been delivered to the buyer. Coverage is limited to
                the unpaid balance for such property.




Printed 28-Jun-2019                                                                                             Page 25
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-032
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 66 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                In the event of loss to property sold under deferred payment plans, the Insured will use all
                reasonable efforts, including legal action, if necessary, to effect collection of outstanding
                amounts due or to regain possession of the property.

                There is no liability under this Policy for loss:

                1) pertaining to products recalled including, but not limited to, the costs to recall, test or to
                   advertise such recall by the Insured.

                2) from theft or conversion by the buyer of the property after the buyer has taken
                   possession of such property.

                3) to the extent the buyer continues payments.

                4) not within the TERRITORY of this Policy.

                INSTALLMENT OR DEFERRED PAYMENTS Valuation: On property covered under this
                Additional Coverage the loss amount will not exceed the lesser of the following:

                1) total amount of unpaid installments less finance charges.

                2) actual cash value of the property at the time of loss.

                3) cost to repair or replace with material of like size, kind and quality.

        P.      LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND
                DISPOSAL

                This Policy covers the reasonable and necessary cost for the cleanup, removal and disposal
                of the actual not suspected presence of contaminant(s) from uninsured property consisting
                of land, water or any other substance in or on land at the insured location if the release,
                discharge or dispersal of such contaminant(s) is a direct result of insured physical loss or
                damage to insured property.

                This Policy does not cover the cost to cleanup, remove and dispose of contamination from
                such property:

                1) at any location insured for Personal Property only.

                2) at any property insured under AUTOMATIC COVERAGE, ERRORS AND
                   OMISSIONS or MISCELLANEOUS PROPERTY coverage provided by this Policy.

                3) when the Insured fails to give written notice of loss to the Company within 180 days
                   after inception of the loss.

        Q.      LAW AND ORDINANCE

                This Policy covers the costs as described herein resulting from the Insured’s obligation to
                comply with a law or ordinance, provided that:

                1) such law or ordinance is enforced as a direct result of insured physical loss or damage at an
                   insured location;



Printed 28-Jun-2019                                                                                             Page 26
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-033
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 67 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                2) such law or ordinance is in force at the time of such loss or damage; and

                3) such location was not required to be in compliance with such law or ordinance prior to the
                   happening of the insured physical loss or damage.

                Coverage A:

                The reasonable and necessary costs incurred by the Insured to comply with the enforcement
                of the minimum requirements of any law or ordinance that regulates the demolition,
                construction, repair, replacement or use of buildings, structures, machinery or equipment.

                As respects insured property, this Coverage A covers the reasonable and necessary costs to:

                1) demolish any physically damaged and undamaged portions of the insured buildings,
                   structures, machinery or equipment.

                2) repair or rebuild the physically damaged and undamaged portions, whether or not
                   demolition is required, of such insured buildings, structures, machinery or equipment.

                The Company’s maximum liability for this Coverage A at each insured location in any
                occurrence will not exceed the actual costs incurred in demolishing the physically damaged
                and undamaged portions of the insured property plus the lesser of:

                1) the reasonable and necessary cost, excluding the cost of land, to rebuild on another site;
                   or

                2) the cost to rebuild on the same site.

                Coverage B:

                The reasonable estimated cost to repair, replace or rebuild insured property consisting of
                buildings, structures, machinery or equipment that the Insured is legally prohibited from
                repairing, replacing or rebuilding to the same height, floor area, number of units, configuration,
                occupancy or operating capacity, because of the enforcement of any law or ordinance that
                regulates the construction, repair, replacement or use of buildings, structures, machinery or
                equipment.

                LAW AND ORDINANCE Coverage B Valuation: On property covered under this Coverage
                B that cannot legally be repaired or replaced, the loss amount will be the difference between:

                1) the actual cash value; and

                2) the cost that would have been incurred to repair, replace or rebuild such lost or damaged
                   property had such law or ordinance not been enforced at the time of loss.

                LAW AND ORDINANCE Exclusions: As respects LAW AND ORDINANCE, the
                following additional exclusions apply:

                This Policy does not cover:

                1) any cost incurred as a direct or indirect result of enforcement of any law or ordinance
                   regulating any form of contamination.



Printed 28-Jun-2019                                                                                             Page 27
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-034
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 68 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                2) any machinery or equipment manufactured by or for the Insured, unless used by the
                   Insured in its operation at the location suffering the physical loss or damage.

        R.      LOSS PAYMENT INCREASED TAX LIABILITY

                This Policy covers the increase in tax liability as described herein incurred by the Insured.

                Coverage A:

                The increase in tax liability from an insured loss at an insured location if the tax treatment
                of:

                1) the profit portion of a loss payment under this Policy involving finished stock
                   manufactured by the Insured; and/or

                2) the profit portion of a TIME ELEMENT loss payment under this Policy;

                is greater than the tax treatment of profits that would have been incurred had no loss
                happened.

        S.      MACHINERY OR EQUIPMENT STARTUP OPTION

                After insured machinery or equipment that has sustained insured physical loss or damage is
                repaired or replaced and such machinery or equipment is undergoing startup, the following
                applies:

                If physical loss or damage of the type insured directly results to such machinery or
                equipment from such startup, the Insured shall have the option of claiming such resulting
                insured damage as part of the original event of physical loss or damage or as a separate
                occurrence.

                This Additional Coverage applies only:

                1) to the first startup event after the original repair or replacement; and

                2) when the first startup event happens during the term of this Policy or its renewal issued
                   by the Company.

                For the purposes of this Additional Coverage, startup means:

                1) the introduction into machinery or equipment of feedstock or other materials for
                   processing or handling;

                2) the commencement of fuel or energy supply to machinery or equipment.

        T.      MISCELLANEOUS PROPERTY

                This Policy covers insured physical loss or damage to:

                1) insured property;

                2) property of the type insured that is under contract to be used in a construction project at
                   an insured location:


Printed 28-Jun-2019                                                                                             Page 28
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-035
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 69 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



                      a) from the time such property is delivered to the Insured or their contractor (with
                         respect to the property under construction) by the manufacturer or supplier;

                      b) while such property is located at a storage site; and

                      c) while such property is in transit from a storage site to another storage site or to a
                         construction project at an insured location,

                      that does not include any such property owned or rented by the contractor;

                while anywhere within this Policy’s TERRITORY, including while in transit.

                This Additional Coverage excludes property covered elsewhere in this Policy.

                MISCELLANEOUS PROPERTY Exclusions: As respects MISCELLANEOUS
                PROPERTY, the following additional exclusions apply:

                1) This Policy excludes:

                      a) transmission and distribution systems not at a location.

                      b) property insured under import or export ocean marine insurance.

                      c) property shipped between continents.

                      d) airborne shipments unless by regularly scheduled passenger airlines or air freight
                         carriers.

                      e) property of others, including the Insured's legal liability for it, hauled on vehicles
                         owned, leased or operated by the Insured when acting as a common or contract
                         carrier.

                 2) This Policy excludes loss or damage directly or indirectly caused by or resulting from
                    the following regardless of any other cause or event, whether or not insured under this
                    Policy, contributing concurrently or in any other sequence to the loss:

                      a) earth movement for property located in California, in the New Madrid Seismic
                         Zone or in the Pacific Northwest Seismic Zone.

        U.      OPERATIONAL TESTING

                This Policy covers insured physical loss or damage to insured property during the period of
                operational testing.

                This Additional Coverage excludes property, including stock or material, manufactured or
                processed by the Insured.

        V.      PATIENT AND TENANT RELOCATION EXPENSE

                For Penn Medicine and the University of Pennsylvania Health System only:




Printed 28-Jun-2019                                                                                             Page 29
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-036
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 70 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



                This Policy covers the reasonable and necessary costs incurred by the Insured to relocate and
                return patients, tenants and residents of an insured healthcare facility to another healthcare
                facility, within this Policy’s TERRITORY, when the insured healthcare facility is made
                uninhabitable as a direct result of insured physical loss or damage.

                This Additional Coverage also covers the following reasonable and necessary costs when
                such costs are incurred as the direct result of the relocation to another healthcare facility
                and then subsequent return to the insured healthcare facility when repairs are complete:

                1) the cost to pack and transport Personal Property associated with the patient of the
                   healthcare facility, including but not limited to swing beds and medical equipment.

                2) the cost to pack and transport personal property of the type insured belonging to patients,
                   tenants and residents.

                3) the cost to search for a healthcare facility.

                4) the costs to establish new utility services at the other healthcare facility, less refunds
                   from discontinued services of the uninhabitable insured healthcare facility.

                5) the cost to disconnect and reconnect fixtures and equipment.

                6) the cost to store personal property of the type insured belonging to patients, residents
                   and tenants until such time as the property can be moved to the insured healthcare
                   facility.

                This Additional Coverage does not cover the following:

                1) costs recoverable elsewhere in this Policy.

                2) security deposits or other payments made to the landlord or lessor of the new healthcare
                   facility.

                3) down payments, legal fees and closing costs for the purchase of new healthcare facility.

                4) loss due to the termination of a lease or other agreement.

                5) cost to replace Personal Property sent with the patient, tenant or resident to the other
                   healthcare facility which for any reason is not returned to the insured healthcare
                   facility.

        W.      PATIENT'S PERSONAL PROPERTY

                For Penn Medicine and the University of Pennsylvania Health System only:

                This Policy covers insured physical loss or damage to patient's personal property of the type
                insured not in the custody of the Insured while at an insured healthcare facility within this
                Policy’s TERRITORY.

                This Additional Coverage excludes property covered elsewhere in this Policy.




Printed 28-Jun-2019                                                                                             Page 30
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-037
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 71 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                PATIENT'S PERSONAL PROPERTY Exclusion: As respects PATIENT'S PERSONAL
                PROPERTY, the following additional exclusion applies:

                This Policy excludes:

                1) vehicles registered for highway use.

        X.      PRIZES AND GIVEAWAYS

                For Penn Medicine and the University of Pennsylvania Health System only:

                This Policy covers insured physical loss or damage to personal property of the type insured,
                including motor vehicles and watercraft, when such property is a prize or giveaway for an
                Insured's fundraising or charity event while anywhere within this Policy’s TERRITORY,
                excluding while in transit.

                This Additional Coverage excludes property covered elsewhere in this Policy.


        Y.      PROTECTION AND PRESERVATION OF PROPERTY

                This Policy covers:

                1) reasonable and necessary costs incurred for actions to temporarily protect or preserve
                   insured property; provided such actions are necessary due to actual, or to prevent
                   immediately impending, insured physical loss or damage to such insured property.

                2) reasonable and necessary:

                      a) fire department firefighting charges imposed as a result of responding to a fire in, on
                         or exposing the insured property.

                      b) costs incurred of restoring and recharging fire protection systems following an
                         insured loss.

                      c) costs incurred for the water used for fighting a fire in, on or exposing the insured
                         property.

                This Additional Coverage does not cover costs incurred for actions to temporarily protect or
                preserve insured property from actual, or to prevent immediately impending, physical loss or
                damage covered by TERRORISM coverage as provided in this section of the Policy.

                This Additional Coverage is subject to the deductible provisions that would have applied had
                the physical loss or damage happened.

        Z.      SERVICE INTERRUPTION PROPERTY DAMAGE

                This Policy covers insured physical loss or damage to insured property at an insured location
                when such physical loss or damage results from the interruption of incoming services
                consisting of electricity, gas, fuel, steam, water, refrigeration or from the lack of outgoing
                sewerage service by reason of any accidental event at the facilities of the supplier of such
                service located within this Policy’s TERRITORY, that immediately prevents in whole or in
                part the delivery of such usable service.


Printed 28-Jun-2019                                                                                             Page 31
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-038
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 72 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



                This Additional Coverage will apply when the period of service interruption as described
                below is in excess of 24 hours.

                The period of service interruption is the period starting with the time when an interruption of
                specified services happens; and ending when with due diligence and dispatch the service
                could be wholly restored.

                Additional General Provisions:

                1) The Insured will immediately notify the suppliers of services of any interruption of such
                   services.

                2) The Company will not be liable if the interruption of such services is caused directly or
                   indirectly by the failure of the Insured to comply with the terms and conditions of any
                   contracts the Insured has for the supply of such specified services.

                SERVICE INTERRUPTION PROPERTY DAMAGE Exclusions: As respects SERVICE
                INTERRUPTION PROPERTY DAMAGE, the following applies:

                1) The exclusions in the EXCLUSIONS clause in this section do not apply except for:

                      a) A1, A2, A3, A6, B1, B2, and

                      b) B4 with respect to incoming or outgoing voice, data or video, and

                      c) D1 except with respect to fungus, mold or mildew.

                2) The following additional exclusions apply:

                      This Policy excludes loss or damage directly or indirectly caused by or resulting from
                      the following regardless of any other cause or event, whether or not insured under this
                      Policy, contributing concurrently or in any other sequence to the loss:

                      a) earth movement for property located in California, in the New Madrid Seismic
                         Zone or in the Pacific Northwest Seismic Zone.

                      b) terrorism.

        AA. TEMPORARY REMOVAL OF PROPERTY

                When insured property is removed from an insured location for the purpose of being
                repaired or serviced or in order to avoid threatened physical loss or damage of the type
                insured by this Policy, this Policy covers such property:

                1) while at the premises to which such property has been moved; and

                2) for physical loss or damage as provided at the insured location from which such
                   property was removed.

                This Additional Coverage does not apply to property:

                1) insured, in whole or in part, elsewhere in this Policy.


Printed 28-Jun-2019                                                                                             Page 32
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-039
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 73 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



                2) insured, in whole or in part, by any other insurance policy.

                3) removed for normal storage, processing or preparation for sale or delivery.

        BB. TERRORISM

                This Policy covers physical loss or damage to property as described in the INSURANCE
                PROVIDED provision caused by or resulting from terrorism.

                Any act which satisfies the definition of terrorism shall not be considered to be vandalism,
                malicious mischief, riot, civil commotion, or any other risk of physical loss or damage
                covered elsewhere in this Policy.

                Amounts recoverable under this Additional Coverage are excluded from coverage elsewhere
                in this Policy.

                This Additional Coverage does not cover loss or damage which also comes within the terms
                of either item B2a or B2c of the EXCLUSIONS clause in this section of the Policy.

                This Additional Coverage does not in any event cover loss or damage directly or indirectly
                caused by or resulting from any of the following, regardless of any other cause or event,
                whether or not insured under this Policy contributing concurrently or in any other sequence
                to the loss:

                1) that involves the use, release or escape of nuclear materials, or that directly or indirectly
                   results in nuclear reaction or radiation or radioactive contamination or that involves the
                   discharge, explosion or use of any nuclear device, weapon or material employing or
                   involving nuclear fission, fusion, or radioactive force, whether in time of peace or war
                   and regardless of who commits the act; or

                2) that is carried out by means of the dispersal or application of pathogenic or poisonous
                   biological or chemical materials; or

                3) in which pathogenic or poisonous biological or chemical materials are released, and it
                   appears that one purpose of the terrorism was to release such materials; or

                4) that involves action taken to prevent, defend against, respond to or retaliate against
                   terrorism or suspected terrorism.

        CC. TRANSPORTATION

                This Policy covers the following personal property, except as excluded by this Policy, while
                in transit within the TERRITORY of this Policy:

                1) owned by the Insured.

                2) shipped to customers under F.O.B., C & F or similar terms. The Insured’s contingent
                   interest in such shipments is admitted.

                3) of others in the actual or constructive custody of the Insured to the extent of the
                   Insured’s interest or legal liability.



Printed 28-Jun-2019                                                                                             Page 33
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-040
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 74 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                4) of others sold by the Insured, that the Insured has agreed prior to the loss to insure
                   during course of delivery including:

                      a) when shipped by the Insured’s direct contract service provider or by the Insured’s
                         direct contract manufacturer to the Insured or to the Insured’s customer.

                      b) when shipped by the Insured’s customer to the Insured or to the Insured’s contract
                         service provider or to the Insured’s contract manufacturer.

                Coverage Attachment and Duration:

                1) This Additional Coverage covers from the time the property leaves the original point of
                   shipment for transit until the property arrives at the destination.

                2) However, coverage on export shipments not insured under ocean cargo policies ends
                   when the property is loaded on board overseas vessels or aircraft. Coverage on import
                   shipments not insured under ocean cargo policies begins after discharge from overseas
                   vessels or aircraft.

                This Additional Coverage:

                1) covers general average and salvage charges on shipments covered while waterborne.

                2) insures physical loss or damage caused by or resulting from:

                      a) unintentional acceptance of fraudulent bills of lading, shipping or messenger
                         receipts.

                      b) improper parties having gained possession of property through fraud or deceit.

                Additional General Provisions:

                1) This Additional Coverage will not inure directly or indirectly to the benefit of any carrier
                   or bailee.

                2) The Insured has permission, without prejudicing this insurance, to accept:

                      a) ordinary bills of lading used by carriers;

                      b) released bills of lading;

                      c) undervalued bills of lading; and

                      d) shipping or messenger receipts.

                3) The Insured may waive subrogation against railroads under side track agreements.

                Except as otherwise stated, the Insured will not enter into any special agreement with carriers
                releasing them from their common law or statutory liability.

                TRANSPORTATION Exclusions: As respects TRANSPORTATION, the following applies:




Printed 28-Jun-2019                                                                                             Page 34
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-041
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 75 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                1) the exclusions in the EXCLUSIONS clause of this section do not apply except for A1
                   through A4, B1 through B4, C1, C3, C5, C6, D1 through D3.

                2) the following additional exclusions apply:

                      This Policy excludes:

                      a) samples in the custody of salespeople or selling agents.

                      b) property insured under import or export ocean marine insurance.

                      c) waterborne shipments, unless:

                           (i) by inland water; or

                           (ii) by coastal shipments.

                      d) waterborne shipments via Panama Canal or to and from Alaska, the Commonwealth
                         of Puerto Rico, and Hawaii.

                      e) airborne shipments unless by regularly scheduled passenger airlines or air freight
                         carriers.

                      f) property of others, including the Insured’s legal liability for it, hauled on vehicles
                         owned, leased or operated by the Insured when acting as a common or contract
                         carrier.

                      g) any transporting vehicle.

                TRANSPORTATION Valuation: On property covered under this Additional Coverage the
                loss amount will not exceed:

                1) Property shipped to or for the account of the Insured will be valued at actual invoice to
                   the Insured. Included in the value are accrued costs and charges legally due. Charges
                   may include the Insured’s commission as selling agent.

                2) Property sold by the Insured and shipped to or for the purchaser’s account will be valued
                   at the Insured’s selling invoice amount. Prepaid or advanced freight costs are included.

                3) Property not under invoice will be valued:

                      a) for property of the Insured, at the valuation provisions of this Policy applying at the
                         place from which the property is being transported; or

                      b) for other property, at the actual cash market value at the destination point on the date
                         of loss,

                      less any charges saved which would have become due and payable upon arrival at
                      destination.




Printed 28-Jun-2019                                                                                             Page 35
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-042
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 76 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


        DD. VALUABLE PAPERS AND RECORDS

                This Policy covers insured physical loss or damage to valuable papers and records while
                anywhere within this Policy’s TERRITORY, including while in transit.

                VALUABLE PAPERS AND RECORDS Exclusions: As respects VALUABLE PAPERS
                AND RECORDS, the following applies:

                1) the exclusions in the EXCLUSIONS clause of this section do not apply except for A1,
                   A2, A6, A7, B1, B2, B3a and B4.

                2) the following additional exclusions apply:

                      This Policy excludes:

                      a) currency, money, securities.

                      b) errors or omissions in processing or copying of valuable papers and records, but, if
                         physical damage not excluded by this Policy results, then only that resulting damage
                         is insured.

                      c) deterioration, inherent vice, or wear and tear, but, if physical damage not excluded
                         by this Policy results, then only that resulting damage is insured.

                      d) fungus, mold or mildew unless directly resulting from other physical damage not
                         excluded by this Policy.

                VALUABLE PAPERS AND RECORDS Valuation: On property covered under this
                Additional Coverage the loss amount will not exceed the lesser of the following:

                1) the cost to repair or restore such property to the physical condition that existed on the
                   date of loss.

                2) the cost to replace.

                3) the value, if any, designated for the item on the schedule on file with the Company.




Printed 28-Jun-2019                                                                                             Page 36
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-043
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 77 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                                                      TIME ELEMENT

        TIME ELEMENT loss as provided in the TIME ELEMENT COVERAGES and TIME ELEMENT
        COVERAGE EXTENSIONS of this section of the Policy:

        A.      is subject to the applicable limit of liability that applies to the insured physical loss or
                damage but in no event for more than any limit of liability that is stated as applying to the
                specific TIME ELEMENT COVERAGE and/or TIME ELEMENT COVERAGE
                EXTENSION; and

        B.      will not increase the Policy limit of liability; and

        C.      is subject to the Policy provisions, including applicable exclusions and deductibles,

        all as shown in this section and elsewhere in this Policy.

1.      LOSS INSURED

        A.      This Policy insures TIME ELEMENT loss, as provided in the TIME ELEMENT
                COVERAGES, directly resulting from physical loss or damage of the type insured:

                1) to property described elsewhere in this Policy and not otherwise excluded by this Policy
                   or otherwise limited in the TIME ELEMENT COVERAGES below;

                2) used by the Insured, or for which the Insured has contracted use;

                3) while located as described in the INSURANCE PROVIDED provision or within 1,000
                   feet/300 metres thereof, or as described in the TEMPORARY REMOVAL OF
                   PROPERTY provision; or

                4) while in transit as provided by this Policy, and

                5) during the Periods of Liability described in this section,

                provided such loss or damage is not at a contingent time element location.

        B.      This Policy insures TIME ELEMENT loss only to the extent it cannot be reduced through:

                1) the use of any property or service owned or controlled by the Insured;

                2) the use of any property or service obtainable from other sources;

                3) working extra time or overtime; or

                4) the use of inventory,

                all whether at an insured location or at any other premises. The Company reserves the right
                to take into consideration the combined operating results of all associated, affiliated or
                subsidiary companies of the Insured in determining the TIME ELEMENT loss.

        C.      This Policy covers expenses reasonably and necessarily incurred by the Insured to reduce the
                loss otherwise payable under this section of this Policy. The amount of such recoverable
                expenses will not exceed the amount by which the loss has been reduced.


Printed 28-Jun-2019                                                                                             Page 37
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-044
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 78 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



        D.      In determining the amount of loss payable, the Company will consider the experience of the
                business before and after and the probable experience during the PERIOD OF LIABILITY.
                The probable experience will consider any increase or decrease in demand for the Insured’s
                goods or services during the PERIOD OF LIABILITY, even if such increase or decrease is
                from the same event that caused physical loss or damage starting the PERIOD OF
                LIABILITY.

2.      TIME ELEMENT COVERAGES

        A.      INSURED OPTION

                The Insured has the option to make claim based on either

                a) GROSS EARNINGS and EXTENDED PERIOD OF LIABILITY; or

                b) GROSS PROFIT,

                as described in the TIME ELEMENT section of this Policy and subject to the applicable
                terms and conditions as may be shown elsewhere.

                Such option may be exercised at any time prior to the conditions set forth in the
                SETTLEMENT OF CLAIMS clause in the LOSS ADJUSTMENT AND SETTLEMENT
                section of this Policy.

                If such claim involves more than one insured location, including interdependency at one or
                more insured locations, such claim will be adjusted by using the single coverage option
                chosen above.

        B.      GROSS EARNINGS

                Measurement of Loss:

                1) The recoverable GROSS EARNINGS loss is the Actual Loss Sustained by the Insured
                   of the following during the PERIOD OF LIABILITY:

                      a) Gross Earnings;

                      b) less all charges and expenses that do not necessarily continue during the interruption
                         of production or suspension of business operations or services;

                      c) plus all other earnings derived from the operation of the business.

                2) For the purposes of the Measurement of Loss, Gross Earnings is:

                      for manufacturing operations: the net sales value of production less the cost of all raw
                      stock, materials and supplies used in such production; or

                      for mercantile or non-manufacturing operations: the total net sales less cost of
                      merchandise sold, materials and supplies consumed in the operations or services
                      rendered by the Insured.




Printed 28-Jun-2019                                                                                             Page 38
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-045
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 79 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                      Any amount recovered under property damage coverage at selling price will be
                      considered to have been sold to the Insured’s regular customers and will be credited
                      against net sales.

                3) In determining the indemnity payable as the Actual Loss Sustained, the Company will
                   consider the continuation of only those normal charges and expenses that would have
                   been earned had there been no interruption of production or suspension of business
                   operations or services.

                4) There is recovery hereunder to the extent that the Insured is:

                      a) wholly or partially prevented from producing goods or continuing business
                         operations or services;

                      b) unable to make up lost production within a reasonable period of time, not limited to
                         the period during which production is interrupted;

                      c) unable to continue such operations or services during the PERIOD OF LIABILITY;
                         and

                      d) able to demonstrate a loss of sales for the operations, services or production
                         prevented.

        C.      GROSS PROFIT

                Measurement of Loss:

                1) The recoverable GROSS PROFIT loss is the Actual Loss Sustained by the Insured of the
                   following due to the necessary interruption of business during the PERIOD OF
                   LIABILITY: a) Reduction in Sales and b) Increase in Cost of Doing Business. The
                   amount payable as indemnity hereunder will be:

                      a) with respect to Reduction in Sales: The sum produced by applying the Rate of Gross
                         Profit to the amount by which the sales during the PERIOD OF LIABILITY will fall
                         short of the Standard Sales. In determining the Reduction in Sales, any amount
                         recovered under property damage coverage at selling price will be credited against
                         lost sales.

                      b) with respect to Increase in Cost of Doing Business:

                           (i) the additional expenditure necessarily and reasonably incurred for the sole
                               purpose of avoiding or diminishing the reduction in sales which, but for that
                               expenditure, would have taken place during the PERIOD OF LIABILITY; but

                           (ii) not exceeding the sum produced by applying the Rate of Gross Profit to the
                                amount of the reduction thereby avoided,

                      all less any sum saved during the PERIOD OF LIABILITY with respect to such of the
                      Insured Fixed Charges as may cease or be reduced because of such interruption of
                      business.

                2) For the purposes of the Measurement of Loss:



Printed 28-Jun-2019                                                                                             Page 39
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-046
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 80 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                      Gross Profit is:

                      The amount produced by adding to the Net Profit the amount of the Insured Fixed
                      Charges, or if there be no Net Profit the amount of the Insured Fixed Charges less that
                      proportion of any loss from business operations as the amount of the Insured Fixed
                      Charges bears to all fixed charges.

                      Net Profit is:

                      The net operating profit (exclusive of all capital receipts and accruals and all outlay
                      properly chargeable to capital) resulting from the business of the Insured at the insured
                      locations after due provision has been made for all fixed charges and other expenses
                      including depreciation but before the deduction of any taxes on profits.

                      Insured Fixed Charges is:

                      All fixed charges unless specifically excluded herein.

                      Sales is:

                      The money paid or payable to the Insured for goods sold and delivered and for services
                      rendered in the conduct of the business at an insured location.

                      Rate of Gross Profit is:

                      The rate of Gross Profit earned on the sales during the twelve full calendar months
                      immediately before the date of the physical loss or damage to the described property.

                      Standard Sales is:

                      The sales during that period in the twelve months immediately before the date of the
                      physical loss or damage to the described property which corresponds with the PERIOD
                      OF LIABILITY.

                3) In determining the indemnity payable as the Actual Loss Sustained:

                      a) if any fixed charges of the business are not insured hereunder, then, in computing the
                         amount recoverable hereunder as Increase in Cost of Doing Business, that proportion
                         only of the additional expenditure will be recoverable hereunder which the sum of
                         the Net Profit and the Insured Fixed Charges bears to the sum of the Net Profit and
                         all the fixed charges.

                      b) if during the PERIOD OF LIABILITY goods will be sold or services will be
                         rendered elsewhere than at the insured locations for the benefit of the business,
                         either by the Insured or by others on the Insured’s behalf, the money paid or payable
                         in respect of such sales or services will be included in arriving at the amount of sales
                         during the PERIOD OF LIABILITY.

                4) The Insured will act with due diligence and dispatch in repairing or replacing physically
                   damaged buildings and equipment to the same or equivalent physical and operating
                   conditions that existed prior to the damage; and take whatever actions are necessary and
                   reasonable to minimize the loss payable hereunder.



Printed 28-Jun-2019                                                                                             Page 40
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-047
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 81 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                GROSS PROFIT Exclusions: As respects GROSS PROFIT, the TIME ELEMENT
                EXCLUSIONS B and C of this section do not apply and the following applies instead:

                This Policy does not insure against any increase in loss due to damages for breach of
                contract or for late or noncompletion of orders, or fines or penalties of any nature except
                fines or penalties for breach of contract or for late or noncompletion of orders.

                Coverage under GROSS PROFIT for the reduction in sales due to contract cancellation will
                include only those sales that would have been earned under the contract during the PERIOD
                OF LIABILITY.

        D.      EXTRA EXPENSE

                Measurement of Loss:

                The recoverable EXTRA EXPENSE loss will be the reasonable and necessary extra costs
                incurred by the Insured of the following during the PERIOD OF LIABILITY:

                1) extra expenses to temporarily continue as nearly normal as practicable the conduct of
                   the Insured’s business;

                2) extra costs of temporarily using property or facilities of the Insured or others; and

                3) costs to purchase finished goods from third parties to fulfill orders when such orders
                   cannot be met due to physical loss or damage to the Insured’s finished goods, less
                   payment received for the sale of such finished goods.

                less any value remaining at the end of the PERIOD OF LIABILITY for property obtained in
                connection with the above.

                If the Insured makes claim in accordance with the terms and conditions of the INSURED
                OPTION clause, the PERIOD OF LIABILITY for EXTRA EXPENSE coverage will be the
                PERIOD OF LIABILITY applicable to the Time Element coverage option selected.

                EXTRA EXPENSE Exclusions: As respects EXTRA EXPENSE, the following applies:

                1) TIME ELEMENT EXCLUSIONS C does not apply to item 3 above.

                2) The following additional exclusions apply:

                      This Policy does not insure:

                      a) any loss of income.

                      b) costs that usually would have been incurred in conducting the business during the
                         same period had no physical loss or damage happened.

                      c) costs of permanent repair or replacement of property that has been damaged or
                         destroyed. However, this exclusion does not apply to item 3 above.

                      d) any expense recoverable elsewhere in this Policy.




Printed 28-Jun-2019                                                                                             Page 41
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-048
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 82 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


        E.      LEASEHOLD INTEREST

                Measurement of Loss:

                The recoverable LEASEHOLD INTEREST incurred by the Insured of the following:

                1) If the lease agreement requires continuation of rent; and if the property is wholly
                   untenantable or unusable, the actual rent payable for the unexpired term of the lease; or
                   if the property is partially untenantable or unusable, the proportion of the rent payable
                   for the unexpired term of the lease.

                2) If the lease is cancelled by the lessor pursuant to the lease agreement or by the operation
                   of law; the Lease Interest for the first three months following the loss; and the Net Lease
                   Interest for the remaining unexpired term of the lease.

                3) As used above, the following terms mean:

                      Net Lease Interest:
                      That sum which placed at 6% interest rate compounded annually would equal the Lease
                      Interest (less any amounts otherwise payable hereunder).

                      Lease Interest:
                      The excess rent paid for the same or similar replacement property over actual rent
                      payable plus cash bonuses or advance rent paid (including maintenance or operating
                      charges) for each month during the unexpired term of the Insured’s lease.

                LEASEHOLD INTEREST Exclusions: As respects LEASEHOLD INTEREST, the
                following applies:

                1) This Policy does not insure loss directly resulting from physical loss or damage to
                   Personal Property.

                2) TIME ELEMENT EXCLUSIONS A, B and C do not apply and the following applies
                   instead:

                      This Policy does not insure any increase in loss resulting from the suspension, lapse or
                      cancellation of any license, or from the Insured exercising an option to cancel the lease;
                      or from any act or omission of the Insured that constitutes a default under the lease.

        F.      RENTAL INSURANCE

                Measurement of Loss:

                The recoverable RENTAL INSURANCE loss is the Actual Loss Sustained by the Insured of
                the following during the PERIOD OF LIABILITY:

                1) the fair rental value of any portion of the property occupied by the Insured;

                2) the income reasonably expected from rentals of unoccupied or unrented portions of such
                   property; and

                3) the rental income from the rented portions of such property according to bona fide
                   leases, contracts or agreements in force at the time of loss,


Printed 28-Jun-2019                                                                                             Page 42
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-049
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 83 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



                all not to include noncontinuing charges and expenses.

                RENTAL INSURANCE Exclusions: As respects RENTAL INSURANCE, TIME
                ELEMENT EXCLUSIONS A does not apply and the following applies instead:

                This Policy does not insure any loss of rental income during any period in which the insured
                property would not have been tenantable for any reason other than an insured loss.

3.      PERIOD OF LIABILITY

        A.      The PERIOD OF LIABILITY applying to all TIME ELEMENT COVERAGES, except
                GROSS PROFIT and LEASEHOLD INTEREST and as shown below or if otherwise
                provided under any TIME ELEMENT COVERAGE EXTENSION, and subject to any Time
                Limit provided in the LIMITS OF LIABILITY clause in the DECLARATIONS section, is as
                follows:

                1) For building and equipment, the period:

                      a) starting from the time of physical loss or damage of the type insured; and

                      b) ending when with due diligence and dispatch the building and equipment could be:

                           (i) repaired or replaced; and

                           (ii) made ready for operations,

                           under the same or equivalent physical and operating conditions that existed prior to
                           the damage.

                      c) not to be limited by the expiration of this Policy.

                2) For building and equipment under construction:

                      a) the equivalent of the above period of time will be applied to the level of business that
                         would have been reasonably achieved after construction and startup would have
                         been completed had no physical damage happened; and

                      b) due consideration will be given to the actual experience of the business compiled
                         after completion of the construction and startup.

                3) For stock-in-process and mercantile stock, including finished goods not manufactured by
                   the Insured, the time required with the exercise of due diligence and dispatch:

                      a) to restore stock in process to the same state of manufacture in which it stood at the
                         inception of the interruption of production or suspension of business operations or
                         services; and

                      b) to replace physically damaged mercantile stock.

                      This item does not apply to RENTAL INSURANCE.

                4) For raw materials and supplies, the period of time:


Printed 28-Jun-2019                                                                                             Page 43
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-050
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 84 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



                      a) of actual interruption of production or suspension of operations or services resulting
                         from the inability to get suitable raw materials and supplies to replace similar ones
                         damaged; but

                      b) limited to that period for which the damaged raw materials and supplies would have
                         supplied operating needs.

                5) If water:

                      a) used for any manufacturing purpose, including but not limited to as a raw material or
                         for power;

                      b) stored behind dams or in reservoirs; and

                      c) on any insured location,

                      is released as the result of physical damage of the type insured to such dam, reservoir or
                      connected equipment, the Company’s liability for the actual interruption of production
                      or suspension of operations or services due to inadequate water supply will not extend
                      beyond 30 consecutive days after the damaged dam, reservoir or connected equipment
                      has been repaired or replaced.

                      This item does not apply to RENTAL INSURANCE.

                6) For physically damaged exposed films, records, manuscripts and drawings, the time
                   required to copy from backups or from originals of a previous generation. This time
                   does not include research, engineering or any other time necessary to restore or recreate
                   lost information.

                      This item does not apply to RENTAL INSURANCE.

                7) For physically damaged or destroyed property covered under DATA RESTORATION,
                   the period:

                      a) starting from the time of physical loss or damage to electronic data, programs or
                         software; and

                      b) ending when with due diligence and dispatch the electronic data, programs or
                         software could have been recreated or restored under the same or equivalent physical
                         and operating conditions that existed prior to the physical loss or damage.

                      This item does not apply to RENTAL INSURANCE.

        B.      The PERIOD OF LIABILITY applying to GROSS PROFIT is as follows:

                1) The period:

                      a) starting from the time of physical loss or damage of the type insured; and

                      b) ending not later than the period of time shown in the LIMITS OF LIABILITY clause
                         of the DECLARATIONS section,



Printed 28-Jun-2019                                                                                             Page 44
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-051
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 85 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                      during which period the results of the business shall be directly affected by such
                      damage.

                      c) not to be limited by the expiration of this Policy.

                2) For property under construction, the period:

                      a) starting on the date that production, business operation or service would have
                         commenced if physical damage of the type insured had not happened; and

                      b) ending not later than the period of time shown in the LIMITS OF LIABILITY clause
                         of the DECLARATIONS section,

                      during which period the results of the business shall be directly affected by such
                      damage.

                      c) not to be limited by the expiration of this Policy.

                      The Rate of Gross Profit and Standard Sales will be based on the experience of the
                      business after construction is completed and the probable experience during the
                      PERIOD OF LIABILITY.

        C.      The PERIOD OF LIABILITY does not include any additional time due to the Insured’s
                inability to resume operations for any reason, including but not limited to:

                1) making changes to the buildings, structures, machinery or equipment except as provided
                   in the LAW AND ORDINANCE clause in the PROPERTY DAMAGE section.

                2) restaffing or retraining employees. However, this item does not apply to additional time
                   needed to train staff to use new machinery or equipment that replaces machinery or
                   equipment that suffered insured physical loss or damage, provided such training is
                   completed within 90 consecutive days after the new machinery or equipment has been
                   installed.

                If two or more Periods of Liability apply such periods will not be cumulative.

4.      TIME ELEMENT EXCLUSIONS

        In addition to the exclusions elsewhere in this Policy, the following exclusions apply to TIME
        ELEMENT loss:

        This Policy does not insure:

        A.      Any loss during any idle period, including but not limited to when production, operation,
                service or delivery or receipt of goods would cease, or would not have taken place or would
                have been prevented due to:

                1) physical loss or damage not insured by this Policy on or off of the insured location.

                2) planned or rescheduled shutdown.

                3) strikes or other work stoppage.



Printed 28-Jun-2019                                                                                             Page 45
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-052
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 86 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                4) any other reason other than physical loss or damage insured under this Policy.

        B.      Any increase in loss due to:

                1) suspension, cancellation or lapse of any lease, contract, license or orders.

                2) damages for breach of contract or for late or noncompletion of orders.

                3) fines or penalties of any nature except fines or penalties for breach of contract or for late
                   or noncompletion of orders.

                4) any other consequential or remote loss.

        C.      Any loss resulting from physical loss or damage to finished goods manufactured by the
                Insured, or the time required for their reproduction.

        D.      Any loss resulting from the actual cash value portion of direct physical loss or damage by
                fire caused by or resulting from terrorism.

5.      TIME ELEMENT COVERAGE EXTENSIONS

        This Policy also insures TIME ELEMENT loss, as provided by the TIME ELEMENT
        COVERAGES of this Policy, for the TIME ELEMENT COVERAGE EXTENSIONS described
        below.

        CYBER TIME ELEMENT COVERAGE EXTENSIONS

        A.      DATA SERVICE PROVIDER TIME ELEMENT

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the period of interruption at an insured location of off-premises data
                processing or data transmission services, when the interruption is caused by any accidental
                event at the facilities of the provider of such services that immediately prevents in whole or
                in part the delivery of such provided services.

                For the purposes of this Extension:

                1) facilities of the provider of off-premises data processing or data transmission
                   services can be located worldwide except in Cuba, Iran, North Korea, Sudan, Syria or
                   Crimea Region of Ukraine, and

                2) an accidental event to satellites will be considered an accidental event at the facilities of
                   the provider.

                This Extension will apply when the period of interruption of off-premises data processing
                or data transmission services is in excess of 24 hours.

                Additional General Provisions:

                1) The Insured will immediately notify the company providing off-premises data
                   processing or data transmission services of any interruption of such services.




Printed 28-Jun-2019                                                                                             Page 46
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-053
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 87 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                2) The Company will not be liable if the interruption of such services is caused directly or
                   indirectly by the failure of the Insured to comply with the terms and conditions of any
                   contracts the Insured has entered into for such specified services.

                Coverage provided in this Extension is excluded from coverage elsewhere in this Policy.

                This Extension does not cover Actual Loss Sustained and EXTRA EXPENSE incurred by
                the Insured covered by OWNED NETWORK INTERRUPTION coverage as provided in this
                section of the Policy.

                DATA SERVICE PROVIDER TIME ELEMENT Exclusions: As respects DATA SERVICE
                PROVIDER TIME ELEMENT, the following applies:

                1) Item B4 of the EXCLUSIONS clause in the PROPERTY DAMAGE section does not
                   apply except for B4 with respect to:

                      a) incoming electricity, fuel, water, gas, steam or refrigerant; and

                      b) outgoing sewerage.

                2) The following additional exclusions apply:

                      This Policy excludes loss or damage directly or indirectly caused by or resulting from
                      the following regardless of any other cause or event, whether or not insured under this
                      Policy, contributing concurrently or in any other sequence to the loss:

                      a) earth movement for property located in California, in the New Madrid Seismic
                         Zone or in the Pacific Northwest Seismic Zone.

                      b) terrorism.

                As used above, the period of interruption of off-premises data processing or data
                transmission services:

                1) is the period starting with the time when an interruption of provided services happens;
                   and ending when with due diligence and dispatch the service could be wholly restored
                   and the location receiving the service could or would have resumed normal operations
                   following the restorations of service under the same or equivalent physical and operating
                   conditions as provided by the PERIOD OF LIABILITY clause in this section.

                2) is limited to only those hours during which the Insured would or could have used
                   service(s) if it had been available.

                3) does not extend to include the interruption of operations caused by any reason other than
                   interruption of the provided service(s).

        B.      OWNED NETWORK INTERRUPTION

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the period of interruption directly resulting from:




Printed 28-Jun-2019                                                                                             Page 47
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-054
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 88 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                1) the failure of the Insured’s electronic data processing equipment or media to operate,
                   provided that such failure is the direct result of a cyber event directed at the NAMED
                   INSURED; or

                2) the Insured’s reasonable action to temporarily protect the Insured’s electronic data
                   processing equipment or media against an actual or immediately impending cyber
                   event directed at the NAMED INSURED, provided such action is necessary to prevent
                   failure of the Insured’s electronic data processing equipment or media to operate.

                For the purposes of this Extension, the Insured’s electronic data processing equipment or
                media can be located worldwide except in Cuba, Iran, North Korea, Sudan, Syria or Crimea
                Region of Ukraine.

                As respects item 1 above, this Extension will apply when the period of interruption is in
                excess of 48 hours.

                As used above, the period of interruption:

                1) is the period starting when the Insured’s electronic data processing equipment or
                   media fails to operate and ending when with due diligence and dispatch, the Insured’s
                   electronic data processing equipment or media could be restored to the same or
                   equivalent operating condition that existed prior to the failure.

                2) does not include the additional time to make changes to the Insured’s electronic data
                   processing equipment or media.

        SUPPLY CHAIN TIME ELEMENT COVERAGE EXTENSIONS

        A.      CIVIL OR MILITARY AUTHORITY

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the PERIOD OF LIABILITY if an order of civil or military authority limits,
                restricts or prohibits partial or total access to an insured location provided such order is the
                direct result of physical damage of the type insured at the insured location or within five
                statute miles/eight kilometres of it.

                This Extension does not apply to LEASEHOLD INTEREST.

                The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                be:

                The period of time:

                1) starting at the time of such physical damage; and

                2) ending not later than the number of consecutive days shown in the LIMITS OF
                   LIABILITY clause in the DECLARATIONS section,

                this period of time is part of and not in addition to any PERIOD OF LIABILITY applying to
                any coverage provided in the TIME ELEMENT section.




Printed 28-Jun-2019                                                                                             Page 48
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-055
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 89 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


        B.      CONTINGENT TIME ELEMENT EXTENDED

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the PERIOD OF LIABILITY directly resulting from physical loss or damage
                of the type insured to property of the type insured at contingent time element locations
                located within the TERRITORY of this Policy.

                As respects CONTINGENT TIME ELEMENT EXTENDED:

                1) Time Element loss recoverable under this Extension is extended to include the following
                   TIME ELEMENT COVERAGE EXTENSIONS:

                      CIVIL OR MILITARY AUTHORITY
                      CONTINGENT TIME ELEMENT EXTENDED
                      DATA SERVICE PROVIDER TIME ELEMENT
                      DELAY IN STARTUP
                      EXTENDED PERIOD OF LIABILITY
                      INGRESS/EGRESS
                      ON PREMISES SERVICES
                      SERVICE INTERRUPTION TIME ELEMENT

                2) The Insured will influence and cooperate with the contingent time element location in
                   every way and take any reasonable and necessary action to mitigate the loss payable
                   hereunder.

                3) TIME ELEMENT EXCLUSIONS C does not apply.

                CONTINGENT TIME ELEMENT EXTENDED Exclusions: As respects CONTINGENT
                TIME ELEMENT EXTENDED, the following additional exclusions apply:

                This Policy does not insure loss resulting from:

                1) lack of incoming or outgoing transmission of voice, data or video.

                2) earth movement as respects a direct or indirect customer, supplier, contract
                   manufacturer or contract service provider located in California, in the New Madrid
                   Seismic Zone or in the Pacific Northwest Seismic Zone.

                3) physical loss or damage caused by or resulting from terrorism, regardless of any other
                   cause or event, whether or not insured under this Policy, contributing concurrently or in
                   any other sequence of loss.

        C.      INGRESS/EGRESS

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the PERIOD OF LIABILITY due to the necessary interruption of the
                Insured’s business due to partial or total physical prevention of ingress to or egress from an
                insured location, whether or not the premises or property of the Insured is damaged,
                provided that such prevention is a direct result of physical damage of the type insured to
                property of the type insured.

                INGRESS/EGRESS Exclusions: As respects INGRESS/EGRESS, the following additional
                exclusions apply:


Printed 28-Jun-2019                                                                                             Page 49
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-056
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 90 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



                This Policy does not insure loss resulting from:

                1) lack of incoming or outgoing service consisting of electric, fuel, gas, water, steam,
                   refrigerant, sewerage and voice, data or video.

                2) picketing or other action by strikers except for physical damage not excluded by this
                   Policy.

                3) physical loss or damage caused by or resulting from terrorism, regardless of any other
                   cause or event, whether or not insured under this Policy, contributing concurrently or in
                   any other sequence to the loss.

                The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                be:

                The period of time:

                1) starting at the time of such physical damage; and

                2) ending not later than the number of consecutive days shown in the LIMITS OF
                   LIABILITY clause in the DECLARATIONS section,

                this period of time is part of and not in addition to any PERIOD OF LIABILITY applying to
                any coverage provided in the TIME ELEMENT section.

        D.      LOGISTICS EXTRA COST

                This Policy covers the extra cost incurred by the Insured during the PERIOD OF
                LIABILITY due to the disruption of the normal movement of goods or materials:

                1) directly between insured locations; or

                2) directly between an insured location and a location of a direct customer, supplier,
                   contract manufacturer or contract service provider to the Insured,

                provided that such disruption is a direct result of physical loss or damage of the type insured
                to property of the type insured located within the TERRITORY of this Policy.

                Measurement of Loss:

                The recoverable extra cost loss will be the reasonable and necessary extra costs incurred by
                the Insured of the following:

                1) extra costs to temporarily continue as nearly normal as practicable the movement of
                   goods or materials.

                This Extension will apply when the PERIOD OF LIABILITY is in excess of 48 hours except
                168 hours applies for earth movement and/or flood and/or wind.

                LOGISTICS EXTRA COST Exclusions: As respects LOGISTICS EXTRA COST, the
                following additional exclusions apply:



Printed 28-Jun-2019                                                                                             Page 50
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-057
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 91 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                This Policy does not insure:

                1) any loss resulting from disruption in the movement of goods or materials between
                   contingent time element locations.

                2) any loss resulting from disruption of incoming or outgoing services consisting of
                   electricity, gas, fuel, steam, water, refrigeration, sewerage and voice, data or video.

                3) any loss of income.

                4) costs that usually would have been incurred in conducting the business during the same
                   period had there been no disruption of normal movement of goods or materials.

                5) costs of permanent repair or replacement of property that has been damaged or
                   destroyed.

                6) any expense recoverable elsewhere in this Policy.

                7) any loss resulting from disruption caused by or resulting from terrorism, regardless of
                   any other cause or event, whether or not insured under this Policy, contributing
                   concurrently or in any other sequence to the loss.

                8) any loss resulting from disruption caused by loss or damage from earth movement in
                   California, in the New Madrid Seismic Zone or in the Pacific Northwest Seismic
                   Zone.

                9) any loss resulting from disruption caused by physical loss or damage to personal
                   property of the Insured while in transit.

                The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                be:

                The period of time:

                1) starting at the time of physical loss or damage causing the disruption of the normal
                   movement of goods or materials directly between insured locations; or directly between
                   the insured location and the location of the direct customer, supplier, contract
                   manufacturer or contract service provider to the Insured, and

                2) ending not later than:

                      a) when with due diligence and dispatch the normal movement of goods or materials
                         directly between insured locations; or directly between the insured location and the
                         location of the direct customer, supplier, contract manufacturer or contract service
                         provider to the Insured could be resumed; or

                      b) the number of consecutive days shown in the LIMITS OF LIABILITY clause of the
                         DECLARATIONS section.

        E.      SERVICE INTERRUPTION TIME ELEMENT

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the period of service interruption at an insured location when the loss is


Printed 28-Jun-2019                                                                                             Page 51
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-058
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 92 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                caused by the interruption of incoming services consisting of electricity, gas, fuel, steam,
                water, refrigeration or from the lack of outgoing sewerage service by reason of any
                accidental event at the facilities of the supplier of such service located within this Policy’s
                TERRITORY, that immediately prevents in whole or in part the delivery of such usable
                services.

                This Extension will apply when the period of service interruption is in excess of 24 hours.

                Additional General Provisions:

                1) The Insured will immediately notify the suppliers of services of any interruption of such
                   services.

                2) The Company will not be liable if the interruption of such services is caused directly or
                   indirectly by the failure of the Insured to comply with the terms and conditions of any
                   contracts the Insured has for the supply of such specified services.

                SERVICE INTERRUPTION TIME ELEMENT Exclusions: As respects SERVICE
                INTERRUPTION TIME ELEMENT, the following applies:

                1) The exclusions in the EXCLUSIONS clause in the PROPERTY DAMAGE section do
                   not apply except for:

                      a) A1, A2, A3, A6, B1, B2, and

                      b) B4 with respect to incoming or outgoing voice, data or video, and

                      c) D1 except with respect to fungus, mold or mildew.

                2) The following additional exclusions apply:

                      This Policy excludes loss or damage directly or indirectly caused by or resulting from
                      the following regardless of any other cause or event, whether or not insured under this
                      Policy, contributing concurrently or in any other sequence to the loss:

                      a) earth movement for property located in California, in the New Madrid Seismic
                         Zone or in the Pacific Northwest Seismic Zone.

                      b) terrorism.

                As used above, the period of service interruption:

                1) is the period starting with the time when an interruption of specified services happens;
                   and ending when with due diligence and dispatch the service could be wholly restored
                   and the location receiving the service could or would have resumed normal operations
                   following the restorations of service under the same or equivalent physical and operating
                   conditions as provided by the PERIOD OF LIABILITY clause in this section.

                2) is limited to only those hours during which the Insured would or could have used
                   service(s) if it had been available.

                3) does not extend to include the interruption of operations caused by any reason other than
                   interruption of the specified service(s).


Printed 28-Jun-2019                                                                                             Page 52
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-059
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 93 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



        ADDITIONAL TIME ELEMENT COVERAGE EXTENSIONS

        A.      ATTRACTION PROPERTY

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the PERIOD OF LIABILITY directly resulting from physical loss or damage
                of the type insured to property of the type insured that attracts business to an insured
                location and is within 1 statute mile/1.6 kilometres of the insured location.

                ATTRACTION PROPERTY Exclusions: As respects ATTRACTION PROPERTY, the
                following additional exclusion applies:

                This Policy does not insure loss resulting from:

                1) physical loss or damage caused by or resulting from terrorism, regardless of any other
                   cause or event, whether or not insured under this Policy, contributing concurrently or in
                   any other sequence to the loss.

                The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                be:

                The period of time:

                1) starting at the time of such physical damage; and

                2) ending not later than the number of consecutive days shown in the LIMITS OF
                   LIABILITY clause in the DECLARATIONS section.

        B.      CRISIS MANAGEMENT

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the PERIOD OF LIABILITY if an order of civil or military authority limits,
                restricts or prohibits partial or total access to an insured location, provided such order is a
                direct result of:

                1) a violent crime, suicide, attempted suicide, or armed robbery; or

                2) a death or bodily injury caused by a workplace accident;

                at such insured location.

                For the purposes of this Extension only, a workplace accident shall be considered a sudden,
                fortuitous event that happens during working hours and arises out of work performed in the
                course and the scope of employment.

                This Extension of coverage will apply when the PERIOD OF LIABILITY is in excess of 4
                hours.

                CRISIS MANAGEMENT Exclusions: As respects CRISIS MANAGEMENT, the following
                additional exclusion applies:




Printed 28-Jun-2019                                                                                             Page 53
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-060
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 94 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                This Policy excludes loss or damage directly or indirectly caused by or resulting from the
                following regardless of any other cause or event, whether or not insured under this Policy,
                contributing concurrently or in any other sequence to the loss:

                1) terrorism.

                The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                be:

                The period of time:

                1) starting with the time the civil or military authority prohibits access; and

                2) ending not later than the number of consecutive days shown in the LIMITS OF
                   LIABILITY clause in the DECLARATIONS section.

        C.      DELAY IN STARTUP

                GROSS EARNINGS or GROSS PROFIT and EXTRA EXPENSE are extended to cover the
                Actual Loss Sustained incurred by the Insured during the PERIOD OF LIABILITY due to
                the reasonable and necessary delay in startup of business operations directly resulting from
                physical loss or damage of the type insured to insured property under construction at an
                insured location.

        D.      EXTENDED PERIOD OF LIABILITY

                The GROSS EARNINGS coverage is extended to cover the reduction in sales resulting
                from:

                1) the interruption of business as covered by GROSS EARNINGS;

                2) for such additional length of time as would be required with the exercise of due
                   diligence and dispatch to restore the Insured’s business to the condition that would have
                   existed had no loss happened; and

                3) commencing with the date on which the liability of the Company for loss resulting from
                   interruption of business would terminate if this Extension had not been included in this
                   Policy.

                However, this Extension does not apply to GROSS EARNINGS loss resulting from physical
                loss or damage caused by or resulting from terrorism.

                EXTENDED PERIOD OF LIABILITY Exclusions: As respects EXTENDED PERIOD OF
                LIABILITY, the TIME ELEMENT EXCLUSIONS B of this section does not apply and the
                following applies instead:

                This Policy does not insure against any increase in loss due to damages for breach of
                contract or for late or noncompletion of orders, or fines or penalties of any nature except
                fines or penalties for breach of contract or for late or noncompletion of orders.

                Coverage under this Extension for the reduction in sales due to contract cancellation will
                include only those sales that would have been earned under the contract during the extended
                period of liability.


Printed 28-Jun-2019                                                                                             Page 54
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-061
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 95 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



                Coverage under this Extension does not apply for more than the number of consecutive days
                shown in the LIMITS OF LIABILITY clause of the DECLARATIONS section.

        E.      INTERRUPTION BY COMMUNICABLE DISEASE

                If a location owned, leased or rented by the Insured has the actual not suspected presence of
                communicable disease and access to such location is limited, restricted or prohibited by:

                1) an order of an authorized governmental agency regulating the actual not suspected
                   presence of communicable disease; or

                2) a decision of an Officer of the Insured as a result of the actual not suspected presence of
                   communicable disease,

                this Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the Insured
                during the PERIOD OF LIABILITY at such location with the actual not suspected presence
                of communicable disease.

                This Extension will apply when access to such location is limited, restricted, or prohibited in
                excess of 48 hours.

                INTERRUPTION BY COMMUNICABLE DISEASE Exclusions: As respects
                INTERRUPTION BY COMMUNICABLE DISEASE, the following additional exclusions
                apply:

                This Policy does not insure loss resulting from:

                1) the enforcement of any law or ordinance with which the Insured was legally obligated to
                   comply prior to the time of the actual spread of communicable disease.

                2) loss or damage caused by or resulting from terrorism, regardless of any other cause or
                   event, whether or not insured under this Policy, contributing concurrently or in any
                   sequence of loss.

                The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                be:

                The period of time:

                1) starting at the time of the order of the authorized governmental agency or the Officer of
                   the Insured; and

                2) ending not later than the number of consecutive days shown in the LIMITS OF
                   LIABILITY clause in the DECLARATIONS section,

                this period of time is part of and not in addition to any PERIOD OF LIABILITY applying to
                any coverage provided in the TIME ELEMENT section.

        F.      ON PREMISES SERVICES

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the PERIOD OF LIABILITY directly resulting from physical loss or damage


Printed 28-Jun-2019                                                                                             Page 55
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-062
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 96 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                of the type insured to the following property located within 1,000 feet/300 metres of the
                insured location:

                1) Electrical equipment and equipment used for the transmission of voice, data or video.

                2) Electrical, fuel, gas, water, steam, refrigeration, sewerage, voice, data or video
                   transmission lines.

        G.      PROTECTION AND PRESERVATION OF PROPERTY TIME ELEMENT

                This Policy covers the Actual Loss Sustained by the Insured for a period of time not to
                exceed 48 hours prior to and 48 hours after the Insured first taking reasonable action for the
                temporary protection and preservation of property insured by this Policy provided such
                action is necessary to prevent immediately impending insured physical loss or damage to
                such insured property.

                This Extension does not cover the Actual Loss Sustained by the Insured to temporarily
                protect or preserve insured property from actual, or to prevent immediately impending,
                physical loss or damage covered by TERRORISM coverage as provided in the PROPERTY
                DAMAGE section.

                This Extension is subject to the deductible provisions that would have applied had the
                physical loss or damage happened.

        H.      RELATED REPORTED VALUES

                If reported TIME ELEMENT values include:

                1) locations used by the Insured (such as branch stores, sales outlets and other plants) but
                   not listed on a schedule under this Policy; and

                2) a TIME ELEMENT loss would result at such locations,

                3) from insured physical loss or damage at an insured location,

                then this Policy provides coverage for such resulting TIME ELEMENT loss in accordance
                with the coverage applicable at such insured location.

        I.      RESEARCH AND DEVELOPMENT

                The GROSS EARNINGS and GROSS PROFIT coverages are extended to insure the Actual
                Loss Sustained by the Insured of continuing fixed charges and ordinary payroll directly
                attributable to the interruption of research and development activities that in themselves
                would not have produced income during the PERIOD OF LIABILITY, however, this
                additional coverage does not cover any overhead, laboratory, research and experimental
                costs insured elsewhere in this Policy.

                The PERIOD OF LIABILITY for this Extension will be the period from the time of direct
                physical loss or damage of the type insured to the time when the property could be repaired
                or replaced and made ready for operations, but not to be limited by the date of expiration of
                this Policy.




Printed 28-Jun-2019                                                                                             Page 56
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-063
                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 97 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


        J.      SOFT COSTS

                This Policy covers the Actual Loss Sustained incurred by the Insured of soft costs during the
                PERIOD OF LIABILITY arising out of the delay of completion of buildings and additions
                under construction directly resulting from physical loss or damage of the type insured to
                insured property under construction at an insured location.




Printed 28-Jun-2019                                                                                             Page 57
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-064
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 98 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                                  LOSS ADJUSTMENT AND SETTLEMENT

1.      REQUIREMENTS IN CASE OF LOSS

        The Insured will:

        1)      give immediate written notice to the Company of any loss.

        2)      protect the property from further loss or damage.

        3)      promptly separate the damaged and undamaged property; put it in the best possible order;
                and furnish a complete inventory of the lost, destroyed, damaged and undamaged property
                showing in detail the quantities, costs, actual cash value, replacement value and amount of
                loss claimed.

        4)      give a signed and sworn proof of loss to the Company within 90 days after the loss, unless
                that time is extended in writing by the Company. The proof of loss must state the knowledge
                and belief of the Insured as to:

                a) the time and origin of the loss.

                b) the Insured’s interest and that of all others in the property.

                c) the actual cash value and replacement value of each item and the amount of loss to each
                   item; all encumbrances; and all other contracts of insurance, whether valid or not,
                   covering any of the property.

                d) any changes in the title, use, occupation, location, possession or exposures of the
                   property since the effective date of this Policy.

                e) by whom and for what purpose any location insured by this Policy was occupied on the
                   date of loss, and whether or not it then stood on leased ground.

        5)      include a copy of all the descriptions and schedules in all policies and, if required, provide
                verified plans and specifications of any buildings, fixtures, machinery or equipment
                destroyed or damaged.

        6)      further, the Insured, will as often as may be reasonably required:

                a) exhibit to any person designated by the Company all that remains of any property;

                b) submit to examination under oath by any person designated by the Company and sign
                   the written records of examinations; and

                c) produce for examination at the request of the Company:

                      (i) all books of accounts, business records, bills, invoices and other vouchers; or

                      (ii) certified copies if originals are lost,

                at such reasonable times and places that may be designated by the Company or its
                representative and permit extracts and machine copies to be made.



Printed 28-Jun-2019                                                                                             Page 58
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                Case ID: 210900124
                                                                                                              POLICY-065
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 99 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


2.      CURRENCY FOR LOSS PAYMENT

        Losses will be adjusted and paid in the currency of the United States of America, except in Canada
        where losses will be paid in Canadian currency, unless directed otherwise by the Insured.

3.      PARTIAL PAYMENT OF LOSS SETTLEMENT

        In the event of insured physical loss or damage determined by the Company’s representatives to be
        in excess of the applicable Policy deductible, the Company will advance mutually agreed upon
        partial payment(s), subject to the Policy’s provisions. To obtain such partial payments, the Insured
        will submit a signed and sworn Proof of Loss as described in this Policy, with adequate supporting
        documentation.

4.      COLLECTION FROM OTHERS

        The Company will not be liable for any loss to the extent that the Insured has collected for such
        loss from others.

5.      SUBROGATION

        The Insured is required to cooperate in any subrogation proceedings. The Company may require
        from the Insured an assignment or other transfer of all rights of recovery against any party for loss
        to the extent of the Company’s payment.

        The Company will not acquire any rights of recovery that the Insured has expressly waived prior to
        a loss, nor will such waiver affect the Insured’s rights under this Policy.

        Any recovery from subrogation proceedings, less costs incurred by the Company in such
        proceedings, will be payable to the Insured in the proportion that the amount of:

        1)      any applicable deductible; and/or

        2)      any provable uninsured loss,

        bears to the entire provable loss amount.

6.      COMPANY OPTION

        The Company has the option to take all or any part of damaged property at the agreed or appraised
        value. The Company must give notice to the Insured of its intention to do so within 30 days after
        receipt of Proof of Loss.

7.      ABANDONMENT

        There may be no abandonment of any property to the Company.

8.      APPRAISAL

        If the Insured and the Company fail to agree on the amount of loss, each will, on the written
        demand of either, select a competent and disinterested appraiser after:

        1)      the Insured has fully complied with all provisions of this Policy, including
                REQUIREMENTS IN CASE OF LOSS; and

Printed 28-Jun-2019                                                                                             Page 59
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                Case ID: 210900124
                                                                                                              POLICY-066
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 100 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



        2)      the Company has received a signed and sworn Proof of Loss from the Insured.

        Each will notify the other of the appraiser selected within 20 days of such demand.

        The appraisers will first select a competent and disinterested umpire. If the appraisers fail to agree
        upon an umpire within 30 days then, on the request of the Insured or the Company, the umpire will
        be selected by a judge of a court of record in the jurisdiction in which the appraisal is pending. The
        appraisers will then appraise the amount of loss, stating separately the actual cash value and
        replacement cost value as of the date of loss and the amount of loss, for each item of physical loss
        or damage or if, for TIME ELEMENT loss, the amount of loss for each TIME ELEMENT
        coverage of this Policy.

        If the appraisers fail to agree, they will submit their differences to the umpire. An award agreed to
        in writing by any two will determine the amount of loss.

        The Insured and the Company will each:

        1)      pay its chosen appraiser; and

        2)      bear equally the other expenses of the appraisal and umpire.

        A demand for APPRAISAL shall not relieve the Insured of its continuing obligation to comply
        with the terms and conditions of this Policy, including as provided under REQUIREMENTS IN
        CASE OF LOSS.

        The Company will not be held to have waived any of its rights by any act relating to appraisal.

9.      SUIT AGAINST THE COMPANY

        No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or
        equity unless:

        1)      the Insured has fully complied with all the provisions of this Policy; and

        2)      legal action is started within twelve months after inception of the loss.

        If under the insurance laws of the jurisdiction in which the property is located, such twelve months’
        limitation is invalid, then any such legal action must be started within the shortest limit of time
        permitted by such laws.

10.     SETTLEMENT OF CLAIMS

        The amount of loss for which the Company may be liable will be paid within 30 days after:

        A.      proof of loss as described in this Policy is received by the Company; and

        B.      when a resolution of the amount of loss is made either by:

                1) written agreement between the Insured and the Company; or

                2) the filing with the Company of an award as provided in the APPRAISAL clause of this
                   section.


Printed 28-Jun-2019                                                                                             Page 60
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-067
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 101 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619




Printed 28-Jun-2019                                                                                             Page 61
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-068
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 102 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                                                GENERAL PROVISIONS

1.      CANCELLATION/NON-RENEWAL

        This Policy may be:

        A.      cancelled at any time at the request of the Insured by surrendering this Policy to the
                Company or by giving written notice to the Company stating when such cancellation will
                take effect; or

        B.      cancelled by the Company by giving the Insured not less than:

                 1) 60 days’ written notice of cancellation; or

                 2) 10 days’ written notice of cancellation if the Insured fails to remit, when due, payment
                    of premium for this Policy; or

        C.      non-renewed by the Company by giving the Insured not less than 60 days’ written notice of
                non-renewal.

        Return of any unearned premium will be calculated on the customary short rate basis if the Insured
        cancels and on a pro-rata basis if the Company cancels this Policy. Return of any unearned
        premium will be made by the Company as soon as practicable.

2.      INSPECTIONS

        The Company, at all reasonable times, will be permitted, but will not have the duty, to inspect
        insured property. The Company does not address life, safety or health issues.

        The Company’s:

        A.      right to make inspections;

        B.      making of inspections; or

        C.      providing recommendations or other information in connection with any inspections,

        will not constitute an undertaking, on behalf of or for the benefit of the Insured or others. The
        Company will have no liability to the Insured or any other person because of any inspection or
        failure to inspect.

        When the Company is not providing jurisdictional inspections, the Owner/Operator has the
        responsibility to assure that jurisdictional inspections are performed as required, and to assure that
        required jurisdictional Operating Certificates are current for their pressure equipment.

3.      PROVISIONS APPLICABLE TO SPECIFIC JURISDICTIONS

        A.      If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy
                applies, and if certain provisions are required by law to be stated in this Policy, this Policy
                will be read so as to eliminate such conflict or deemed to include such provisions for insured
                locations within such jurisdictions.




Printed 28-Jun-2019                                                                                             Page 62
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-069
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 103 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


        B.      The Company will provide to the Insured copies of endorsements mandated for use by the
                laws of provinces in Canada. The endorsements modify this Policy with respect to any
                insured property located in the province in which the endorsement applies.

        C.      The Company will provide to the Insured copies of endorsements mandated for use by the
                laws of states in the United States of America. The endorsements modify this Policy with
                respect to any insured property located in the state in which the endorsement applies.

        D.      In respect of any insured property located in France or in French territories, coverage is
                provided for loss or damage caused by or resulting from acts of terrorism committed within
                France or within French territories, in accordance with articles L126-2, R126-1 and R126-2
                of the Insurance Code and decree 2001-1337 dated 28 December 2001.

        E.      Notwithstanding anything contained in this Policy to the contrary, there is no coverage for
                loss or damage and any resulting TIME ELEMENT loss, as provided in the TIME
                ELEMENT section of this Policy, caused by or resulting from the following regardless of
                any other cause or event contributing concurrently or in any other sequence to the loss:

                1) terrorism for property located in Great Britain.

        F.      Coverage is provided for physical loss or damage and any resulting TIME ELEMENT loss
                as provided in the TIME ELEMENT section of this Policy to insured property in Northern
                Ireland occasioned by or happening through or in consequence directly or indirectly of:

                1) riot, civil commotion and (except in respect of loss or damage and resulting TIME
                   ELEMENT loss by fire or explosion) strikers, locked-out workers or persons taking part
                   in labor disturbances or malicious persons; and

                2) terrorism,

                subject to liability of the Company only to be for the extent of the loss not recoverable by the
                Insured under the "Criminal Damage (Compensation) (Northern Ireland) Order 1977" or
                subsequent legislation; and to all other terms, conditions and limits of this Policy.

        G       For any insured property located in Norway, this Policy insures against loss or damage to
                insured property resulting from Natural Catastrophe perils as designated in the Act of
                Natural Perils of June 16th, 1989.

        H.      With respect to any insured property in South Africa, the following conditions additionally
                apply:

                Notwithstanding anything contained herein to the contrary:

                1) This Policy does not cover loss of or damage directly or indirectly to property related to
                   or caused by:

                      a) civil commotion, labour disturbances, riot, strike, lockout or public disorder or any
                         act or activity which is calculated or directed to bring about any of the above;

                      b) war, invasion, act of foreign enemy, hostilities or warlike operations (whether war
                         be declared or not) or civil war;

                      c) (i) mutiny, military rising, military or usurped power, martial law or state of siege,


Printed 28-Jun-2019                                                                                             Page 63
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-070
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 104 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                           or any other event or cause which determines the proclamation or maintenance of
                           martial law or siege;

                           (ii) insurrection, rebellion or revolution.

                      d) any act (whether on behalf of any organization, body or person, or group of persons)
                         calculated or directed to overthrow or influence any state or government, or any
                         provincial, local or tribal authority with force, or by means of fear, terrorism or
                         violence;

                      e) any act which is calculated or directed to bring about loss or damage in order to
                         further any political aim, objective or cause or to bring about any social or economic
                         change, or in protest against any state or government, or any provincial, local or
                         tribal authority, or for the purpose of inspiring fear in the public, or any section
                         thereof;

                      f) any attempt to perform any act referred to in clause d or e above;

                      g) The act of any lawfully established authority in controlling, preventing, suppressing
                         or in any other way dealing with any event referred to in clause a, b, c, d, e or f
                         above.

                      If the Insurers allege that by reason of clauses a, b, c, d, e, f, or g of this exclusion, loss
                      or damage is not covered by this Policy, the burden of proving the contrary will rest on
                      the Insured.

                2) This Policy does not cover loss or damage caused directly or indirectly by or through or
                   in consequence of any event for which a fund has been established in terms of the War
                   Damage Insurance and Compensation Act 1976 (No. 85 of 1976) or any similar Act
                   operative in any of the territories to which this Policy applies.

        I.      As respects the United States, its territories and possessions and the Commonwealth of
                Puerto Rico, the definition of terrorism is declared null and void and it is agreed that an
                event defined as a Certified Act of Terrorism under the terms of the SUPPLEMENTAL
                UNITED STATES CERTIFIED ACT OF TERRORISM ENDORSEMENT(S) attached to
                this Policy shall be considered an act of terrorism within the terms of this Policy. Coverage
                recoverable under the SUPPLEMENTAL UNITED STATES CERTIFIED ACT OF
                TERRORISM ENDORSEMENT(S) is excluded from any other coverage under this Policy.
                Any difference in limit between loss recoverable under the SUPPLEMENTAL UNITED
                STATES CERTIFIED ACT OF TERRORISM ENDORSEMENT(S) and this Policy is not
                recoverable under this Policy.

4.      LIBERALIZATION

        If during the period that insurance is in force under this Policy, any filed rules or regulations
        affecting the same are revised by statute so as to broaden the insurance without additional premium
        charge, such extended or broadened insurance will inure to the benefit of the Insured within such
        jurisdiction, effective the date of the change specified in such statute.

5.      MISREPRESENTATION AND FRAUD

         This entire Policy will be void if, whether before or after a loss, an Insured has:



Printed 28-Jun-2019                                                                                             Page 64
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                              POLICY-071
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 105 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


         A.     willfully concealed or misrepresented any material fact or circumstance concerning this
                insurance, the subject thereof, any insurance claim, or the interest of an Insured.

         B.     made any attempt to defraud the Company.

         C.     made any false swearing.

6.      LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS

        A.      The Company will pay for loss to specified property insured under this Policy to each
                specified Lender Loss Payee (hereinafter referred to as Lender) as its interest may appear,
                and to each specified Mortgagee as its interest may appear, under all present or future
                mortgages upon such property, in order of precedence of the mortgages.

        B.      The interest of the Lender or Mortgagee (as the case may be) in property insured under this
                Policy will not be invalidated by:

                1) any act or neglect of the debtor, mortgagor, or owner (as the case may be) of the
                   property.

                2) foreclosure, notice of sale, or similar proceedings with respect to the property.

                3) change in the title or ownership of the property.

                4) change to a more hazardous occupancy.

                The Lender or Mortgagee will notify the Company of any known change in ownership,
                occupancy, or hazard and, within 10 days of written request by the Company, may pay the
                increased premium associated with such known change. If the Lender or Mortgagee fails to
                pay the increased premium, all coverage under this Policy will cease.

        C.      If this Policy is cancelled at the request of the Insured or its agent, the coverage for the
                interest of the Lender or Mortgagee will terminate 10 days after the Company sends to the
                Lender or Mortgagee written notice of cancellation, unless:

                1) sooner terminated by authorization, consent, approval, acceptance, or ratification of the
                   Insured's action by the Lender or Mortgagee, or its agent.

                2) this Policy is replaced by the Insured, with a policy providing coverage for the interest of
                   the Lender or Mortgagee, in which event coverage under this Policy with respect to such
                   interest will terminate as of the effective date of the replacement policy, notwithstanding
                   any other provision of this Policy.

        D.      The Company may cancel this Policy and/or the interest of the Lender or Mortgagee under
                this Policy, by giving the Lender or Mortgagee written notice 60 days prior to the effective
                date of cancellation, if cancellation is for any reason other than non-payment. If the debtor,
                mortgagor, or owner has failed to pay any premium due under this Policy, the Company may
                cancel this Policy for such non-payment, but will give the Lender or Mortgagee written
                notice 10 days prior to the effective date of cancellation. If the Lender or Mortgagee fails to
                pay the premium due by the specified cancellation date, all coverage under this Policy will
                cease.




Printed 28-Jun-2019                                                                                             Page 65
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-072
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 106 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


        E.      The Company has the right to invoke this Policy's SUSPENSION clause. The suspension of
                insurance will apply to the interest of the Lender or Mortgagee in any machine, vessel, or
                part of any machine or vessel, subject to the suspension. The Company will provide the
                Lender or Mortgagee at the last known address a copy of the suspension notice.

        F.      If the Company pays the Lender or Mortgagee for any loss, and denies payment to the
                debtor, mortgagor or owner, the Company will, to the extent of the payment made to the
                Lender or Mortgagee be subrogated to the rights of the Lender or Mortgagee under all
                securities held as collateral to the debt or mortgage. No subrogation will impair the right of
                the Lender or Mortgagee to sue or recover the full amount of its claim. At its option, the
                Company may pay to the Lender or Mortgagee the whole principal due on the debt or
                mortgage plus any accrued interest. In this event, all rights and securities will be assigned
                and transferred from the Lender or Mortgagee to the Company, and the remaining debt or
                mortgage will be paid to the Company.

        G.      If the Insured fails to render proof of loss, the Lender or Mortgagee, upon notice of the
                Insured's failure to do so, will render proof of loss within 60 days of notice and will be
                subject to the provisions of this Policy relating to APPRAISAL, SETTLEMENT OF
                CLAIMS, and SUIT AGAINST THE COMPANY.

        H.      Other provisions relating to the interests and obligations of the Lender or Mortgagee may be
                added to this Policy by agreement in writing.

7.      OTHER INSURANCE

        A.      If there is any other insurance that would apply in the absence of this Policy, this Policy will
                apply only after such insurance whether collectible or not.

        B.      In no event will this Policy apply as contributing insurance.

        C.      The Insured is permitted to have other insurance over any limits or sublimits of liability
                specified elsewhere in this Policy without prejudice to this Policy. The existence of any such
                insurance will not reduce any limit or sublimit of liability in this Policy. Any other insurance
                that would have provided primary coverage in the absence of this Policy will not be
                considered excess.

        D.      The Insured is permitted to have other insurance for all, or any part, of any deductible in this
                Policy. The existence of such other insurance will not prejudice recovery under this Policy.
                If the limits of liability of such other insurance are greater than this Policy’s applicable
                deductible, this Policy’s insurance will apply only after such other insurance has been
                exhausted.

        E.      If this Policy is deemed to contribute with other insurance, the limit of liability applicable at
                each location, for the purposes of such contribution with other insurers, will be the latest
                amount described in this Policy or the latest location value on file with the Company.

        F.      National Flood Insurance Program: This Policy shall respond as excess over those terms and
                conditions concurrent with the Standard Flood Insurance Policy issued to the Insured, its
                renewal or replacement thereof.

                The flood deductible for Location No. 1, ID No. 0039 and 0040; Location No. 46; Location
                No. 35 for the two lane entrance for approximately 500ft of roadway and Location No. 163



Printed 28-Jun-2019                                                                                             Page 66
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-073
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 107 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


                as described on the Schedule of Locations will be reduced by one dollar for each dollar
                recovered under the Standard Flood Insurance Policy until no deductible applies.

                It is agreed that the Insured will purchase flood insurance for Location No. 1, ID No. 0039
                and 0040; Location No. 46; Location No. 35 for the two lane entrance for approximately
                500ft of roadway and Location No. 163 as described on the Schedule of Locations from the
                National Flood Insurance Program and will maintain the maximum amount of available
                flood insurance for building and contents under the National Flood Insurance Program.

                If for any reason the National Flood Insurance Program Standard Flood Insurance Policy
                should not be in force at the time of loss, this Policy will respond as if the terms and
                conditions of the Standard Flood Insurance policy were in force and the maximum amount of
                available flood insurance for building and contents coverage had been purchased from the
                National Flood Insurance Program.

        G.      Primary Policy:

                1) The Insured has purchased other insurance in a Primary Policy issued with PICC
                   Property and Casualty Company Limited, Beijing Branch Policy Number
                   PQYC201811020000002425, its renewal or replacement thereof.

                2) Coverage provided under such Primary Policy that is also provided under this Policy
                   shall be considered primary insurance. Primary insurance is the first policy to respond to
                   a loss.

                3) This Policy shall respond after the coverage provided under such Primary Policy that is
                   also provided under this Policy has been exhausted.

                4) Any coverage provided by such Primary Policy that is not provided by this Policy does
                   not extend to this Policy.

                5) The insolvency or inability to pay of the company issuing the Primary Policy shall in no
                   event increase this Company's liability under this Policy nor in any way result in this
                   Company becoming liable for any primary insurance.

                6) It is agreed that during the term of this Policy the Insured will not cancel or restrict such
                   Primary Policy without the knowledge and consent of this Company. If such Primary
                   Policy is cancelled, restricted or allowed to expire and not renewed without the
                   knowledge and consent of this Company, this Policy will continue to apply as though
                   such Primary Policy had been maintained in full force and effect.

8.      POLICY MODIFICATION

         This Policy contains all of the agreements between the Insured and the Company concerning this
         insurance. The Insured and the Company may request changes to this Policy. This Policy can be
         changed only by endorsements issued by the Company and made a part of this Policy.

         Notice to any agent or knowledge possessed by any agent or by any other person will not:

         A.     create a waiver, or change any part of this Policy; or

         B.     prevent the Company from asserting any rights under the provisions of this Policy.



Printed 28-Jun-2019                                                                                             Page 67
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-074
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 108 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


9.      REDUCTION BY LOSS

        Claims paid under this Policy will not reduce its limit of liability, except claims paid will reduce
        any annual aggregate limit.

10.     SUSPENSION

        On discovery of a dangerous condition, the Company may immediately suspend this insurance on
        any machine, vessel or part thereof by giving written notice to the Insured. The suspended
        insurance may be reinstated by the Company. Any unearned premium resulting from such
        suspension will be returned by the Company.

11.     TITLES

        The titles in this Policy are only for reference. The titles do not in any way affect the provisions of
        this Policy.

12.     ASSIGNMENT

        Assignment of this Policy will not be valid except with the written consent of the Company.

13.     DEFINITIONS

        The following terms when appearing in boldface in this Policy mean:

        actual cash value:
        the amount it would cost to repair or replace insured property, on the date of loss, with material of
        like kind and quality, with proper deduction for obsolescence and physical depreciation.

        annual aggregate:
        the Company’s maximum amount payable during any policy year.

        communicable disease:
        disease which is:

        A.      transmissible from human to human by direct or indirect contact with an affected individual
                or the individual’s discharges, or

        B.      Legionellosis.

        contaminant:
        anything that causes contamination.

        contamination:
        any condition of property due to the actual or suspected presence of any foreign substance,
        impurity, pollutant, hazardous material, poison, toxin, pathogen or pathogenic organism, bacteria,
        virus, disease causing or illness causing agent, fungus, mold or mildew.

        contingent time element location:
        A.    any location:

                1) of a direct customer, supplier, contract manufacturer or contract service provider to the
                   Insured;

Printed 28-Jun-2019                                                                                             Page 68
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                Case ID: 210900124
                                                                                                              POLICY-075
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 109 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619



                2) of any company under a royalty, licensing fee or commission agreement with the
                   Insured;

        B.      any location of a company that is a direct or indirect customer, supplier, contract
                manufacturer or contract service provider to a location described in A1 above,

        not including locations of any company directly or indirectly supplying to, or receiving from, the
        Insured, electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or video.

        cyber event:
        any act involving the malicious or unauthorized access to, operation of, or use of electronic data
        processing equipment or media, regardless of any other cause or event contributing concurrently
        or in any other sequence of loss. However, physical loss or damage by fire, explosion or sprinkler
        leakage resulting from cyber event will not be considered to be loss by cyber event within the
        terms and conditions of this Policy.

        date or time recognition:
        the recognition, interpretation, calculation, comparison, differentiation, sequencing, accessing or
        processing of data involving one or more dates or times, including the Year 2000.

        earth movement:
        any natural or man-made earth movement including, but not limited to earthquake or landslide,
        regardless of any other cause or event contributing concurrently or in any other sequence of loss.
        However, physical loss or damage by fire, explosion, sprinkler leakage, or flood resulting from
        earth movement will not be considered to be loss by earth movement within the terms and
        conditions of this Policy.

        electronic data processing equipment or media:
        any computer, computer system or component, hardware, network, microprocessor, microchip,
        integrated circuit or similar devices or components in computer or non-computer equipment,
        operating systems, data, programs or other software stored on electronic, electro-mechanical,
        electro-magnetic data processing or production equipment, whether the property of the Insured or
        not.

        flood:
        flood; surface waters; rising waters; storm surge, sea surge, wave wash; waves; tsunami; tide or
        tidal water; the release of water, the rising, overflowing or breaking of boundaries of natural or
        man-made bodies of water; or the spray therefrom; all whether driven by wind or not; or sewer
        back-up resulting from any of the foregoing; regardless of any other cause or event, whether natural
        or man-made, contributing concurrently or in any other sequence of loss. Physical loss or damage
        from flood associated with a storm or weather disturbance whether or not identified by name by
        any meteorological authority, is considered to be flood within the terms of this Policy. However,
        physical loss or damage by fire, explosion or sprinkler leakage resulting from flood is not
        considered to be loss by flood within the terms and conditions of this Policy.

        healthcare facility:
        facility where medicine is practiced.

        historic buildings:
        buildings which are declared by a local, state or federal authority to be of historical significance or
        historical value and such property is regulated by the enforcement of any law or ordinance



Printed 28-Jun-2019                                                                                             Page 69
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-076
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 110 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


        regulating the construction, repair, replacement or use of buildings or structures at an insured
        location.

        irreplaceable:
        an item which cannot be replaced with other of like kind and quality.

        location:
        A.     as specified in the Schedule of Locations, or

        B.      if not so specified in the Schedule of Locations:

                1) a building, yard, dock, wharf, pier or bulkhead (or any group of the foregoing),

                      a) bounded on all sides by public streets, clear land space or open waterways, each not
                         less than 50 feet/15 metres wide. Any bridge or tunnel crossing such street, space or
                         waterway will render such separation inoperative for the purpose of this definition.

        New Madrid Seismic Zone:
        Arkansas, United States of America, counties of:
        Arkansas, Clay, Craighead, Crittenden, Cross, Fulton, Greene, Independence, Izard, Jackson,
        Lawrence, Lee, Lonoke, Mississippi, Monroe, Phillips, Poinsett, Prairie, Randolph, Sharp, St.
        Francis, White, Woodruff

        Illinois, United States of America, counties of:
        Alexander, Bond, Clay, Clinton, Crawford, Edwards, Effingham, Fayette, Franklin, Gallatin,
        Hamilton, Hardin, Jackson, Jasper, Jefferson, Johnson, Lawrence, Madison, Marion, Massac,
        Monroe, Perry, Pope, Pulaski, Randolph, Richland, Saline, St. Clair, Union, Wabash, Washington,
        Wayne, White, Williamson

        Indiana, United States of America, counties of:
        Gibson, Knox, Pike, Posey, Spencer, Vanderburgh, Warrick

        Kentucky, United States of America, counties of:
        Ballard, Caldwell, Calloway, Carlisle, Christian, Crittenden, Daviess, Fulton, Graves, Henderson,
        Hickman, Hopkins, Livingston, Lyon, Marshall, McCracken, McLean, Muhlenberg, Todd, Trigg,
        Union, Webster

        Mississippi, United States of America, counties of:
        Alcorn, Benton, Coahoma, De Soto, Lafayette, Marshall, Panola, Quitman, Tate, Tippah, Tunica

        Missouri, United States of America, counties of:
        Bollinger, Butler, Cape Girardeau, Carter, Dunklin, Iron, Jefferson, Madison, Mississippi, New
        Madrid, Oregon, Pemiscot, Perry, Reynolds, Ripley, Scott, Shannon, St. Francois, St. Louis, City of
        St. Louis, Ste. Genevieve, Stoddard, Washington, Wayne

        Tennessee, United States of America, counties of:
        Benton, Carroll, Chester, Crockett, Decatur, Dyer, Fayette, Gibson, Hardeman, Hardin, Haywood,
        Henderson, Henry, Houston, Humphreys, Lake, Lauderdale, Madison, McNairy, Montgomery,
        Obion, Perry, Shelby, Stewart, Tipton, Weakley

        normal:
        the condition that would have existed had no physical loss or damage happened.



Printed 28-Jun-2019                                                                                             Page 70
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-077
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 111 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


        normal cost:
        the cost associated with the movement of goods or materials suffering the disruption that the
        Insured would have incurred had no physical loss or damage causing disruption happened.

        occurrence:
        the sum total of all loss or damage of the type insured, including any insured TIME ELEMENT
        loss, arising out of or caused by one discrete event of physical loss or damage, except as respects
        the following:

        A.      terrorism: occurrence shall mean the sum total of all loss or damage of the type insured,
                including any insured TIME ELEMENT loss, arising out of or caused by all acts of
                terrorism during a continuous period of seventy-two (72) hours.

        B.      earth movement: occurrence shall mean the sum total of all loss or damage of the type
                insured, including any insured TIME ELEMENT loss, arising out of or caused by all earth
                movement(s) during a continuous period of seventy-two (72) hours.

        off-premises data processing or data transmission services:
        the storage or processing of data performed off-premises of the Insured’s property, including the
        transmission of voice, data or video over a single, or combination of, computer or communication
        networks.

        Pacific Northwest Seismic Zone:
        Oregon, United States of America, counties of:
        Benton, Clackamas, Clatsop, Columbia, Coos, Curry, Douglas, Hood River, Jackson, Josephine,
        Klamath, Lane, Lincoln, Linn, Marion, Multnomah, Polk, Tillamook, Washington, Yamhill

        Washington, United States of America, counties of:
        Chelan, Clallam, Clark, Cowlitz, Grays Harbor, Island, Jefferson, King, Kitsap, Kittitas, Lewis,
        Mason, Pacific, Pierce, San Juan, Skagit, Skamania, Snohomish, Thurston, Wahkiakum, Whatcom

        British Columbia (includes Vancouver Island), Canada:
        South of 50° N latitude and west of 120° W longitude

        period of operational testing:
        the period of time beginning 24 hours prior to the earlier of the following:

        A.      introduction, into a system, of feedstock or other materials for processing or handling;

        B.      commencement of fuel or energy supply to a system,

        and ending with the earlier of the following:

        A.      the expiration date or cancellation date of this Policy.

        B.      if specified, the number of consecutive days shown in the LIMITS OF LIABILITY clause in
                the DECLARATIONS section.

        physical loss or damage to electronic data, programs or software:
        the destruction, distortion or corruption of electronic data, programs or software.

        representative company(ies):



Printed 28-Jun-2019                                                                                             Page 71
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-078
               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 112 of 172

                                                                                                     Account No. 1-56307
                                                                                                      Policy No. 1056619


        Factory Mutual Insurance Company, FM Insurance Company Limited or FM Insurance Europe
        S.A.; Affiliated FM Insurance Company; Appalachian Insurance Company or any other company
        issuing a local policy at the direction of the Company.

        soft costs:
        costs over and above those that are normal at an insured location undergoing renovation or in the
        course of construction, limited to the following:

        A.      construction loan fees - the additional cost incurred to rearrange loans necessary for the
                completion of construction, repairs or reconstruction including; the cost to arrange
                refinancing, accounting work necessary to restructure financing, legal work necessary to
                prepare new documents, charges by the lenders for the extension or renewal of loans
                necessary.

        B.      commitment fees, leasing and marketing expenses - the cost of returning any commitment
                fees received from prospective tenant(s) or purchaser(s), the cost of re-leasing and marketing
                due to loss of tenant(s) or purchaser(s).

        C.      additional fees for architects, engineers, consultants, attorneys and accountants needed for
                the completion of construction, repairs or reconstruction.

        D.      property taxes, building permits, additional interest on loans, realty taxes and insurance
                premiums.

        terrorism:
        any act, involving the use or threat of: force, violence, dangerous conduct, interference with the
        operations of any business, government or other organization or institution, or any similar act,

        when the effect or apparent purpose is:

        A.      to influence or instill fear in any government (de jure or de facto) or the public, or any
                segment of either; or

        B.      to further or to express support for, or opposition to, any political, religious, social,
                ideological or similar type of objective or position.

        transmission and distribution systems:
        transmission and distribution systems including but not limited to electricity, gas, fuel, steam,
        water, refrigeration, sewerage, voice, data, and video. Such systems shall include poles, towers and
        fixtures, overhead conductors and devices, underground and underwater conduit, underground and
        underwater conductors and devices, line transformers, service meters, street lighting and signal
        systems.

        valuable papers and records:
        written, printed or otherwise inscribed documents and records, including books, maps, films,
        drawings, abstracts, deeds, mortgages and manuscripts, all of which must be of value to the
        Insured.

        wind:
        direct action of wind including substance driven by wind. Wind does not mean or include anything
        defined as flood in this Policy.




Printed 28-Jun-2019                                                                                             Page 72
Advantage - TE Select - US North America - 2016 (2019 update) ©2019 FM Global. All rights reserved
                                                                                                                 Case ID: 210900124
                                                                                                               POLICY-079
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 113 of 172


                                                            SCHEDULE OF LOCATIONS                                         Account No. 1-56307
                                                                APPENDIX A                                                 Policy No. 1056619

Loc. No. ID Index No. Name                    Street Address                City           State        Postal Code   County         Country
1        0007 034047.20 Shops At Penn         3401 Walnut Street            Philadelphia   Pennsylvania 19104-3433    Philadelphia   United States
                                                                                                                                     of America
         0539 034047.20 Hospital of the       3400 Spruce Street            Philadelphia   Pennsylvania 19104-4274    Philadelphia   United States
                        University of                                                                                                of America
                        Pennsylvania
         0088 034047.20 Perry World House     3803 Locust Walk              Philadelphia   Pennsylvania 19104-6150    Philadelphia   United States
                                                                                                                                     of America
         0412 034047.20 UCA Properties        104 South 40th Street         Philadelphia   Pennsylvania 19104-3079    Philadelphia   United States
                                                                                                                                     of America
         0049 034047.20 Penn Park             3000 Walnut Street            Philadelphia   Pennsylvania 19104-3455    Philadelphia   United States
                                                                                                                                     of America
         0244 034047.20 Levin Building,       425 South University Avenue   Philadelphia   Pennsylvania 19104-4544    Philadelphia   United States
                        Neurobehavioral                                                                                              of America
                        Sciences Building
         0053 034047.20 Christian Association 3701 Sansom Street            Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Building                                                                                                     of America
         0400 034047.20 UCA Properties        3914 Sansom Street            Philadelphia   Pennsylvania 19104-3162    Philadelphia   United States
                                                                                                                                     of America
         0401 034047.20 UCA Properties        3916 Sansom Street            Philadelphia   Pennsylvania 19104-3112    Philadelphia   United States
                                                                                                                                     of America
         0402 034047.20 UCA Properties        3918 Delancey Street          Philadelphia   Pennsylvania 19104-4107    Philadelphia   United States
                                                                                                                                     of America
         0403 034047.20 UCA Properties        3920 Sansom Street            Philadelphia   Pennsylvania 19104-3112    Philadelphia   United States
                                                                                                                                     of America
         0404 034047.20 UCA Properties        3932 Sansom Street            Philadelphia   Pennsylvania 19104-3112    Philadelphia   United States
                                                                                                                                     of America
         0405 034047.20 UCA Properties        3934 Sansom Street            Philadelphia   Pennsylvania 19104-3112    Philadelphia   United States
                                                                                                                                     of America
         0054 034047.20 Public Safety         4038 Chestnut Street          Philadelphia   Pennsylvania 19104-3020    Philadelphia   United States
                        Auxiliary (Parking                                                                                           of America
                        Lot)
         0059 034047.20 Civic House           3914 Locust Walk              Philadelphia   Pennsylvania 19104-6152    Philadelphia   United States
                                                                                                                                     of America

                                                                      Page 1
                                                                                                                                 Case ID: 210900124
                                                                                                                              POLICY-080
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 114 of 172


                                                            SCHEDULE OF LOCATIONS                                      Account No. 1-56307
                                                                APPENDIX A                                              Policy No. 1056619

Loc. No. ID Index No. Name                 Street Address                City           State        Postal Code   County         Country
         0050 034047.20 Footbridge M&S Mid 3401 & 3451 Walnut St         Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Way Range                                                                                                 of America
         0067 034047.20 Housekeeping Annex 3808 Sansom St                Philadelphia   Pennsylvania 19104-3191    Philadelphia   United States
                                                                                                                                  of America
         0043 034047.20 Shoemaker Green     217 S 33rd St                Philadelphia   Pennsylvania 19104-3801    Philadelphia   United States
                                                                                                                                  of America
         0217 034047.20 Netter Center for   111 South 38th Street        Philadelphia   Pennsylvania 19104-3411    Philadelphia   United States
                        Community                                                                                                 of America
                        Partnership
         0212 034047.20 TRL 30th Street     126 South 30th Street        Philadelphia   Pennsylvania 19104-3403    Philadelphia   United States
                        Entrance                                                                                                  of America
         0082 034047.20 FRES                3811 Walnut Street           Philadelphia   Pennsylvania 19104-3604    Philadelphia   United States
                                                                                                                                  of America
         0413 034047.20 UCA Properties      108 South 40th Street        Philadelphia   Pennsylvania 19104-3017    Philadelphia   United States
                                                                                                                                  of America
         0414 034047.20 UCA Properties      126 South 39th Street        Philadelphia   Pennsylvania 19104-3611    Philadelphia   United States
                                                                                                                                  of America
         0415 034047.20 UCA Properties      206 South 42nd Street        Philadelphia   Pennsylvania 19104-3557    Philadelphia   United States
                                                                                                                                  of America
         0416 034047.20 UCA Properties      212 South 42nd Street        Philadelphia   Pennsylvania 19104-3558    Philadelphia   United States
                                                                                                                                  of America
         0417 034047.20 UCA Properties      214 South 42nd Street        Philadelphia   Pennsylvania 19104-3559    Philadelphia   United States
                                                                                                                                  of America
         0420 034047.20 UCA Properties      3428 Sansom Street           Philadelphia   Pennsylvania 19104-3416    Philadelphia   United States
                                                                                                                                  of America
         0423 034047.20 UCA Properties      3913 Pine Street             Philadelphia   Pennsylvania 19104-4161    Philadelphia   United States
                                                                                                                                  of America
         0424 034047.20 UCA Properties      3914 Pine Street             Philadelphia   Pennsylvania 19104-4102    Philadelphia   United States
                                                                                                                                  of America
         0425 034047.20 UCA Properties      3915 Pine Street             Philadelphia   Pennsylvania 19104-4165    Philadelphia   United States
                                                                                                                                  of America
         0426 034047.20 UCA Properties      3917 Pine Street             Philadelphia   Pennsylvania 19104-4167    Philadelphia   United States
                                                                                                                                  of America

                                                                    Page 2
                                                                                                                              Case ID: 210900124
                                                                                                                           POLICY-081
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 115 of 172


                                                             SCHEDULE OF LOCATIONS                                        Account No. 1-56307
                                                                 APPENDIX A                                                Policy No. 1056619

Loc. No. ID Index No. Name                     Street Address               City           State        Postal Code   County         Country
         0427 034047.20 UCA Properties         3918 Pine Street             Philadelphia   Pennsylvania 19104-4102    Philadelphia   United States
                                                                                                                                     of America
         0428 034047.20 UCA Properties         3919 Pine Street             Philadelphia   Pennsylvania 19104-4168    Philadelphia   United States
                                                                                                                                     of America
         0429 034047.20 UCA Properties         3921 Pine Street             Philadelphia   Pennsylvania 19104-4181    Philadelphia   United States
                                                                                                                                     of America
         0430 034047.20 UCA Properties         3922 Pine Street             Philadelphia   Pennsylvania 19104-4102    Philadelphia   United States
                                                                                                                                     of America
         0431 034047.20 UCA Properties         3922 Sansom Street           Philadelphia   Pennsylvania 19104-3112    Philadelphia   United States
                                                                                                                                     of America
         0432 034047.20 UCA Properties         3923 Pine Street             Philadelphia   Pennsylvania 19104-4183    Philadelphia   United States
                                                                                                                                     of America
         0433 034047.20 UCA Properties         3924 Sansom Street           Philadelphia   Pennsylvania 19104-3112    Philadelphia   United States
                                                                                                                                     of America
         0434 034047.20 UCA Properties         3925 Pine Street             Philadelphia   Pennsylvania 19104-4184    Philadelphia   United States
                                                                                                                                     of America
         0435 034047.20 UCA Properties         3926 Pine Street             Philadelphia   Pennsylvania 19104-4102    Philadelphia   United States
                                                                                                                                     of America
         0436 034047.20 UCA Properties         3926 Sansom Street           Philadelphia   Pennsylvania 19104-3112    Philadelphia   United States
                                                                                                                                     of America
         0439 034047.20 UCA Properties         3933 Pine Street             Philadelphia   Pennsylvania 19104-4188    Philadelphia   United States
                                                                                                                                     of America
         0440 034047.20 UCA Properties -       3933 Walnut Street           Philadelphia   Pennsylvania 19104-6136    Philadelphia   United States
                        Office of Fraternity                                                                                         of America
                        and Sorority Affairs
         0441 034047.20 UCA Properties         3935 Baltimore Avenue        Philadelphia   Pennsylvania 19104-4503    Philadelphia   United States
                                                                                                                                     of America
         0442 034047.20 UCA Properties         3935 Pine Street             Philadelphia   Pennsylvania 19104-4189    Philadelphia   United States
                                                                                                                                     of America
         0443 034047.20 UCA Properties         3937 Pine Street             Philadelphia   Pennsylvania 19104-4190    Philadelphia   United States
                                                                                                                                     of America
         0444 034047.20 UCA Properties         3938 Delancey Street         Philadelphia   Pennsylvania 19104-4107    Philadelphia   United States
                                                                                                                                     of America

                                                                       Page 3
                                                                                                                                 Case ID: 210900124
                                                                                                                              POLICY-082
                                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 116 of 172


                                                       SCHEDULE OF LOCATIONS                                        Account No. 1-56307
                                                           APPENDIX A                                                Policy No. 1056619

Loc. No. ID Index No. Name               Street Address               City           State        Postal Code   County         Country
         0445 034047.20 UCA Properties   3939 Pine Street             Philadelphia   Pennsylvania 19104-4191    Philadelphia   United States
                                                                                                                               of America
         0446 034047.20 UCA Properties   3940 Pine Street             Philadelphia   Pennsylvania 19104-4102    Philadelphia   United States
                                                                                                                               of America
         0447 034047.20 UCA Properties   3942 Pine Street             Philadelphia   Pennsylvania 19104-4164    Philadelphia   United States
                                                                                                                               of America
         0449 034047.20 UCA Properties   3954 Pine Street             Philadelphia   Pennsylvania 19104-4102    Philadelphia   United States
                                                                                                                               of America
         0450 034047.20 UCA Properties   3960 Pine Street             Philadelphia   Pennsylvania 19104-4100    Philadelphia   United States
                                                                                                                               of America
         0451 034047.20 UCA Properties   4000 Chestnut Street         Philadelphia   Pennsylvania 19104-3588    Philadelphia   United States
                                                                                                                               of America
         0452 034047.20 UCA Properties   4002 Chestnut Street         Philadelphia   Pennsylvania 19104-3020    Philadelphia   United States
                                                                                                                               of America
         0453 034047.20 UCA Properties   4007 Chestnut Street         Philadelphia   Pennsylvania 19104-3000    Philadelphia   United States
                                                                                                                               of America
         0499 034047.20 UCA Properties   4009 Chestnut Street         Philadelphia   Pennsylvania 19104-3243    Philadelphia   United States
                                                                                                                               of America
         0455 034047.20 UCA Properties   4013 Chestnut Street         Philadelphia   Pennsylvania 19104-3019    Philadelphia   United States
                                                                                                                               of America
         0457 034047.20 UCA Properties   4025-27 Locust Street        Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                               of America
         0458 034047.20 UCA Properties   4032 Locust Street           Philadelphia   Pennsylvania 19104-3507    Philadelphia   United States
                                                                                                                               of America
         0459 034047.20 UCA Properties   4033 Baltimore Avenue        Philadelphia   Pennsylvania 19104-4525    Philadelphia   United States
                                                                                                                               of America
         0460 034047.20 UCA Properties   4035 Walnut Street           Philadelphia   Pennsylvania 19104-3513    Philadelphia   United States
                                                                                                                               of America
         0462 034047.20 UCA Properties   4047 Locust Street           Philadelphia   Pennsylvania 19104-3519    Philadelphia   United States
                                                                                                                               of America
         0463 034047.20 UCA Properties   4054 Spruce Street           Philadelphia   Pennsylvania 19104-7307    Philadelphia   United States
                                                                                                                               of America


                                                                 Page 4
                                                                                                                           Case ID: 210900124
                                                                                                                        POLICY-083
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 117 of 172


                                                               SCHEDULE OF LOCATIONS                                         Account No. 1-56307
                                                                   APPENDIX A                                                 Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address                 City           State        Postal Code   County         Country
         0464 034047.20 UCA Properties          407 South 40th Street          Philadelphia   Pennsylvania 19104-4144    Philadelphia   United States
                                                                                                                                        of America
         0465 034047.20 UCA Properties          4124 Ludlow Street             Philadelphia   Pennsylvania 19104-3036    Philadelphia   United States
                                                                                                                                        of America
         0466 034047.20 UCA Properties          413 South 40th Street          Philadelphia   Pennsylvania 19104-4142    Philadelphia   United States
                                                                                                                                        of America
         0473 034047.20 UCA Properties -        125 South 39th Street          Philadelphia   Pennsylvania 19104-3610    Philadelphia   United States
                        Cavanaugh's                                                                                                     of America
                        Restaurant
         0478 034047.20 UCA Properties -        4104 Walnut Street             Philadelphia   Pennsylvania 19104-3511    Philadelphia   United States
                        Office Building                                                                                                 of America
         0100 034047.20 UCA Properties -        3927-29 Walnut Street          Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Police Mini Station                                                                                             of America
         0700 034047.20 Main Campus - UCA       3406 Sansom Street             Philadelphia   Pennsylvania 19104-3404    Philadelphia   United States
                        Properties - Penn Law                                                                                           of America
                        School
         0480 034047.20 UCA Properties -        3920 Spruce Street             Philadelphia   Pennsylvania 19104-4113    Philadelphia   United States
                        Solar                                                                                                           of America
         0486 034047.20 UCA Properties          3725-45 Walnut Street          Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                        of America
         0493 034047.20 UCA Properties          4258-60 Chestnut Street        Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                        of America
         0487 034047.20 UCA Properties          115-23 40th Street             Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                        of America
         0494 034047.20 UCA Properties          502 Woodland Terrace           Philadelphia   Pennsylvania 19104-4564    Philadelphia   United States
                                                                                                                                        of America
         0488 034047.20 UCA Properties          3930 Sansom Street             Philadelphia   Pennsylvania 19104-3112    Philadelphia   United States
                                                                                                                                        of America
         0418 034047.20 UCA Properties -        20-22 S. 39th Street           Wallingford    Pennsylvania 19104         Philadelphia   United States
                        Wallingford                                                                                                     of America
                        Apartments
         0490 034047.20 UCA Properties -        3912 Chestnut Street           Philadelphia   Pennsylvania 19104-3111    Philadelphia   United States
                        Parking Lot                                                                                                     of America

                                                                          Page 5
                                                                                                                                    Case ID: 210900124
                                                                                                                                 POLICY-084
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 118 of 172


                                                             SCHEDULE OF LOCATIONS                                        Account No. 1-56307
                                                                 APPENDIX A                                                Policy No. 1056619

Loc. No. ID Index No. Name                     Street Address               City           State        Postal Code   County         Country
         0491 034047.20 UCA Properties         122 South 39th Street        Philadelphia   Pennsylvania 19104-3613    Philadelphia   United States
                                                                                                                                     of America
         0544 034047.20 Hospital of the       3400 Spruce Street            Philadelphia   Pennsylvania 19104-4274    Philadelphia   United States
                        University of                                                                                                of America
                        Pennsylvania - Mobile
                        Equipment
         0008 034047.20 University Shop.      220 S 40th St                 Philadelphia   Pennsylvania 19104-3543    Philadelphia   United States
                        Center, Hamilton                                                                                             of America
                        Village
         0009 034047.20 Parking Garage No. 37 3335 Chestnut Street          Philadelphia   Pennsylvania 19104-3328    Philadelphia   United States
                                                                                                                                     of America
         0406 034047.20 UCA Properties -       400 South 40th Street        Philadelphia   Pennsylvania 19104-6701    Philadelphia   United States
                        Azalea Court                                                                                                 of America
         0407 034047.20 UCA Properties         4200 Pine Street             Philadelphia   Pennsylvania 19104-4948    Philadelphia   United States
                                                                                                                                     of America
         0055 034047.20 Alfred Greenfield      3708 Chestnut Street         Philadelphia   Pennsylvania 19104-6188    Philadelphia   United States
                        Intercultural Center &                                                                                       of America
                        Carriage House
         0199 034047.20 Perelman School of     3620 Hamilton Walk           Philadelphia   Pennsylvania 19104-4799    Philadelphia   United States
                        Medicine - Anatomy,                                                                                          of America
                        Chemistry Wing
         0056 034047.20 Science Center         3440 Market Street           Philadelphia   Pennsylvania 19104-3325    Philadelphia   United States
                                                                                                                                     of America
         0001 034047.20 Annenberg Center       3680 Walnut Street           Philadelphia   Pennsylvania 19104-6219    Philadelphia   United States
                                                                                                                                     of America
         0002 034047.20 Annenberg Public       202 South 36th Street        Philadelphia   Pennsylvania 19104-3806    Philadelphia   United States
                        Policy Center                                                                                                of America
         0003 034047.20 Annenberg School       3620 Walnut Street           Philadelphia   Pennsylvania 19104-6220    Philadelphia   United States
                                                                                                                                     of America
         0408 034047.20 UCA Properties -     4101-03 Spruce Street          Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Berkshire Apartments                                                                                         of America



                                                                       Page 6
                                                                                                                                 Case ID: 210900124
                                                                                                                              POLICY-085
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 119 of 172


                                                              SCHEDULE OF LOCATIONS                                          Account No. 1-56307
                                                                  APPENDIX A                                                  Policy No. 1056619

Loc. No. ID Index No. Name                     Street Address                  City           State        Postal Code   County         Country
         0200 034047.20 Perelman School of     421 Curie Boulevard             Philadelphia   Pennsylvania 19104-4863    Philadelphia   United States
                        Medicine- Bio-                                                                                                  of America
                        Medical Research
                        Building II
         0201 034047.20 Perelman School of     423 Guardian Drive              Philadelphia   Pennsylvania 19104-4865    Philadelphia   United States
                        Medicine - Blockley                                                                                             of America
                        Hall
         0245 034047.20 Center for Greater     3700 Market Street, Suite 308   Philadelphia   Pennsylvania 19104-3190    Philadelphia   United States
                        Philadelphia - Board                                                                                            of America
                        Of Medical Examiners
                        Building
         0057 034047.20 Carriage House/LGBT    3907 Spruce Street              Philadelphia   Pennsylvania 19104-6031    Philadelphia   United States
                        Center                                                                                                          of America
         0279 034047.20 Caster Building        3701 Locust Walk                Philadelphia   Pennsylvania 19104-6214    Philadelphia   United States
                                                                                                                                        of America
         0260 034047.20 Charles Adams Hall     200 South 36th Street           Philadelphia   Pennsylvania 19104-6221    Philadelphia   United States
                                                                                                                                        of America
         0218 034047.20 Chemistry               231 South 34th Street          Philadelphia   Pennsylvania 19104-3816    Philadelphia   United States
                        Laboratories: Cret                                                                                              of America
                        Wing
         0202 034047.20 Perelman School of      3900 Chestnut Street           Philadelphia   Pennsylvania 19104-3179    Philadelphia   United States
                        Medicine - Chestnut                                                                                             of America
                        Hall Apartments
                        (Treatment Research
                        Center Lease)
         0096 034047.20 Chill-Elect Substations 3401 & 3451 Walnut St          Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                        of America
         0058 034047.20 The ARCH               3601 Locust Walk                Philadelphia   Pennsylvania 19104-6224    Philadelphia   United States
                                                                                                                                        of America
         0010 034047.20 Class 1923 Ice Rink    3130 Walnut Street              Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                        of America
         0011 034047.20 Class 1925 House       3941 Irving Street              Philadelphia   Pennsylvania 19104-3700    Philadelphia   United States
                                                                                                                                        of America

                                                                        Page 7
                                                                                                                                    Case ID: 210900124
                                                                                                                                 POLICY-086
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 120 of 172


                                                             SCHEDULE OF LOCATIONS                                        Account No. 1-56307
                                                                 APPENDIX A                                                Policy No. 1056619

Loc. No. ID Index No. Name                   Street Address                 City           State        Postal Code   County         Country
         0012 034047.20 Class Of 1920 Dining 3800 Locust Walk               Philadelphia   Pennsylvania 19104-6139    Philadelphia   United States
                        Commons And Garage                                                                                           of America

         0203 034047.20 Clinical Research      415 Curie Boulevard          Philadelphia   Pennsylvania 19104-6140    Philadelphia   United States
                        Building                                                                                                     of America
         0060 034047.20 College Hall           3450 Woodland Walk           Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                     of America
         0387 034047.20 The Wharton School - 3641-43 Locust Walk            Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Colonial Penn Center                                                                                         of America
         0061 034047.20 Comm Block           3401 Walnut Street             Philadelphia   Pennsylvania 19104-3433    Philadelphia   United States
                                                                                                                                     of America
         0204 034047.20 Perelman School of   420 Curie Boulevard            Philadelphia   Pennsylvania 19104-4217    Philadelphia   United States
                        Medicine - Cyclotron                                                                                         of America
         0062 034047.20 Van Pelt - Dietrich  3420 Walnut Street             Philadelphia   Pennsylvania 19104-6276    Philadelphia   United States
                        Library Center                                                                                               of America
         0013 034047.20 Dubois College House 3900 Walnut Street             Philadelphia   Pennsylvania 19104-3609    Philadelphia   United States
                                                                                                                                     of America
         0219 034047.20 Eisenlohr Annex        3808-10 Walnut Street        Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                     of America
         0063 034047.20 Eisenlohr Hall/        3812 Walnut Street           Philadelphia   Pennsylvania 19104-6137    Philadelphia   United States
                        President's House                                                                                            of America
         0014 034047.20 English House          3565 Sansom St               Philadelphia   Pennsylvania 19104-3464    Philadelphia   United States
                                                                                                                                     of America
         0251 034047.20 Evans Dental Institute 4001 Spruce Street           Philadelphia   Pennsylvania 19104-6003    Philadelphia   United States
                                                                                                                                     of America
         0220 034047.20 Fox-Fels Hall          3814 Walnut Street           Philadelphia   Pennsylvania 19104-6197    Philadelphia   United States
                                                                                                                                     of America
         0261 034047.20 Meyerson Hall          210 South 34th Street        Philadelphia   Pennsylvania 19104-3899    Philadelphia   United States
                                                                                                                                     of America
         0221 034047.20 Fisher-Bennett Hall    3340 Walnut Street           Philadelphia   Pennsylvania 19104-6203    Philadelphia   United States
                                                                                                                                     of America
         0064 034047.20 Franklin Building      3451 Walnut Street           Philadelphia   Pennsylvania 19104-6205    Philadelphia   United States
                                                                                                                                     of America

                                                                       Page 8
                                                                                                                                 Case ID: 210900124
                                                                                                                              POLICY-087
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 121 of 172


                                                                SCHEDULE OF LOCATIONS                                       Account No. 1-56307
                                                                    APPENDIX A                                               Policy No. 1056619

Loc. No. ID Index No. Name                     Street Address                 City           State        Postal Code   County         Country
         0065 034047.20 Franklin Building      125 S. 36th Street             Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Annex                                                                                                          of America
         0036 034047.20 Franklin Field - Weiss 233 South 33rd Street          Philadelphia   Pennsylvania 19104-3809    Philadelphia   United States
                        Weight Room Pavilion                                                                                           of America

          0037 034047.20 Franklin Field         233 South 33rd Street         Philadelphia   Pennsylvania 19104-3809    Philadelphia   United States
                         Footbridge                                                                                                    of America
          0038 034047.20 Franklin Field         233 South 33rd Street         Philadelphia   Pennsylvania 19104-3809    Philadelphia   United States
                         Stadium/Munger                                                                                                of America
                         Complex
          0178 034047.20 Phi Kappa Psi          3934 Spruce Street            Philadelphia   Pennsylvania 19104-4178    Philadelphia   United States
                         Fraternity                                                                                                    of America
          0193 034047.20 Lambda Chi Alpha       128 S 39th St                 Philadelphia   Pennsylvania 19104-3611    Philadelphia   United States
                         Fraternity                                                                                                    of America
          0189 034047.20 Lambda Chi Alpha       128 South 39th Street         Philadelphia   Pennsylvania 19104-3611    Philadelphia   United States
                         Fraternity                                                                                                    of America
          0190 034047.20 Kappa Alpha Society    124 South 39th Street         Philadelphia   Pennsylvania 19104-3611    Philadelphia   United States
                                                                                                                                       of America
          0500 034047.20 UCA Properties         4025-4033 Pine Street         Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                       of America
          0268 034047.20 Graduate Research      200 South 33rd Street         Philadelphia   Pennsylvania 19104-3802    Philadelphia   United States
                         Wing of the Moore                                                                                             of America
                         School
          0269 034047.20 Moore School           200 South 33rd Street         Philadelphia   Pennsylvania 19104-3802    Philadelphia   United States
                         Building                                                                                                      of America
          0263 034047.20 Morgan Building        205 South 34th Street         Philadelphia   Pennsylvania 19104-6312    Philadelphia   United States
                                                                                                                                       of America
          0073 034047.20 Module 7 Utility 7     601 South University Avenue   Philadelphia   Pennsylvania 19104-4574    Philadelphia   United States
                                                                                                                                       of America
          0074 034047.20 Museum of              3260 South Street             Philadelphia   Pennsylvania 19104-4379    Philadelphia   United States
                         Archaeology and                                                                                               of America
                         Anthropology


                                                                        Page 9
                                                                                                                                   Case ID: 210900124
                                                                                                                                POLICY-088
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 122 of 172


                                                               SCHEDULE OF LOCATIONS                                      Account No. 1-56307
                                                                   APPENDIX A                                              Policy No. 1056619

Loc. No. ID Index No. Name                  Street Address                  City           State        Postal Code   County         Country
         0021 034047.20 Museum Garage No. 7 3200 South Street               Philadelphia   Pennsylvania 19104-4314    Philadelphia   United States
                                                                                                                                     of America
         0075 034047.20 Music Building (Van    201 South 34th Street        Philadelphia   Pennsylvania 19104-3803    Philadelphia   United States
                        Pelt Annex)                                                                                                  of America
         0022 034047.20 Sansom Place East      3600 Chestnut Street         Philadelphia   Pennsylvania 19104-3208    Philadelphia   United States
                                                                                                                                     of America
         0275 034047.20 Claire M. Fagin Hall   418 Curie Boulevard          Philadelphia   Pennsylvania 19104-4217    Philadelphia   United States
                                                                                                                                     of America
         0044 034047.20 Palestra               223 S 33rd St                Philadelphia   Pennsylvania 19104-3801    Philadelphia   United States
                                                                                                                                     of America
         0023 034047.20 Parking Garage:       3201 Walnut Street            Philadelphia   Pennsylvania 19104-3405    Philadelphia   United States
                        Walnut 32                                                                                                    of America
         0024 034047.20 School of Education, 3720 Walnut St                 Philadelphia   Pennsylvania 19104-6241    Philadelphia   United States
                        Parking Garage No. 28                                                                                        of America

         0025 034047.20 Retail Space and       119 South 38th Street        Philadelphia   Pennsylvania 19104-3136    Philadelphia   United States
                        Parking Garage 38                                                                                            of America
         0236 034047.20 Solomon Building       3720 Walnut Street           Philadelphia   Pennsylvania 19104-6241    Philadelphia   United States
                                                                                                                                     of America
         0262 034047.20 Furness-Duhring        236 S 34th St                Philadelphia   Pennsylvania 19104-3804    Philadelphia   United States
                        Building                                                                                                     of America
         0035 034047.20 Gimble                 3701 Walnut Street           Philadelphia   Pennsylvania 19104-6194    Philadelphia   United States
                        Gymnasium/David                                                                                              of America
                        Pottruck Health &
                        Fitness
         0117 034047.20 Gittis Hall            3443 Sansom Street           Philadelphia   Pennsylvania 19104-3426    Philadelphia   United States
                                                                                                                                     of America
         0222 034047.20 Goddard Laboratories, 3710 Hamilton Walk            Philadelphia   Pennsylvania 19104-4202    Philadelphia   United States
                        Biology Building                                                                                             of America

         0114 034047.20 Graduate School Of     3700 Walnut Street           Philadelphia   Pennsylvania 19104-6216    Philadelphia   United States
                        Education Building                                                                                           of America


                                                                       Page 10
                                                                                                                                 Case ID: 210900124
                                                                                                                              POLICY-089
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 123 of 172


                                                               SCHEDULE OF LOCATIONS                                         Account No. 1-56307
                                                                   APPENDIX A                                                 Policy No. 1056619

Loc. No. ID Index No. Name                  Street Address                     City           State        Postal Code   County         Country
         0015 034047.20 Rodin College House 3901 Locust Walk                   Philadelphia   Pennsylvania 19104-6153    Philadelphia   United States
                                                                                                                                        of America
         0016 034047.20 Harnwell College       3829 Locust Walk                Philadelphia   Pennsylvania 19104-6150    Philadelphia   United States
                        House                                                                                                           of America
         0017 034047.20 Harrison College       3910 Irving Street              Philadelphia   Pennsylvania 19104-6007    Philadelphia   United States
                        House                                                                                                           of America
         0223 034047.20 Hayden Hall            3320 Smith Walk                 Philadelphia   Pennsylvania 19104-6316    Philadelphia   United States
                                                                                                                                        of America
         0018 034047.20 Hill College House     3333 Walnut Street              Philadelphia   Pennsylvania 19104-3435    Philadelphia   United States
                                                                                                                                        of America
         0283 034047.20 School of Veterinary   380 South University Avenue     Philadelphia   Pennsylvania 19104-4539    Philadelphia   United States
                        Medicine - Hill                                                                                                 of America
                        Pavilion
         0039 034047.20 Hollenback Annex       3000 South Street               Philadelphia   Pennsylvania 19104-4308    Philadelphia   United States
                                                                                                                                        of America
         0040 034047.20 Hollenback Center &    3000 South Street               Philadelphia   Pennsylvania 19104-4308    Philadelphia   United States
                        Boiler House                                                                                                    of America
         0068 034047.20 Houston Hall           3417 Spruce Street              Philadelphia   Pennsylvania 19104-4298    Philadelphia   United States
                                                                                                                                        of America
         0041 034047.20 Hutchinson             219 S 33rd St                   Philadelphia   Pennsylvania 19104-6315    Philadelphia   United States
                        Gymnasium                                                                                                       of America
         0069 034047.20 Lippincott Library     3420 Walnut Street, 3rd Floor   Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                        of America
         0019 034047.20 Institute              118 South 36th Street           Philadelphia   Pennsylvania 19104-3289    Philadelphia   United States
                        Contemporary Art                                                                                                of America
         0224 034047.20 Vagelos Laboratories   3340 Smith Walk                 Philadelphia   Pennsylvania 19104-6383    Philadelphia   United States
                        of IAST                                                                                                         of America
         0225 034047.20 International House    3701 Chestnut Street            Philadelphia   Pennsylvania 19104-3104    Philadelphia   United States
                        Philadelphia                                                                                                    of America
         0226 034047.20 Irvine Auditorium -    3401 Spruce Street              Philadelphia   Pennsylvania 19104-6307    Philadelphia   United States
                        Organ                                                                                                           of America
         0227 034047.20 Irvine Auditorium      3401 Spruce Street              Philadelphia   Pennsylvania 19104-6307    Philadelphia   United States
                                                                                                                                        of America

                                                                       Page 11
                                                                                                                                    Case ID: 210900124
                                                                                                                                 POLICY-090
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 124 of 172


                                                             SCHEDULE OF LOCATIONS                                         Account No. 1-56307
                                                                 APPENDIX A                                                 Policy No. 1056619

Loc. No. ID Index No. Name                     Street Address                City           State        Postal Code   County         Country
         0228 034047.20 Jaffe Art History      3405 Woodland Walk            Philadelphia   Pennsylvania 19104-6208    Philadelphia   United States
                        Building                                                                                                      of America
         0205 034047.20 Perelman School of     3620 Hamilton Walk            Philadelphia   Pennsylvania 19104-4799    Philadelphia   United States
                        Medicine - John                                                                                               of America
                        Morgan Building
         0206 034047.20 Perelman School of     3610 Hamilton Walk            Philadelphia   Pennsylvania 19104-4500    Philadelphia   United States
                        Medicine - Johnson                                                                                            of America
                        Pavilion
         0388 034047.20 The Wharton School -   3730 Walnut Street            Philadelphia   Pennsylvania 19104-3615    Philadelphia   United States
                        J on M. Huntsman                                                                                              of America
                        Hall
         0229 034047.20 Kelly Writers          3805 Locust Walk              Philadelphia   Pennsylvania 19104-6150    Philadelphia   United States
                        House/Chaplin's                                                                                               of America
                        House
         0020 034047.20 Kings Court            3465 Sansom Street            Philadelphia   Pennsylvania 19104-6185    Philadelphia   United States
                                                                                                                                      of America
         0389 034047.20 The Wharton School - 256 South 37th Street           Philadelphia   Pennsylvania 19104-6330    Philadelphia   United States
                        Lauder Institute &                                                                                            of America
                        Fisher/Wharton
                        School, Office,
                        Classrooms
         0230 034047.20 Leidy Laboratory of 3740 Hamilton Walk               Philadelphia   Pennsylvania 19104-4202    Philadelphia   United States
                        Biology                                                                                                       of America
         0266 034047.20 Levine Hall          3330 Walnut Street              Philadelphia   Pennsylvania 19104-3409    Philadelphia   United States
                                                                                                                                      of America
         0252 034047.20 Levy Center For Oral 4010 Locust Street              Philadelphia   Pennsylvania 19104-4199    Philadelphia   United States
                        Health Research                                                                                               of America
         0042 034047.20 Hecht Tennis Center 240 South 31St Street            Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                      of America
         0231 034047.20 Life Science-Lynch     433 South University Avenue   Philadelphia   Pennsylvania 19104-4596    Philadelphia   United States
                        Biological Building,                                                                                          of America
                        University Ave &
                        Guardian Drive

                                                                      Page 12
                                                                                                                                  Case ID: 210900124
                                                                                                                               POLICY-091
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 125 of 172


                                                                SCHEDULE OF LOCATIONS                                      Account No. 1-56307
                                                                    APPENDIX A                                              Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address               City           State        Postal Code   County         Country
         0070 034047.20 Locust House /The       3643 Locust Walk             Philadelphia   Pennsylvania 19104-6240    Philadelphia   United States
                        Women's Center                                                                                                of America
         0232 034047.20 Claudia Cohen Hall      249 South 36th Street        Philadelphia   Pennsylvania 19104-6304    Philadelphia   United States
                                                                                                                                      of America
         0267 034047.20 LRSM                    3231 Walnut Street           Philadelphia   Pennsylvania 19104-6202    Philadelphia   United States
                        Building/Substation                                                                                           of America
         0233 034047.20 McNeil Building         3718 Locust Walk             Philadelphia   Pennsylvania 19104-6231    Philadelphia   United States
                                                                                                                                      of America
         0234 034047.20 McNeil Center For       3355 Woodland Walk           Philadelphia   Pennsylvania 19104-4531    Montgomery     United States
                        Early Am Studies                                                                                              of America
         0235 034047.20 Perelman Center for     133 South 36th Street        Philadelphia   Pennsylvania 19104-3210    Philadelphia   United States
                        Political Science and                                                                                         of America
                        Economics
         0071 034047.20 Misc. Structures        3401 Walnut Street           Philadelphia   Pennsylvania 19104-3433    Philadelphia   United States
                                                                                                                                      of America
         0072 034047.20 Mobile Equipment        3401 Walnut Street           Philadelphia   Pennsylvania 19104-3433    Philadelphia   United States
                                                                                                                                      of America
         0026 034047.20 The Quadrangle          3700 Spruce Street           Philadelphia   Pennsylvania 19104-6025    Bucks          United States
                        Dorms (McClelland,                                                                                            of America
                        Fisher Hassenfeld,
                        Ripe, Ware, Jaffe)
         0207 034047.20 Perelman School of      3700 Hamilton Walk           Philadelphia   Pennsylvania 19104-6116    Philadelphia   United States
                        Medicine - Richards                                                                                           of America
                        Medical Research
                        Laboratories
         0045 034047.20 Ringe Squash Courts     223 S 33rd St                Philadelphia   Pennsylvania 19104-3801    Philadelphia   United States
                                                                                                                                      of America
         0237 034047.20 Davide Rittenhouse      209 South 33rd Street        Philadelphia   Pennsylvania 19104-6317    Philadelphia   United States
                        Laboratory                                                                                                    of America
         0284 034047.20 Rosenthal Building      3800 Spruce Street           Philadelphia   Pennsylvania 19104-6009    Philadelphia   United States
                        (Gladys Hall)                                                                                                 of America
         0497 034047.20 UCA Properties          4200 Spruce Street           Philadelphia   Pennsylvania 19104-4081    Philadelphia   United States
                                                                                                                                      of America

                                                                        Page 13
                                                                                                                                  Case ID: 210900124
                                                                                                                               POLICY-092
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 126 of 172


                                                             SCHEDULE OF LOCATIONS                                        Account No. 1-56307
                                                                 APPENDIX A                                                Policy No. 1056619

Loc. No. ID Index No. Name                     Street Address               City           State        Postal Code   County         Country
         0027 034047.20 Sansom Place West      3650 Chestnut Street         Philadelphia   Pennsylvania 19104-3215    Philadelphia   United States
                                                                                                                                     of America
         0280 034047.20 School of Social Work 3815 Walnut Street            Philadelphia   Pennsylvania 19104-6179    Philadelphia   United States
                                                                                                                                     of America
         0253 034047.20 The Robert Schattner   240 South 40th Street        Philadelphia   Pennsylvania 19104-3547    Philadelphia   United States
                        Center                                                                                                       of America
         0118 034047.20 Silverman Hall         3501 Sansom St               Philadelphia   Pennsylvania 19104-3464    Philadelphia   United States
                                                                                                                                     of America
         0270 034047.20 Singh Center For       3205 Walnut Street           Philadelphia   Pennsylvania 19104-3405    Philadelphia   United States
                        Nanotechnology                                                                                               of America
         0271 034047.20 Skirkanich Hall        210 South 33rd Street        Philadelphia   Pennsylvania 19104-3815    Philadelphia   United States
                                                                                                                                     of America
         0285 034047.20 Ryan Veterinary        3850 Spruce Street           Philadelphia   Pennsylvania 19104-4197    Philadelphia   United States
                        Hospital of the                                                                                              of America
                        University of
                        Pennsylvania
         0498 034047.20 UCA Properties -       4243 Spruce Street           Philadelphia   Pennsylvania 19104-4022    Philadelphia   United States
                        Spruce House                                                                                                 of America
         0390 034047.20 The Wharton School -   255 South 38th Street        Philadelphia   Pennsylvania 19104-6356    Philadelphia   United States
                        Steinberg Conference                                                                                         of America
                        Center
         0391 034047.20 The Wharton School -   3620 Locust Walk             Philadelphia   Pennsylvania 19104-6302    Philadelphia   United States
                        Steinberg Hall -                                                                                             of America
                        Dietrich Hall
         0208 034047.20 Perelman School of     422 Curie Boulevard          Philadelphia   Pennsylvania 19104-4860    Philadelphia   United States
                        Medicine - Stellar-                                                                                          of America
                        Chance Laboratories
         0209 034047.20 Stemmler Hall          3450 Hamilton Walk           Philadelphia   Pennsylvania 19104-4870    Philadelphia   United States
                                                                                                                                     of America
         0238 034047.20 Stiteler Hall          208 South 37th Street        Philadelphia   Pennsylvania 19104-6215    Philadelphia   United States
                                                                                                                                     of America
         0028 034047.20 Stouffer Triangle      3715 Woodland Walk           Philadelphia   Pennsylvania 19104-6101    Philadelphia   United States
                        College House                                                                                                of America

                                                                       Page 14
                                                                                                                                 Case ID: 210900124
                                                                                                                              POLICY-093
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 127 of 172


                                                                SCHEDULE OF LOCATIONS                                        Account No. 1-56307
                                                                    APPENDIX A                                                Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address                 City           State        Postal Code   County         Country
         0409 034047.20 UCA Properties -        3700-3712 Spruce Street        Philadelphia   Pennsylvania 19104-6026    Bucks          United States
                        Stouffer Triangle                                                                                               of America
                        Retail
         0716 034047.20 Main Campus -           3537 Locust Walks              Philadelphia   Pennsylvania 19104-6225    Philadelphia   United States
                        Robbins House                                                                                                   of America
         0097 034047.20 Main Campus -           3401 Walnut Street             Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Supplies                                                                                                        of America
         0410 034047.20 Surrey Hall             329 S 42nd St                  Philadelphia   Pennsylvania 19104-4062    Philadelphia   United States
                        Apartments                                                                                                      of America
         0076 034047.20 Sweeten Alumni          3533 Locust Walk               Philadelphia   Pennsylvania 19104-6226    Philadelphia   United States
                        Center                                                                                                          of America
         0077 034047.20                         3216 Chancellor Street         Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                        of America
         0119 034047.20 Tanenbaum Hall          3460 Chestnut Street           Philadelphia   Pennsylvania 19104-3406    Philadelphia   United States
                                                                                                                                        of America
         0272 034047.20 Towne Building          220 South 33rd Street          Philadelphia   Pennsylvania 19104-3802    Philadelphia   United States
                                                                                                                                        of America
         0210 034047.20 Perelman School of     125 South 31st Street           Philadelphia   Pennsylvania 19104-3413    Philadelphia   United States
                        Medicine -                                                                                                      of America
                        Translational Research
                        Laboratory
         0029 034047.20 Ven Pelt Manor         3909 Spruce Street              Philadelphia   Pennsylvania 19104-6004    Philadelphia   United States
                                                                                                                                        of America
         0392 034047.20 Vance Hall              3733 Spruce Street             Philadelphia   Pennsylvania 19104-6360    Bucks          United States
                                                                                                                                        of America
         0286 034047.20 Veterinary Medicine     3800 Spruce Street             Philadelphia   Pennsylvania 19104-6009    Philadelphia   United States
                        Old Quadrangle                                                                                                  of America
         0078 034047.20 Vice Provost For        3609-11 Locust Walk            Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        University Life                                                                                                 of America
         0079 034047.20                         3905 Spruce Street             Philadelphia   Pennsylvania 19104-4112    Philadelphia   United States
                                                                                                                                        of America
         0046 034047.20 Weightman Hall          235 South 33rd Street          Philadelphia   Pennsylvania 19104-3814    Philadelphia   United States
                                                                                                                                        of America

                                                                          Page 15
                                                                                                                                    Case ID: 210900124
                                                                                                                                  POLICY-094
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 128 of 172


                                                               SCHEDULE OF LOCATIONS                                       Account No. 1-56307
                                                                   APPENDIX A                                               Policy No. 1056619

Loc. No. ID Index No. Name                     Street Address                City           State        Postal Code   County         Country
         0240 034047.20 Center for Greater     3700 Market Street            Philadelphia   Pennsylvania 19104-3147    Philadelphia   United States
                        Philadelphia                                                                                                  of America
         0211 034047.20 Center for Excellence 3508 Market Street             Philadelphia   Pennsylvania 19104-3311    Philadelphia   United States
                        in Minority Healthcare                                                                                        of America

         0047 034047.20 Dunning Coaches'       231 S 33rd St                 Philadelphia   Pennsylvania 19104-3809    Philadelphia   United States
                        Center                                                                                                        of America
         0241 034047.20 Williams Hall          255 South 36th Street         Philadelphia   Pennsylvania 19104-9970    Philadelphia   United States
                                                                                                                                      of America
         0080 034047.20 Archives               3401 Market Street            Philadelphia   Pennsylvania 19104-3318    Philadelphia   United States
                                                                                                                                      of America
         0120 034047.20 Golkin Hall            3501 Sansom Street            Philadelphia   Pennsylvania 19104-3464    Philadelphia   United States
                                                                                                                                      of America
         0084 034047.20 Locust Walk            3600 Locust Walk              Philadelphia   Pennsylvania 19104-6229    Philadelphia   United States
                                                                                                                                      of America
         0419 034047.20 UCA Properties         305-307 So 40th St & 309-311 Philadelphia    Pennsylvania 19104         Philadelphia   United States
                                               So 40th Street                                                                         of America
         0421 034047.20 UCA Properties         3430-3436 Sansom Street      Philadelphia    Pennsylvania 19104         Philadelphia   United States
                                                                                                                                      of America
         0242 034047.20 UCA Properties         3809 Walnut Street            Philadelphia   Pennsylvania 19104-3604    Philadelphia   United States
                                                                                                                                      of America
         0422 034047.20 UCA Properties         3901-03 Walnut Street         Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                      of America
         0437 034047.20 UCA Properties         3928 Sansom Street            Philadelphia   Pennsylvania 19104-3112    Philadelphia   United States
                                                                                                                                      of America
         0168 034047.20 UCA Properties -       3928 Spruce Street            Philadelphia   Pennsylvania 19104-4113    Philadelphia   United States
                        Sigma Kappa                                                                                                   of America
         0448 034047.20 UCA Properties         3944, 3946, 3948, 3950 Pine   Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                               Street                                                                                 of America
         0454 034047.20 UCA Properties         4010-4016 Chestnut Street     Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                      of America
         0456 034047.20 UCA Properties         4015 Walnut Street            Philadelphia   Pennsylvania 19104-6198    Philadelphia   United States
                                                                                                                                      of America

                                                                       Page 16
                                                                                                                                  Case ID: 210900124
                                                                                                                               POLICY-095
                                 Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 129 of 172


                                                             SCHEDULE OF LOCATIONS                                         Account No. 1-56307
                                                                 APPENDIX A                                                 Policy No. 1056619

Loc. No. ID Index No. Name                     Street Address                City           State        Postal Code   County         Country
         0461 034047.20 UCA Properties         4037 Pine Street              Philadelphia   Pennsylvania 19104-4134    Philadelphia   United States
                                                                                                                                      of America
         0470 034047.20 UCA Properties -       4102 Walnut Street            Philadelphia   Pennsylvania 19104-3563    Philadelphia   United States
                        Apartments                                                                                                    of America
         0471 034047.20 UCA Properties -       4106-08 Walnut St             Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Apartments                                                                                                    of America
         0472 034047.20 UCA Properties -       119-125 South 39th Street     Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Astor Apts. & Bar                                                                                             of America
         0474 034047.20 UCA Properties -       4039 Chestnut Street          Philadelphia   Pennsylvania 19104-3056    Philadelphia   United States
                        Chestnut Arms                                                                                                 of America
         0475 034047.20 UCA Properties -       4008-14 & 4016-26 Walnut      Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Rotunda                Street                                                                                 of America
         0476 034047.20 UCA Properties -       4126-38 Walnut St             Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Kidney Center                                                                                                 of America
         0099 034047.20 UCA Properties -       2901 South Street             Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Landscape                                                                                                     of America
                        Maintenance Center
         0085 034047.20 UCA Properties -       3624 Market Street            Philadelphia   Pennsylvania 19104-2614    Philadelphia   United States
                        Multi Department                                                                                              of America
                        Leased Space
         0477 034047.20 UCA Properties -       4100 Walnut Street            Philadelphia   Pennsylvania 19104-3511    Philadelphia   United States
                        Restaurant School &                                                                                           of America
                        Prop Storage
         0479 034047.20 UCA Properties -       3910 Chestnut Street          Philadelphia   Pennsylvania 19104-3111    Philadelphia   United States
                        Offices                                                                                                       of America
         0030 034047.20 UCA Properties - Lot   4001-13 Walnut Street         Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        40 / Fresh Grocer                                                                                             of America
         0086 034047.20 UCA Properties -       4026-4040 Chestnut St.        Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Public                                                                                                        of America
                        Safety/Renovation




                                                                        Page 17
                                                                                                                                  Case ID: 210900124
                                                                                                                               POLICY-096
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 130 of 172


                                                               SCHEDULE OF LOCATIONS                                          Account No. 1-56307
                                                                   APPENDIX A                                                  Policy No. 1056619

Loc. No. ID Index No. Name                       Street Address                 City           State        Postal Code   County         Country
         0031 034047.20 UCA Properties -         3600 Sansom Street             Philadelphia   Pennsylvania 19104-3299    Philadelphia   United States
                        Sansom Street                                                                                                    of America
                        Commons-Inn At
                        Penn, Bookstore,
                        Retail & Offices
         0481 034047.20 UCA Properties -         4105 Spruce Street             Philadelphia   Pennsylvania 19104-4065    Philadelphia   United States
                        Sprucewood Apts.                                                                                                 of America
         0482 034047.20 UCA Properties - St.     3819-31 Chestnut Street        Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Leonard's Court                                                                                                  of America
         0562 034047.20 UCA Properties -         3926-3938 Chestnut Street      Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        University City                                                                                                  of America
                        District Offices
         0483 034047.20 UCA Properties -         4224-34 Osage Avenue           Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Webster Manor                                                                                                    of America
                        Apartments
         0484 034047.20 UCA Properties -         4201 Spruce Street Building    Philadelphia   Pennsylvania 19104-7499    Philadelphia   United States
                        Divinity Chapel/Parent   1921                                                                                    of America
                        Infant Center &
                        Expansion/ Spruce
                        House
         0243 034047.20 UCA Properties - SAS     3615-3619 Market Street        Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Advancement                                                                                                      of America
         0485 034047.20 UCA Properties - Iron    3700 Chestnut Street           Philadelphia   Pennsylvania 19104-3180    Philadelphia   United States
                        Gate, Civic House                                                                                                of America
         0087 034047.20 UCA Properties - Left    3101 Walnut St                 Philadelphia   Pennsylvania 19104-3437    Philadelphia   United States
                        Bank                                                                                                             of America
         0540 034047.20 Hospital of the          3400 Spruce Street             Philadelphia   Pennsylvania 19104-4274    Philadelphia   United States
                        University of                                                                                                    of America
                        Pennsylvania -
                        Centrex Building




                                                                           Page 18
                                                                                                                                     Case ID: 210900124
                                                                                                                                  POLICY-097
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 131 of 172


                                                              SCHEDULE OF LOCATIONS                                     Account No. 1-56307
                                                                  APPENDIX A                                             Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address            City           State        Postal Code   County         Country
         0541 034047.20 Hospital of the         3400 Spruce Street        Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        University of                                                                                              of America
                        Pennsylvania - Donner
                        Building
         0542 034047.20 Hospital of the         3400 Spruce Street        Philadelphia   Pennsylvania 19104-4274    Philadelphia   United States
                        University of                                                                                              of America
                        Pennsylvania - Dulles
                        Wing
         0543 034047.20 Hospital of the         3400 Spruce Street        Philadelphia   Pennsylvania 19104-4274    Philadelphia   United States
                        University of                                                                                              of America
                        Pennsylvania -
                        Jonathan Evan Rhoads
                        Pav/Swing Space
         0545 034047.20 Hospital of the         3400 Spruce Street        Philadelphia   Pennsylvania 19104-4274    Philadelphia   United States
                        University of                                                                                              of America
                        Pennsylvania -
                        Devon/Miller Plaza
         0555 034047.20 Hospital of the         3400 Spruce Street        Philadelphia   Pennsylvania 19104-4274    Philadelphia   United States
                        University of                                                                                              of America
                        Pennsylvania - Ravdin
                        Building
         0546 034047.20 Hospital of the         3400 Spruce Street        Philadelphia   Pennsylvania 19104-4274    Philadelphia   United States
                        University of                                                                                              of America
                        Pennsylvania - Ravdin
                        Courtyard
         0547 034047.20 Hospital of the         3400 Spruce Street        Philadelphia   Pennsylvania 19104-4274    Philadelphia   United States
                        University of                                                                                              of America
                        Pennsylvania -
                        Silverstein Pavilion




                                                                     Page 19
                                                                                                                               Case ID: 210900124
                                                                                                                            POLICY-098
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 132 of 172


                                                              SCHEDULE OF LOCATIONS                                       Account No. 1-56307
                                                                  APPENDIX A                                               Policy No. 1056619

Loc. No. ID Index No. Name                     Street Address               City           State        Postal Code   County         Country
         0548 034047.20 Hospital of the        3400 Spruce Street           Philadelphia   Pennsylvania 19104-4274    Philadelphia   United States
                        University of                                                                                                of America
                        Pennsylvania -
                        Substation #1
                        (Underground)
                        Utilities, Elec/Mech
         0549 034047.20 Hospital of the        3400 Spruce Street           Philadelphia   Pennsylvania 19104-4274    Philadelphia   United States
                        University of                                                                                                of America
                        Pennsylvania - White
                        Pavilion
         0550 034047.20 Hospital of the        3400 Spruce Street           Philadelphia   Pennsylvania 19104-4274    Philadelphia   United States
                        University of                                                                                                of America
                        Pennsylvania - Gates
                        Building
         0551 034047.20 Hospital of the        3400 Spruce Street           Philadelphia   Pennsylvania 19104-4274    Philadelphia   United States
                        University of                                                                                                of America
                        Pennsylvania - Gibson
                        Building
         0552 034047.20 Hospital of the        3400 Spruce Street           Philadelphia   Pennsylvania 19104-4274    Philadelphia   United States
                        University of                                                                                                of America
                        Pennsylvania -
                        Maloney
                        Building/Alumni Hall -
                        Renovation
         0553 034047.20 Hospital of the        3940 Spruce Street           Philadelphia   Pennsylvania 19104-4113    Philadelphia   United States
                        University of                                                                                                of America
                        Pennsylvania - Penn
                        Transplant House
         0169 034047.20 Zeta Beta Tau          235 South 39th Street        Philadelphia   Pennsylvania 19104-3704    Philadelphia   United States
                        Fraternity                                                                                                   of America
         0170 034047.20 Alpha Tau Omega        225 South 39th Street        Philadelphia   Pennsylvania 19104-3694    Philadelphia   United States
                        Fraternity                                                                                                   of America


                                                                       Page 20
                                                                                                                                 Case ID: 210900124
                                                                                                                              POLICY-099
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 133 of 172


                                                                 SCHEDULE OF LOCATIONS                                        Account No. 1-56307
                                                                     APPENDIX A                                                Policy No. 1056619

Loc. No. ID Index No. Name                       Street Address                 City           State        Postal Code   County         Country
         0171 034047.20 Sigma Chi Fraternity     3809 Locust Walk               Philadelphia   Pennsylvania 19104-3692    Philadelphia   United States
                                                                                                                                         of America
         0172 034047.20 Delta Phi Fraternity     3627 Locust Walk               Philadelphia   Pennsylvania 19104-3877    Philadelphia   United States
                                                                                                                                         of America
         0094 034047.20 Graduate Student         3615 Locust Walk               Philadelphia   Pennsylvania 19104-6240    Philadelphia   United States
                        Center and Family                                                                                                of America
                        Resource Center
         0173 034047.20 Phi Gamma Delta          3619 Locust Walk               Philadelphia   Pennsylvania 19104-6240    Philadelphia   United States
                        Fraternity                                                                                                       of America
         0174 034047.20 Psi Upsilon Fraternity   250 S 36th St                  Philadelphia   Pennsylvania 19104-3806    Philadelphia   United States
                        (The Castle)                                                                                                     of America
         0175 034047.20 Phi Delta Theta          3700 Locust Walk               Philadelphia   Pennsylvania 19104-3794    Philadelphia   United States
                        Fraternity                                                                                                       of America
         0176 034047.20 Delta Kappa Epsilon      307 South 39th Street          Philadelphia   Pennsylvania 19104-4169    Philadelphia   United States
                        Fraternity                                                                                                       of America
         0191 034047.20 Zeta Psi Fraternity      3337 Walnut Street             Philadelphia   Pennsylvania 19104-3466    Philadelphia   United States
                        House                                                                                                            of America
         0177 034047.20 Sigma Alpha Epsilon      3908 Spruce Street             Philadelphia   Pennsylvania 19104-4175    Philadelphia   United States
                        Fraternity                                                                                                       of America
         0179 034047.20 Phi Kappa Alpha          3916 Spruce Street             Philadelphia   Pennsylvania 19104-4177    Philadelphia   United States
                        Fraternity                                                                                                       of America
         0180 034047.20 Chi Omega Sorority       3926 Spruce Street             Philadelphia   Pennsylvania 19104-4180    Philadelphia   United States
                                                                                                                                         of America
         0181 034047.20 Beta Theta Pi            3900-3902 Spruce Street        Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Fraternity                                                                                                       of America
         0182 034047.20 Sigma Alpha Mu           3817 Walnut Street             Philadelphia   Pennsylvania 19104-3690    Philadelphia   United States
                        Fraternity                                                                                                       of America
         0183 034047.20 Sigma Phi Epsilon        4028 Walnut Street             Philadelphia   Pennsylvania 19104-3514    Philadelphia   United States
                        Fraternity                                                                                                       of America
         0184 034047.20 Kappa Sigma              3706 Locust Walk               Philadelphia   Pennsylvania 19104-3795    Philadelphia   United States
                        Fraternity                                                                                                       of America
         0185 034047.20 Tau Epsilon Phi          3805-07 Walnut Street          Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Fraternity                                                                                                       of America

                                                                           Page 21
                                                                                                                                     Case ID: 210900124
                                                                                                                                  POLICY-100
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 134 of 172


                                                                  SCHEDULE OF LOCATIONS                                     Account No. 1-56307
                                                                      APPENDIX A                                             Policy No. 1056619

Loc. No. ID Index No. Name                       Street Address               City           State        Postal Code   County         Country
         0186 034047.20 Kappa Alpha Theta        130-132 South 39th St        Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Sorority                                                                                                       of America
         0187 034047.20 Sigma Delta Tau          3831-33 Walnut Street        Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Sorority                                                                                                       of America
         0188 034047.20 Alpha Delta Pi           3906 Spruce Street           Philadelphia   Pennsylvania 19104-4113    Philadelphia   United States
                        Sorority                                                                                                       of America
         0192 034047.20 Kappa Alpha Theta        130-2 S. 39th Street         Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Fraternity                                                                                                     of America
         0633 034047.20 Presbyterian Medical     3615 Chestnut Street         Philadelphia   Pennsylvania 19104-2612    Philadelphia   United States
                        Center - Ralston                                                                                               of America
                        House, Institute for
                        Aging
         0032 034047.20 New College House at     3335 Woodland Walk           Philadelphia   Pennsylvania 19104-4531    Philadelphia   United States
                        Hill Field                                                                                                     of America
         0108           Penn Violence            3539 Locust Walk             Philadelphia   Pennsylvania 19104-6211    Philadelphia   United States
                        Prevention                                                                                                     of America
         0690           One Drexel Plaza         3025 Market St               Philadelphia   Pennsylvania 19104-2877    Philadelphia   United States
                        (UPHS                                                                                                          of America
                        Finance/Accounting)
         0109           Real Estate Office       3817-39 Market Street        Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                       of America
         0656           4536 Spruce Street       4536 Spruce St               Philadelphia   Pennsylvania 19139-4553    Philadelphia   United States
                        (UPHS Lease)                                                                                                   of America
         0657           University City Family   4623 Spruce St               Philadelphia   Pennsylvania 19139-4598    Philadelphia   United States
                        Medicine                                                                                                       of America
         0699 034047.20 Hillel at Steinhardt     215 S 39th St                Philadelphia   Pennsylvania 19104-6186    Philadelphia   United States
                        Hall                                                                                                           of America
         0704 034047.20 UCA Properties           3829 Walnut St               Philadelphia   Pennsylvania 19104-3604    Philadelphia   United States
                                                                                                                                       of America
         0705 034047.20 UPHS Corporate -         4136 Market St               Philadelphia   Pennsylvania 19104-3004    Philadelphia   United States
                        Parking Lot                                                                                                    of America
         0706 034047.20 UPHS Education           4040 Market St               Philadelphia   Pennsylvania 19104-3003    Philadelphia   United States
                        Office Building                                                                                                of America

                                                                         Page 22
                                                                                                                                   Case ID: 210900124
                                                                                                                                POLICY-101
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 135 of 172


                                                                 SCHEDULE OF LOCATIONS                                    Account No. 1-56307
                                                                     APPENDIX A                                            Policy No. 1056619

Loc. No. ID Index No. Name                  Street Address                  City           State        Postal Code   County         Country
         0710 034047.20 PPMC - Medical Arts 3801 Filbert St                 Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Building                                                                                                     of America
         0711 034047.20 UCA Properties      4002 Pine St                    Philadelphia   Pennsylvania 19104-4132    Philadelphia   United States
                                                                                                                                     of America
         0712 034047.20 UCA Properties          4015 Chestnut St            Philadelphia   Pennsylvania 19104-3019    Philadelphia   United States
                                                                                                                                     of America
         0713 034047.20 UCA Properties          4114 Spruce St              Philadelphia   Pennsylvania 19104-4079    Philadelphia   United States
                                                                                                                                     of America
         0714 034047.20 UCA Properties          4020 Market St              Philadelphia   Pennsylvania 19104-3003    Philadelphia   United States
                                                                                                                                     of America
         0715 034047.20 UCA Properties          4022 Market St              Philadelphia   Pennsylvania 19104-3003    Philadelphia   United States
                                                                                                                                     of America
2        0556 001416.48 Perelman Center for 3400 Civic Center Boulevard     Philadelphia   Pennsylvania 19104-4306    Philadelphia   United States
                        Advanced Medicine                                                                                            of America
         0612 001416.48 Perelman Center for 3400 Civic Center Boulevard     Philadelphia   Pennsylvania 19104-5127    Philadelphia   United States
                        Advanced Medicine -                                                                                          of America
                        Smilow Center for
                        Translational Research

         0557 001416.48 Perelman Center for 3400 Civic Center Boulevard     Philadelphia   Pennsylvania 19104-5127    Philadelphia   United States
                        Advanced Medicine -                                                                                          of America
                        South Pavilion
         0558 001416.48 Perelman Center for 3600 Civic Center Boulevard     Philadelphia   Pennsylvania 19104-4310    Philadelphia   United States
                        Advanced Medicine -                                                                                          of America
                        Parking Garage
3        0574 037379.75 Penn Medicine Radnor 250 King of Prussia Road       Radnor         Pennsylvania 19087-5220    Delaware       United States
                                                                                                                                     of America
4        0615 036342.11 Presbyterian Medical    310-324 Sloan St.           Philadelphia   Pennsylvania 19119         Philadelphia   United States
                        Center - Sloan Street                                                                                        of America
                        Warehouse
         0619 036342.11 Presbyterian Medical    51 North 39th Street        Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center - Generator                                                                                           of America
                        Building

                                                                       Page 23
                                                                                                                                 Case ID: 210900124
                                                                                                                              POLICY-102
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 136 of 172
4

                                                              SCHEDULE OF LOCATIONS                                       Account No. 1-56307
                                                                  APPENDIX A                                               Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address              City           State        Postal Code   County         Country
         0630 036342.11 Presbyterian Medical    51 North 39th Street        Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center - Saunders                                                                                            of America
                        House/Presbyterian
                        House
         0631 036342.11 Presbyterian Medical    51 North 39th Street        Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center - Courtland                                                                                           of America
                        Health Care, Inc.
         0626 036342.11 Presbyterian Medical    51 North 39th Street        Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center - Pavilion for                                                                                        of America
                        Advanced Care
         0616 036342.11 Presbyterian Medical    51 North 39th Street        Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center - Philadelphia                                                                                        of America
                        Heart Institute
         0617 036342.11 Presbyterian Medical    51 North 39th Street        Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center - Medical                                                                                             of America
                        Offices - 3910
                        Building
         0618 036342.11 Presbyterian Medical    51 North 39th Street        Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center - Boiler House                                                                                        of America
         0620 036342.11 Presbyterian Medical    51 North 39th Street        Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center - Mutch                                                                                               of America
                        Building - Clinic
         0621 036342.11 Presbyterian Medical    51 North 39th Street        Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center -Mabel Pew                                                                                            of America
                        Myrin Pavilion -
                        Emergency Room and
                        Clinic
         0622 036342.11 Presbyterian Medical    51 North 39th Street        Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center - Parking                                                                                             of America
                        Garage
         0623 036342.11 Presbyterian Medical    51 North 39th Street        Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center - Scheie Eye                                                                                          of America
                        Institute

                                                                       Page 24
                                                                                                                                 Case ID: 210900124
                                                                                                                              POLICY-103
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 137 of 172


                                                             SCHEDULE OF LOCATIONS                                      Account No. 1-56307
                                                                 APPENDIX A                                              Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address            City           State        Postal Code   County         Country
         0624 036342.11 Presbyterian Medical 51 North 39th Street         Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center - Cupp                                                                                              of America
                        Building - Radiology,
                        Patient Rooms &
                        Offices
         0627 036342.11 Presbyterian Medical 51 North 39th Street         Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center - Wright                                                                                            of America
                        Saunders Building
         0628 036342.11 Presbyterian Medical 51 North 39th Street         Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center - Peco Building                                                                                     of America
                        - Storage
         0629 036342.11 Presbyterian Medical 51 North 39th Street         Philadelphia   Pennsylvania 19104-2692    Philadelphia   United States
                        Center - Site                                                                                              of America
                        Improvements
         0625 036342.11 Penn Presbyterian       3737 Market Street        Philadelphia   Pennsylvania 19104-5545    Philadelphia   United States
                        Medicine University                                                                                        of America
                        City
5        0584 036249.54 Pennsylvania Hospital - 800 Spruce Street         Philadelphia   Pennsylvania 19107-6130    Philadelphia   United States
                        Spruce Building                                                                                            of America
         0594 036249.54 Pennsylvania Hospital - 800 Spruce Street         Philadelphia   Pennsylvania 19107-6130    Philadelphia   United States
                        Gatehouse                                                                                                  of America
         0598 036249.54 Pennsylvania Hospital - 303 S 8th Street          Philadelphia   Pennsylvania 19106-4001    Philadelphia   United States
                        President's House,                                                                                         of America
                        Admin Residence
         0585 036249.54 Pennsylvania Hospital - 800 Spruce Street         Philadelphia   Pennsylvania 19107-6130    Philadelphia   United States
                        Schiedt Building                                                                                           of America
         0586 036249.54 Pennsylvania Hospital - 800 Spruce Street         Philadelphia   Pennsylvania 19107-6130    Philadelphia   United States
                        Preston Building                                                                                           of America
         0587 036249.54 Pennsylvania Hospital - 800 Spruce Street         Philadelphia   Pennsylvania 19107-6130    Philadelphia   United States
                        Widener Building                                                                                           of America
         0588 036249.54 Pennsylvania Hospital - 800 Spruce Street         Philadelphia   Pennsylvania 19107-6130    Philadelphia   United States
                        Cathcart Building                                                                                          of America


                                                                     Page 25
                                                                                                                               Case ID: 210900124
                                                                                                                            POLICY-104
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 138 of 172


                                                               SCHEDULE OF LOCATIONS                                       Account No. 1-56307
                                                                   APPENDIX A                                               Policy No. 1056619

Loc. No. ID Index No. Name                    Street Address                 City           State        Postal Code   County         Country
         0589 036249.54 Pennsylvania Hospital 800 Spruce Street              Philadelphia   Pennsylvania 19107-6130    Philadelphia   United States
                                                                                                                                      of America
         0590 036249.54 Pennsylvania Hospital - 301 South 8th Street         Philadelphia   Pennsylvania 19106-4001    Philadelphia   United States
                        Duncan Building                                                                                               of America
         0605 036249.54 Pennsylvania Hospital - 700 Spruce Street            Philadelphia   Pennsylvania 19106-4022    Philadelphia   United States
                        J. Edwin Wood Clinic                                                                                          of America

         0591 036249.54 Pennsylvania Hospital - 727 Delancey Street          Philadelphia   Pennsylvania 19106-4002    Philadelphia   United States
                        Garage 1                                                                                                      of America
         0592 036249.54 Pennsylvania Hospital - 727 Delancey Street          Philadelphia   Pennsylvania 19106-4002    Philadelphia   United States
                        Garage 2                                                                                                      of America
         0593 036249.54 Pennsylvania Hospital - 800 Spruce Street            Philadelphia   Pennsylvania 19107-6130    Philadelphia   United States
                        Pine Building                                                                                                 of America
         0595 036249.54 Pennsylvania Hospital - 800 Spruce Street            Philadelphia   Pennsylvania 19107-6130    Philadelphia   United States
                        Ayer Building                                                                                                 of America
         0596 036249.54 Pennsylvania Hospital - 800 Spruce Street            Philadelphia   Pennsylvania 19107-6130    Philadelphia   United States
                        Townhouse                                                                                                     of America
         0597 036249.54 Pennsylvania Hospital - 727 Delancey Street          Philadelphia   Pennsylvania 19106-4002    Philadelphia   United States
                        Harte Memorial                                                                                                of America
                        Building
         0599 036249.54 Pennsylvania Hospital - 800 Spruce Street            Philadelphia   Pennsylvania 19107-6130    Philadelphia   United States
                        Yard                                                                                                          of America
         0600 036249.54 Pennsylvania Hospital - 800 Spruce Street            Philadelphia   Pennsylvania 19107-6130    Philadelphia   United States
                        Eq. Lds. Sp, Con                                                                                              of America
                        Lds.Sp,Exc Mach
         0601 036249.54 Pennsylvania Hospital - 800 South 8th Street         Philadelphia   Pennsylvania 19147-2821    Philadelphia   United States
                        Lerner Building                                                                                               of America
         0602 036249.54 Pennsylvania Hospital - 230 West Washington Square   Philadelphia   Pennsylvania 19106-3585    Philadelphia   United States
                        Farm Journal Building                                                                                         of America

         0603 036249.54 Pennsylvania Hospital - 800 Spruce Street            Philadelphia   Pennsylvania 19107-6130    Philadelphia   United States
                        Pin                                                                                                           of America


                                                                       Page 26
                                                                                                                                  Case ID: 210900124
                                                                                                                               POLICY-105
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 139 of 172


                                                              SCHEDULE OF LOCATIONS                                          Account No. 1-56307
                                                                  APPENDIX A                                                  Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address                 City           State        Postal Code   County         Country
         0604 036249.54 Pennsylvania Hospital - 727 Delancey Street            Philadelphia   Pennsylvania 19106-4002    Philadelphia   United States
                        Carriage House                                                                                                  of America
         0606 036249.54 Pennsylvania Hospital - 229 S 8th St                   Philadelphia   Pennsylvania 19106-3519    Philadelphia   United States
                        Malloy                                                                                                          of America
6        0684 000967.14 Chestnut Hill Hospital -8835 Germantown Avenue         Philadelphia   Pennsylvania 19118-2718    Philadelphia   United States
                        Obstetrics and                                                                                                  of America
                        Gynecology
7        0568 002188.28 Penn Medicine at        1001 Chesterbrook Boulevard    Berwyn         Pennsylvania 19312-3803    Chester        United States
                        Valley Forge                                                                                                    of America
8        0637 035706.14 Children's Hospital of 34th St. and Civic Center       Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        Philadelphia            Boulevard Floors 8-12                                                                   of America
9        0638 037044.11 UPHS Clinical           150 Monument Road              Bala Cynwyd    Pennsylvania 19004-1702    Montgomery     United States
                        Practices - Home Care                                                                                           of America
                        & Hospice Service

10       0639 000613.31 UPHS Clinical           3020 Market Street             Philadelphia   Pennsylvania 19104-2999    Philadelphia   United States
                        Practices -                                                                                                     of America
                        Histology/Cytology
                        and General Office
                        Administration
11       0213 035034.22 Perelman School of      3535 Market Street, Floors 2-6 Philadelphia   Pennsylvania 19104-3309    Philadelphia   United States
                        Medicine - PSOM                                                                                                 of America
                        Psychiatry
         0093 035034.22 Student Health          3535 Market Street             Philadelphia   Pennsylvania 19104-3309    Philadelphia   United States
                        Services                                                                                                        of America
12       0640 036581.01 UPHS Clinical           1500 Market Street Fl 8-11     Philadelphia   Pennsylvania 19102-2100    Philadelphia   United States
                        Practices -                                                                                                     of America
                        Administration
13       0641 036916.52 UPHS Clinical           3001 Market Street             Philadelphia   Pennsylvania 19104-2800    Philadelphia   United States
                        Practices - Bulletin                                                                                            of America
                        Building



                                                                        Page 27
                                                                                                                                     Case ID: 210900124
                                                                                                                                   POLICY-106
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 140 of 172


                                                                 SCHEDULE OF LOCATIONS                                         Account No. 1-56307
                                                                     APPENDIX A                                                 Policy No. 1056619

Loc. No. ID Index No. Name                     Street Address                    City           State        Postal Code   County          Country
14       0642 002083.74 UPHS Clinical          3701 Market Street                Philadelphia   Pennsylvania 19104-5502    Philadelphia    United States
                        Practices - University                                                                                             of America
                        City Science Center
15       0644           UPHS Clinical          11 Friends Lane                   Newtown        Pennsylvania 18940-1885    Bucks           United States
                        Practices - Department                                                                                             of America
                        of Radiology

16       0507           UPHS Clinical             1209 Ward Avenue               West Chester   Pennsylvania 19380-4200    Chester         United States
                        Practices                                                                                                          of America
23       0647           UPHS Clinical             605 West State Street, 2nd     Media          Pennsylvania 19063-2620    Delaware        United States
                        Practices - Penn          Floor                                                                                    of America
                        Internal Medicine
                        Media
24       0648 002356.42 UPHS Clinical             595 West State Street          Doylestown     Pennsylvania 18901-2554    Bucks           United States
                        Practices - Doylestown                                                                                             of America
                        Hospital Medical
                        Office Building

25       0649             UPHS Clinical           1501 Lansdowne Avenue Suite Darby             Pennsylvania 19023-1333    Delaware        United States
                          Practices - Mercy       208                                                                                      of America
                          Fitzgerald Medical
                          Office Building,
                          Scheie Eye Institute
27       0650             UPHS Clinical           3549 Chestnut St, 9th Floor.   Mays Landing   New Jersey   08330-8908    Atlantic        United States
                          Practices - Sleep                                                                                                of America
                          Center, Sheraton
                          University City Hotel
28       0651             UPHS Clinical           155 Medical Center Way, 2nd May's Landing     New Jersey   08330         Atlantic        United States
                          Practices - Penn        Floor                                                                                    of America
                          Cardiology Somers
                          Point at Shore
                          Memorial Cancer
                          Center

                                                                           Page 28
                                                                                                                                        Case ID: 210900124
                                                                                                                                      POLICY-107
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 141 of 172


                                                           SCHEDULE OF LOCATIONS                                         Account No. 1-56307
                                                               APPENDIX A                                                 Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address           City             State        Postal Code   County         Country
32       0583 036254.12 Pennsylvania Hospital - 800 Walnut Street        Philadelphia     Pennsylvania 19107-5109    Philadelphia   United States
                        Penn Medicine                                                                                               of America
                        Washington Square
34       0287 037415.16 New Bolton Center - 382 West Street Road         Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Jeffords Treadmill-                                                                                         of America
                        Horse Training
         0383           School of Veterinary 368 West Street Road        Kennett Square   Pennsylvania 19348-1618    Chester        United States
                        Medicine                                                                                                    of America
         0288 037415.16 New Bolton Center - 382 West Street Road         Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Farm Manager.                                                                                               of America
                        Dwelling (Heim)
         0289 037415.16 New Bolton Center - 382 West Street Road         Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Allam Carriage Barn                                                                                         of America
                        Iv03, Building 19
         0290 037415.16 New Bolton Center - 382 West Street Road         Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Murphy Mastitis Lab                                                                                         of America
                        Ivo6 Building 31
         0291 037415.16 New Bolton Center - 382 West Street Road         Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Pathology Building 4,                                                                                       of America
                        Ivo9
         0292 037415.16 New Bolton Center - 382 West Street Road         Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Poultry Diagnostic                                                                                          of America
                        Lab - Dwelling 2Vo3
                        Poultry Office
                        Building 46
         0293 037415.16 New Bolton Center - 382 West Street Road         Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Boucher Field Service                                                                                       of America
                        Building/House
         0296 037415.16 New Bolton Center - 382 West Street Road         Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Havemyer Barn 5V04,                                                                                         of America
                        Building 42
         0308 037415.16 New Bolton Center - 382 West Street Road         Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Barn/Dairy No. 37                                                                                           of America

                                                                    Page 29
                                                                                                                                 Case ID: 210900124
                                                                                                                               POLICY-108
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 142 of 172


                                                              SCHEDULE OF LOCATIONS                                        Account No. 1-56307
                                                                  APPENDIX A                                                Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address              City             State        Postal Code   County         Country
         0309 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Barn & Silo Ivo8,                                                                                              of America
                        Building 23
         0310 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Dwelling /Twin51                                                                                               of America
                        3V01 Building 31
         0311 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Dwelling/Alex House                                                                                            of America
                        4V03, Building 36
         0312 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Pump House/Suction                                                                                             of America
                        Tank Iv30
         0313 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Dwelling                                                                                                       of America
         0314 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        New Poultry Facility                                                                                           of America
         0315 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Dwelling No. 35,                                                                                               of America
                        Building 35
         0316 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Barn, Building 50                                                                                              of America
         0317 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Dairy Barn Poultry                                                                                             of America
                        Barn Building 48
         0318 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Byrd Road                                                                                                      of America
         0319 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Guest House Hill,                                                                                              of America
                        Building 21
         0320 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Barn C/Animal Stable,                                                                                          of America
                        Building 9


                                                                       Page 30
                                                                                                                                    Case ID: 210900124
                                                                                                                                  POLICY-109
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 143 of 172


                                                              SCHEDULE OF LOCATIONS                                        Account No. 1-56307
                                                                  APPENDIX A                                                Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address              City             State        Postal Code   County         Country
         0321 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Richardson House                                                                                               of America
         0322 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Stubbs Research (Bio                                                                                           of America
                        Hazard) Building. No.
                        30
         0323 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Barn B/Animal Stable                                                                                           of America
                        Iv18, Building 8
         0324 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Barn A/Animal Stable                                                                                           of America
                        Iv17, Building 7
         0325 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        368 W. Street Rd.                                                                                              of America
                        (Res)
         0326 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Barn D/Cow Barn                                                                                                of America
                        Iv20, Building 10
         0327 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        NC Dwelling, Old                                                                                               of America
                        Admin, Building 18,
                        Deans
         0328 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Poultry Research                                                                                               of America
         0329 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Isolation Barn 1,                                                                                              of America
                        Building 11
         0330 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Silo                                                                                                           of America
         0331 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Swine House                                                                                                    of America



                                                                       Page 31
                                                                                                                                    Case ID: 210900124
                                                                                                                                  POLICY-110
                                 Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 144 of 172


                                                              SCHEDULE OF LOCATIONS                                        Account No. 1-56307
                                                                  APPENDIX A                                                Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address              City             State        Postal Code   County         Country
         0332 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Shop/Storage Shed,                                                                                             of America
                        Building 49
         0333 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Foster Nurse Barn B,                                                                                           of America
                        Building 28
         0334 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Foster Nurse Barn D,                                                                                           of America
                        Building 29
         0335 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Loaf Shed A                                                                                                    of America
         0336 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Loaf Shed C                                                                                                    of America
         0337 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Silo                                                                                                           of America
         0338 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Storage Barn B                                                                                                 of America
                        Building 39
         0339 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Outpatient Building,                                                                                           of America
                        Building 6
         0340 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Silo                                                                                                           of America
         0341 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Milk Shed House                                                                                                of America
                        Poultry Necropsy
                        Building 47
         0342 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        New Pole Barn -                                                                                                of America
                        Haybarn No. 33
         0343 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Storage Barn A No. 38                                                                                          of America


                                                                       Page 32
                                                                                                                                    Case ID: 210900124
                                                                                                                                  POLICY-111
                                 Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 145 of 172


                                                              SCHEDULE OF LOCATIONS                                        Account No. 1-56307
                                                                  APPENDIX A                                                Policy No. 1056619

Loc. No. ID Index No. Name                   Street Address                 City             State        Postal Code   County         Country
         0344 037415.16 New Bolton Center - 382 West Street Road            Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Mach. Shop/Corn Crib                                                                                           of America

         0345 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Storage Shed                                                                                                   of America
                        (Hoffman Horse Shed)
         0346 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        #80 Poultry Virology                                                                                           of America
                        Building 45 Form.
                        Woodchuck Research
         0347 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Pole Barn                                                                                                      of America
         0348 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Pole Barn/Storage                                                                                              of America
                        Crib Building 43
         0349 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Radio Tower & Yard                                                                                             of America
         0350 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Leukemia Isolation                                                                                             of America
         0351 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Loaf Shed E                                                                                                    of America
         0352 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Loaf Shed H                                                                                                    of America
         0353 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Loaf Shed K                                                                                                    of America
         0354 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Loaf Shed L                                                                                                    of America
         0355 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Trailer No. 5                                                                                                  of America
         0356 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Hay Storage Building,                                                                                          of America
                        Building 12


                                                                       Page 33
                                                                                                                                    Case ID: 210900124
                                                                                                                                  POLICY-112
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 146 of 172


                                                              SCHEDULE OF LOCATIONS                                        Account No. 1-56307
                                                                  APPENDIX A                                                Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address              City             State        Postal Code   County         Country
         0357 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Garage                                                                                                         of America
         0358 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Pole Barn                                                                                                      of America
         0359 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        #81 Pole Sheep Barn                                                                                            of America
         0360 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Canine Pump House                                                                                              of America
                        Building 32, Leasing
         0361 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Shed, Niap                                                                                                     of America
         0362 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Poultry House                                                                                                  of America
         0363 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Sewage Treatment Plt,                                                                                          of America
                        Building 34
         0364 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Nutrition Barn                                                                                                 of America
         0365 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Storage Shed                                                                                                   of America
                        (Incubation House)
         0366 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        #82 Pole Sheep Barn                                                                                            of America
         0367 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Storage Garage                                                                                                 of America
         0368 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Pump House at Swine                                                                                            of America
                        Facility
         0369 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Storage Garage                                                                                                 of America
         0370 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Field Barn                                                                                                     of America


                                                                       Page 34
                                                                                                                                    Case ID: 210900124
                                                                                                                                  POLICY-113
                                 Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 147 of 172


                                                              SCHEDULE OF LOCATIONS                                        Account No. 1-56307
                                                                  APPENDIX A                                                Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address              City             State        Postal Code   County         Country
         0371 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Pole Barn                                                                                                      of America
         0372 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        #1 Corn Crib                                                                                                   of America
         0373 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        #2 Corn Crib                                                                                                   of America
         0374 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        #3 Corn Crib                                                                                                   of America
         0375 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        #4 Corn Crib                                                                                                   of America
         0376 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        A Corn Crib                                                                                                    of America
         0377 037415.16 New Bolton Center - B   382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Corn Crib                                                                                                      of America
         0378 037415.16 New Bolton Center - C   382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Corn Crib                                                                                                      of America
         0379 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Corn Silo                                                                                                      of America
         0294 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        General Research Lab                                                                                           of America
                        Ivo7, Building 24
         0295 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Scott Sports Med                                                                                               of America
                        Building
         0297 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Allam House Iv14,                                                                                              of America
                        Building 22
         0298 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Hoffman Resch Center                                                                                           of America
                        5V04 Building 41




                                                                       Page 35
                                                                                                                                    Case ID: 210900124
                                                                                                                                  POLICY-114
                                 Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 148 of 172


                                                              SCHEDULE OF LOCATIONS                                        Account No. 1-56307
                                                                  APPENDIX A                                                Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address              City             State        Postal Code   County         Country
         0299 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Alumni Hall - Dining                                                                                           of America
                        Hall/Dorm, Iv16,
                        Building 20
         0300 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Cm Kline Building,                                                                                             of America
                        Building 2 Ivo2
         0301 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Bovine Leukemia                                                                                                of America
                        Research Lab Ivo5,
                        Building 27
         0302 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Marshak Dairy Barn                                                                                             of America
                        Center - Line Rd
         0303 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        A. Myrin Res Center                                                                                            of America
                        Ivo3, Building 26
         0304 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Widener Large Animal                                                                                           of America
                        Hospital & ICU/NICU

         0305 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Main Dwelling No. 43                                                                                           of America
         0306 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Dwelling Package                                                                                               of America
                        7V01-7V06, Building
                        15,16, & 17
         0307 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Center For Animal                                                                                              of America
                        Health & Productivity
         0380 037415.16 New Bolton Center -     382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Mobile Equipment                                                                                               of America


                                                                       Page 36
                                                                                                                                    Case ID: 210900124
                                                                                                                                  POLICY-115
                                 Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 149 of 172


                                                            SCHEDULE OF LOCATIONS                                         Account No. 1-56307
                                                                APPENDIX A                                                 Policy No. 1056619

Loc. No. ID Index No. Name                    Street Address              City             State        Postal Code   County         Country
         0381 037415.16 New Bolton Center -   382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        School Of                                                                                                    of America
                        Veterinarian
                        Medicine,
                        Isolation/Colic &
                        Digester
         0382 037415.16 New Bolton Center -   382 West Street Road        Kennett Square   Pennsylvania 19348-1692    Chester        United States
                        Neo Natal Center                                                                                             of America
35       0123 036813.59 Morris Arboretum -    100 Northwestern Avenue     Philadelphia     Pennsylvania 19118-2697    Philadelphia   United States
                        Barn 1                                                                                                       of America
         0124 036813.59 Morris Arboretum -    100 Northwestern Avenue     Philadelphia     Pennsylvania 19118-2697    Philadelphia   United States
                        Barn 2                                                                                                       of America
         0125 036813.59 Morris Arboretum -    100 Northwestern Avenue     Philadelphia     Pennsylvania 19118-2697    Philadelphia   United States
                        Boiler House                                                                                                 of America
         0126 036813.59 Morris Arboretum -    100 Northwestern Avenue     Philadelphia     Pennsylvania 19118-2697    Philadelphia   United States
                        Carriage House                                                                                               of America
         0127 036813.59 Morris Arboretum -    100 Northwestern Avenue     Philadelphia     Pennsylvania 19118-2697    Philadelphia   United States
                        Farm House                                                                                                   of America
         0128 036813.59 Morris Arboretum -    100 Northwestern Avenue     Philadelphia     Pennsylvania 19118-2697    Philadelphia   United States
                        Fernery                                                                                                      of America
         0129 036813.59 Morris Arboretum -    100 Northwestern Avenue     Philadelphia     Pennsylvania 19118-2697    Philadelphia   United States
                        Gardner's Cottage                                                                                            of America
         0131 036813.59 Morris Arboretum -    100 Northwestern Avenue     Philadelphia     Pennsylvania 19118-2697    Philadelphia   United States
                        Greenhouse No 1                                                                                              of America
         0132 036813.59 Morris Arboretum -    100 Northwestern Avenue     Philadelphia     Pennsylvania 19118-2697    Philadelphia   United States
                        Greenhouse No 2                                                                                              of America
         0133 036813.59 Morris Arboretum -    100 Northwestern Avenue     Philadelphia     Pennsylvania 19118-2697    Philadelphia   United States
                        Greenhouse No 3                                                                                              of America
         0134 036813.59 Morris Arboretum -    100 Northwestern Avenue     Philadelphia     Pennsylvania 19118-2697    Philadelphia   United States
                        Greenhouse No 4                                                                                              of America
         0135 036813.59 Morris Arboretum -    100 Northwestern Avenue     Philadelphia     Pennsylvania 19118-2697    Philadelphia   United States
                        Grist Mill                                                                                                   of America


                                                                     Page 37
                                                                                                                                  Case ID: 210900124
                                                                                                                                POLICY-116
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 150 of 172


                                                             SCHEDULE OF LOCATIONS                                       Account No. 1-56307
                                                                 APPENDIX A                                               Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address             City           State        Postal Code   County         Country
         0136 036813.59 Morris Arboretum -      100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Head House                                                                                                  of America
         0137 036813.59 Morris Arboretum -      100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Hillcrest St Entrance                                                                                       of America
         0138 036813.59 Morris Arboretum -      100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Log Cabin                                                                                                   of America
         0139 036813.59 Morris Arboretum -      100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Maintenance Building                                                                                        of America
         0140 036813.59 Morris Arboretum -      100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Miller's Cottage                                                                                            of America
         0141 036813.59 Morris Arboretum -      100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Pump House                                                                                                  of America
         0142 036813.59 Morris Arboretum -      100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Rest Room Building                                                                                          of America
         0143 036813.59 Morris Arboretum -      100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Slat House                                                                                                  of America
         0144 036813.59 Morris Arboretum -      100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Storage Shed -1                                                                                             of America
         0145 036813.59 Morris Arboretum -      100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Storage Shed-2                                                                                              of America
         0146 036813.59 Morris Arboretum -      100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Storage Shed-1 Aviary                                                                                       of America

         0147 036813.59 Morris Arboretum - 100 Northwestern Avenue         Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Storage Shed-2 Aviary                                                                                       of America

         0148 036813.59 Morris Arboretum -      100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Studio Building                                                                                             of America
         0150 036813.59 Morris Arboretum -      100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Aviary Building                                                                                             of America
         0151 036813.59 Morris Arboretum -      100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Mobile Equipment                                                                                            of America


                                                                      Page 38
                                                                                                                                Case ID: 210900124
                                                                                                                             POLICY-117
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 151 of 172


                                                            SCHEDULE OF LOCATIONS                                       Account No. 1-56307
                                                                APPENDIX A                                               Policy No. 1056619

Loc. No. ID Index No. Name                     Street Address             City           State        Postal Code   County         Country
         0154 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Bridge Entrance                                                                                            of America
         0155 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Seven Arches                                                                                               of America
         0157 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Step Fountain                                                                                              of America
         0158 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Orange Balustrade                                                                                          of America
         0159 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Overlook Garden                                                                                            of America
         0160 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Lover Tower                                                                                                of America
         0161 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Rose Garden                                                                                                of America
                        Gazebo/Walls
         0162 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Oak Alee-                                                                                                  of America
                        Arbors/Walls
         0130 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Gates Hall                                                                                                 of America
         0149 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Widener Hall                                                                                               of America
         0152 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Trees/Shrubs                                                                                               of America
         0153 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Fence                                                                                                      of America
         0156 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Mercury Loggia                                                                                             of America
         0163 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Bridges/Walls                                                                                              of America
         0164 036813.59 Morris Arboretum -     100 Northwestern Avenue    Philadelphia   Pennsylvania 19118-2697    Philadelphia   United States
                        Horticultural Center                                                                                       of America
                        Phase I

                                                                     Page 39
                                                                                                                               Case ID: 210900124
                                                                                                                            POLICY-118
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 152 of 172


                                                                 SCHEDULE OF LOCATIONS                                           Account No. 1-56307
                                                                     APPENDIX A                                                   Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address                   City             State        Postal Code   County         Country
         0165 036813.59 Morris Arboretum -      100 Northwestern Avenue          Philadelphia     Pennsylvania 19118-2697    Philadelphia   United States
                        Out On a Limb Tree                                                                                                  of America
                        Adventure
36       0089 021370.78 Penn Club               30 West 44th Street              New York         New York     10036-6604    New York       United States
                                                                                                                                            of America
38       0571 033162.47 Penn Medicine Cherry    1865 Marlton Pike, Route 70      Cherry Hill      New Jersey   08003-2013    Camden         United States
                        Hill                                                                                                                of America
40       0577 034079.04 Tuttleman Center        1840 South Street                Philadelphia     Pennsylvania 19146-7411    Philadelphia   United States
                        Medical Center                                                                                                      of America
         0578 034079.04 Penn Medicine           1800 Lombard Street              Philadelphia     Pennsylvania 19146-1414    Philadelphia   United States
                        Rittenhouse                                                                                                         of America
         0579 034079.04 Tuttleman Center        1700 South Street                Philadelphia     Pennsylvania 19146-1529    Philadelphia   United States
                        Medical Center -                                                                                                    of America
                        Parking Garage
43       0246 036349.03 Science Center          3600 Market Street               Philadelphia     Pennsylvania 19104-3284    Philadelphia  United States
                                                                                                                                           of America
45       0091 036582.13 WXPN World Café         3025 Walnut Street               Philadelphia     Pennsylvania 19104-3402    Philadelphia United States
                        Live                                                                                                               of America
46       0048 036813.58 Boat House              11 Kelly Drive                   Philadelphia     Pennsylvania 19130         Philadelphia United States
                                                                                                                                           of America
51       0384            School of Veterinary   428 Bartram Road                 Kennett Square   Pennsylvania 19348-1602    Chester       United States
                         Medicine                                                                                                          of America
53       0101                                   16 North 42nd Street             Philadelphia     Pennsylvania 19104-2203    Philadelphia United States
                                                                                                                                           of America
54       0102           DAR Los Angeles         12300 Wilshire Boulevard         Los Angeles      California   90025-1020    Los Angeles United States
                        Office                                                                                                             of America
55       0092 000704.82 High Density Storage    31 Phoenix Drive                 West Deptford    New Jersey   08086-2156    Gloucester    United States
                        (Libraries/Records)                                                                                                of America
56       0496 001768.64 South Bank -            3401 Grays Ferry Avenue          Philadelphia     Pennsylvania 19146-2701    Philadelphia United States
                        Pennovation Center                                                                                                 of America
58       0395 076471.93 Wharton West            2 Harrison Street Ste 600        San Francisco    California   94105-1672    San Francisco United States
                        Campus                                                                                                             of America


                                                                            Page 40
                                                                                                                                        Case ID: 210900124
                                                                                                                                      POLICY-119
                                Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 153 of 172


                                                             SCHEDULE OF LOCATIONS                                           Account No. 1-56307
                                                                 APPENDIX A                                                   Policy No. 1056619

Loc. No. ID Index No. Name                     Street Address                  City           State        Postal Code   County         Country
59       0103         Storage                  2240 Island Avenue              Philadelphia   Pennsylvania 19142-1006    Philadelphia   United States
                                                                                                                                        of America
61      0104            TV Tower &             369 Wigard Avenue               Philadelphia   Pennsylvania 19128-4146    Philadelphia   United States
                        Equipmenr Building                                                                                              of America
63      0105            Storage                410 North Budd Street           Philadelphia   Pennsylvania 19104-2245    Philadelphia   United States
                                                                                                                                        of America
65      0256           School of Dental        711 West Lancaster Avenue,      Bryn Mawr      Pennsylvania 19010-3401    Montgomery     United States
                       Medicine                Suire 100                                                                                of America
68      0004           Annenberg School for    529 14th Street Northwest       Washington     District of  20045-1000    District of    United States
                       Communication                                                          Columbia                   Columbia       of America
70      0501 002356.45 Warehouse               5001-5011 Lancaster Ave.        Philadelphia   Pennsylvania 19104         Philadelphia   United States
                                                                                                                                        of America
71      0508 037426.02 Chester County          701 East Marshall Street        West Chester   Pennsylvania 19380-4412    Chester        United States
                       Hospital - North                                                                                                 of America
                       Pavilion, South
                       Building, East Wing,
                       Old W. Wing, New
                       West Wing, MRI
                       Building, New Patient
                       Tower, Tower
        0509           Chester County          702 East Marshall Street        West Chester   Pennsylvania 19380-4437    Chester        United States
                       Hospital - ER                                                                                                    of America
                       Ambulance Garage
        0513           Chester County          440 E. Marshall Street, Ste 200 West Chester   Pennsylvania 19380         Chester        United States
                       Hematology/Oncology                                                                                              of America
                       Services
        0518           CCH - Corporate         323 East Marshall Street        West Chester   Pennsylvania 19380-2438    Chester        United States
                       Information Services                                                                                             of America
        0523           CCH - Public            795 East Marshall Street, Suite West Chester   Pennsylvania 19380         Chester        United States
                       Relations, Wellness     G2, 102B2, 103, 201, 203                                                                 of America
                       Department & Call
                       Center


                                                                          Page 41
                                                                                                                                     Case ID: 210900124
                                                                                                                                   POLICY-120
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 154 of 172


                                                               SCHEDULE OF LOCATIONS                                           Account No. 1-56307
                                                                   APPENDIX A                                                   Policy No. 1056619

Loc. No. ID Index No. Name                   Street Address                     City             State        Postal Code   County         Country
         0524 037426.02 CCH - Data Center    600-602 & 606 E. Marshall          West Chester     Pennsylvania 19380         Chester        United States
                                             Street                                                                                        of America
         0527           CCH - Associates for 600 E. Marshall Street, Suite      West Chester     Pennsylvania 19380         Chester        United States
                        Women's Medicine & 205, 205A & B                                                                                   of America
                        ATU
         0530           Chester County       795 East Marshall Street Suite     West Chester     Pennsylvania 19380-4447    Chester        United States
                        Hospital             204                                                                                           of America
         0531           Chester County       400 East Marshall Street           West Chester     Pennsylvania 19380-5412    Chester        United States
                        Hospital                                                                                                           of America
         0534 037426.02 Chester County       701 E Marshall St                  West Chester     Pennsylvania 19380-4412    Chester        United States
                        Hospital - Garage                                                                                                  of America
72       0510           CCH - Encore Shop    1056 East Baltimore Pike           Kennett Square   Pennsylvania 19348-2357    Chester        United States
                                                                                                                                           of America
73       0511           TCCH Business            1244 West Chester Pike         West Chester     Pennsylvania 19382-5687    Chester        United States
                        Office/PPI                                                                                                         of America
74       0512           CCH - Physical           915 Old Fern Hill Road, 1st    West Chester     Pennsylvania 19380         Chester        United States
                        Rehabilitation and       Floor Bldg. A & B, 2nd Floor                                                              of America
                        Sports Medicine &        Bldg. A
                        Cardiac Rehab
76       0514           CCH - Cancer Center      213 Reeceville Road            Coatesville      Pennsylvania 19320-1528    Chester        United States
                        Satellite                                                                                                          of America
77       0515 037430.53 CCH - Schramm Inc.       800 Virginia Ave., Bldg. 9     West Chester     Pennsylvania 19380         Chester        United States
                                                                                                                                           of America
78       0516             CCH - Primary Care,    830 West Cypress Street        Kennett Square   Pennsylvania 19348-2218    Chester        United States
                          Physical Therapy,                                                                                                of America
                          Occupational Health,
                          Cardiac Rehab &
                          Clinic
81       0517             CCH - Radiology         402 McFarlan Road, Suite 201 Kennett Square    Pennsylvania 19348         Chester        United States
                                                  & 204                                                                                    of America
         0519             CCH - Cancer Center 400 McFarlan Road                Kennett Square    Pennsylvania 19348-2477    Chester        United States
                          Satellite Suite 300/Lab                                                                                          of America
                          Suite 301

                                                                           Page 42
                                                                                                                                        Case ID: 210900124
                                                                                                                                      POLICY-121
                                 Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 155 of 172

81
                                                              SCHEDULE OF LOCATIONS                                            Account No. 1-56307
                                                                  APPENDIX A                                                    Policy No. 1056619

Loc. No. ID Index No. Name                      Street Address                 City             State        Postal Code   County          Country
         0521         Chester County            404 McFarlan Road Suite 101    Kennett Square   Pennsylvania 19348-2479    Chester         United States
                      Obstetrics/Gynecology     and 301                                                                                    of America
                      Services. & Kennett
                      Medical Associates
82       0520         Chester County            45 Manor Avenue, Suite 200     Downingtown      Pennsylvania 19335         Chester         United States
                      Obstetrics/Gynecology                                                                                                of America
                      Services
84       0522         Chester County            119 E. Uwchlan Avenue, Suite Exton              Pennsylvania 19341         Chester         United States
                      Obstetrics/Gynecology     100, 102, 200, 201                                                                         of America
                      Services., Assoc. for
                      Women's Medicine &
                      Whiteland Medical
                      Associates for
                      Progressive Health

86       0525           CCH - Dionne Marie      Rt. 202 S & Dilworthtown       West Chester     Pennsylvania 19380         Delaware        United States
                        Curran - Chamoun,       Road                                                                                       of America
                        D.O.
87       0526           Chester County          Fern Hill III, Building D, Suite West Chester   Pennsylvania 19380         Chester         United States
                        OB/GYN, CHH             203, 400, 502, 503, 600                                                                    of America
                        Radiology, CCH
                        Laboratory, CCH Café
                        & Women's Specialty
                        Center
88       0528           CCH Radiology & PT      716 West Lincoln Highway       Exton            Pennsylvania 19341-2547    Chester         United States
                                                                                                                                           of America
         0532           Chester County          728 West Lincoln Highway       Exton            Pennsylvania 19341-2547    Chester         United States
                        Hospital                                                                                                           of America
89       0529           CCH - So. Chester       Jennersville Bldg., 105       West Grove        Pennsylvania 19309         Chester         United States
                        County Family           Vineyard Way, Suite 102, 103,                                                              of America
                        Practice & Laboratory   105
90       0247           Washington Semester     1608 Rhode Island Avenue      Washington        District of   20036-3206   District of     United States
                        Program                 Northwest                                       Columbia                   Columbia        of America

                                                                         Page 43
                                                                                                                                         Case ID: 210900124
                                                                                                                                     POLICY-122
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 156 of 172


                                                            SCHEDULE OF LOCATIONS                                           Account No. 1-56307
                                                                APPENDIX A                                                   Policy No. 1056619

Loc. No. ID Index No. Name                    Street Address               City              State        Postal Code   County         Country
92       0533 003072.78 Chester County        455 Woodview Road            West Grove        Pennsylvania 19390-9147    Chester        United States
                        Hospital                                                                                                       of America
95       0090 002824.66 FMC Tower             2929 Walnut Street           Philadelphia      Pennsylvania 19104-5042    Philadelphia   United States
                                                                                                                                       of America
97       0687 003014.95 UPHS Corporate        3930 Chestnut Street         Philadelphia      Pennsylvania 19104-3111    Philadelphia   United States
                                                                                                                                       of America
99       0467 003253.11 UCA Properties        427 South 45th Street        Philadelphia      Pennsylvania 19104-3972    Philadelphia   United States
                                                                                                                                       of America
100      0066 003253.65 Residential House     2424 Pine Street             Philadelphia      Pennsylvania 19103-6417    Philadelphia   United States
                                                                                                                                       of America
101      0081 003253.73 WXPN Radio Tower      216 Paoli Avenue             Philadelphia      Pennsylvania 19128-4340    Philadelphia   United States
                                                                                                                                       of America
102      0393 036581.38 Wharton Finance and 2401 Walnut Street             Philadelphia      Pennsylvania 19103-4340    Philadelphia   United States
                        Administration                                                                                                 of America
104      0083 003253.77 Commonwealth        614 North 3rd Street           Philadelphia      Pennsylvania 19123-2902    Philadelphia   United States
                        Relations                                                                                                      of America
105      0468 003253.12 UCA Properties      4431 Spruce Street             Philadelphia      Pennsylvania 19104-4723    Philadelphia   United States
                                                                                                                                       of America
106      0469 003253.13 UCA Properties        4625 Spruce Street           Philadelphia      Pennsylvania 19139-4542    Philadelphia   United States
                                                                                                                                       of America
108      0239 003254.41 Herbert D. Katz       420 Walnut Street            Philadelphia      Pennsylvania 19104         Philadelphia   United States
                        Center for Advanced                                                                                            of America
                        Judaic Studies
109      0098 003253.21 UCA Properties -      127-129 Spruce Street        Philadelphia      Pennsylvania 19104         Philadelphia   United States
                        Benjamin Paschall                                                                                              of America
                        House
111      0214           University of         4775 Notwane Road            Gaborne                       0022                          Botswana
                        Botswana
112      0394           Penn Wharton China    West Building 16F, No. 1 East Chaoyang         Beijing     100000                        China
                        Center- World         Third Ring Middle Road
                        Financial Center
113      0681           Penn Radiology King   491 Allendale Rd Ste 104     King of Prussia   Pennsylvania 19406-1430    Montgomery     United States
                        of Prussia                                                                                                     of America

                                                                      Page 44
                                                                                                                                    Case ID: 210900124
                                                                                                                                  POLICY-123
                             Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 157 of 172


                                                           SCHEDULE OF LOCATIONS                                           Account No. 1-56307
                                                               APPENDIX A                                                   Policy No. 1056619

Loc. No. ID Index No. Name                Street Address                  City              State        Postal Code   County          Country
117      0894 002120.44                   401 Bordentown Hedding          Bordentown        New Jersey   08505         Burlington      United States
                                          Road, Unit 400                                                                               of America
118    0670          Penn Cardiology      155 Medical Center Way, 2nd     Somers Point      New Jersey   08244         Atlantic        United States
                     Somers Point         Floor                                                                                        of America
119    0673          Penn Radiology Paoli 250 W Lancaster Avenue Ste      Paoli             Pennsylvania 19301-1729    Chester         United States
                                          180                                                                                          of America
120    0564          Sleep Center Malvern 12 E Swedesford Rd              Malvern           Pennsylvania 19355-1488    Chester         United States
                     (Homewood Suites                                                                                                  of America
                     Great Valley)
121    0608          Penn Neurosurgery    235 S 8th St                    Philadelphia      Pennsylvania 19106-3519    Philadelphia    United States
                     PAH                                                                                                               of America
122    0678          Penn Home Infusion 625 Clark Avenue Ste 10           King of Prussia   Pennsylvania 19406-4025    Montgomery      United States
                     Therapy                                                                                                           of America
123    0680          Penn Plastic Surgery 23 Morris Avenue, Suite 219     Bryn Mawr         Pennsylvania 19010         Montgomery      United States
                     Bryn Mawr                                                                                                         of America
124    0655          Penn Family Medicine 33 E Chestnut Hill Avenue       Philadelphia      Pennsylvania 19118-2714    Montgomery      United States
                     Chestnut Hill                                                                                                     of America
125    0665          Penn Cardiology at   8846 Frankford Avenue           Philadelphia      Pennsylvania 19136-1313    Philadelphia    United States
                     Mayfair                                                                                                           of America
126    0671          Penn Medicine at     1006 Mantua Pike                Woodbury Heights New Jersey    08097-1221    Gloucester      United States
                     Woodbury Heights                                                                                                  of America
127    0675          Penn Medicine Urgent 1930 S Broad St                 Philadelphia      Pennsylvania 19145-2328    Philadelphia    United States
                     Care                                                                                                              of America
       0676          Good Shepherd Penn 1900 S Broad St                   Philadelphia      Pennsylvania 19145-2304    Philadelphia    United States
                     Partners                                                                                                          of America
128    0536                               800 E Virginia Avenue           West Chester      Pennsylvania 19380-4430    Chester         United States
                                                                                                                                       of America
129    0677          Penn Medicine         63 Lakeview Drive North        Gibbsboro         New Jersey   08026         Camden          United States
                     Gibbsboro                                                                                                         of America
130    0609          Mill Creek School -   111 N 49th St                  Philadelphia      Pennsylvania 19139-2718    Philadelphia    United States
                     Kirkbride Center                                                                                                  of America
131    0563          5200 Grays Avenue     5200 Grays Avenue              Philadelphia      Pennsylvania 19143-5817    Philadelphia    United States
                     (NPP Storage Lease)                                                                                               of America

                                                                     Page 45
                                                                                                                                    Case ID: 210900124
                                                                                                                                  POLICY-124
                                  Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 158 of 172


                                                                 SCHEDULE OF LOCATIONS                                         Account No. 1-56307
                                                                     APPENDIX A                                                 Policy No. 1056619

Loc. No. ID Index No. Name                       Street Address                 City           State         Postal Code   County          Country
132      0691         School Bell                2000 Varsity Lane              Bear           Delaware      19701-3900    New Castle      United States
                      Apartments (UPHS                                                                                                     of America
                      represented by
                      Elizabeth Johnston)
133      0689         PennSTAR IV Base           Reading Regional Airport,      Reading        Pennsylvania 19605          Berks           United States
                                                 2501 Bernville Road                                                                       of America
134      0111            WXPN                    20 Thomas Drive                Hackettstown   New Jersey    07840-4807    Warren          United States
                                                                                                                                           of America
135      0672            Penn Neurosurgery       101 Atlantic City Int'l Airport, Egg Harbor   New Jersey    08234         Atlantic        United States
                         Egg Harbor              Ste 214,                         Township                                                 of America
136      0634            Award Self Storage      301 S Burnt Mill Rd              Voorhees     New Jersey    08043-1106    Camden          United States
                                                                                                                                           of America
137      0682            UPHS Clinical        1000 Germantown Pike Ste D2 Plymouth Meeting Pennsylvania 19462-2484         Montgomery      United States
                         Practice                                                                                                          of America
138      0565            Penn Star 6 (Wings   1501 Narcissa Rd            Blue Bell        Pennsylvania 19422-2499         Montgomery      United States
                         Airport)                                                                                                          of America
139      0692            Penn Star Cross Keys 1531 N Tuckahoe Rd          Williamstown     New Jersey 08094-8913           Gloucester      United States
                                                                                                                                           of America
140      0560           CHOP Loading Dock 3401 Civic Center Boulevard Philadelphia             Pennsylvania 19104-4319     Philadelphia    United States
                        (HUP lease)                                                                                                        of America
141      0693 001422.67 UPHS Data Center  4775 League Island Boulevard Philadelphia            Pennsylvania 19112-1220     Philadelphia    United States
                                                                                                                                           of America
142      0396            Wharton Public Policy   440 1st St NW                  Washington     District of   20001-2023    District of     United States
                         Initiative                                                            Columbia                    Columbia        of America
143      0669            Penn Neurosurgery -     217 Madison Avenue             Mt. Holly      New Jersey    08060         Burlington      United States
                         Virtua Mt. Holly                                                                                                  of America
144      0257            SDM - 1205              1205 Westlakes Drive Ste 180 Berwyn           Pennsylvania 19312-2405     Chester         United States
                         Westlakes Drive, Ste.                                                                                             of America
                         180
146      0674            Penn                    777 Township Line Rd Ste 140 Yardley          Pennsylvania 19067-5565     Bucks           United States
                         Cardiology/PennCare                                                                                               of America
                         Bucks County Internal
                         Medicine

                                                                         Page 46
                                                                                                                                         Case ID: 210900124
                                                                                                                                      POLICY-125
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 159 of 172


                                                               SCHEDULE OF LOCATIONS                                              Account No. 1-56307
                                                                   APPENDIX A                                                      Policy No. 1056619

Loc. No. ID Index No. Name                       Street Address                  City             State         Postal Code   County          Country
148      0248         Penn Biden Center          101 Constitution Avenue NW      Washington       District of   20001-2192    District of     United States
                                                                                                  Columbia                    Columbia        of America
149     0397              Wharton Apartment      301 Main St., 35 Floor          San Francisco    California    94105         San Francisco   United States
                                                                                                                                              of America
150     0652              Haverford Addiction    349 West Lancaster Avenue       Haverford        Pennsylvania 19041          Montgomery      United States
                          Medicine                                                                                                            of America
151     0653              Penn Medicine at       420 W Linfield Trappe Rd Ste Royersford          Pennsylvania 19468-4275     Montgomery      United States
                          Limerick               1000                                                                                         of America
152     0654              West Chester Family    1055 Andrew Drive, Suite A-3 West Chester        Pennsylvania 19382          Chester         United States
                          Practice                                                                                                            of America
153     0658              Internal Medicine at   7133 Roosevelt Boulevard        Philadelphia     Pennsylvania 19149-1431     Philadelphia    United States
                          Mayfair                                                                                                             of America
154     0659              Penn Family Medicine   824 Main St Ste 100             Phoenixville     Pennsylvania 19460-4478     Chester         United States
                                                                                                                                              of America
155     0660              Addiction Medicine     355 Lancaster Avenue            Haverford        Pennsylvania 19041-1547     Montgomery      United States
                                                                                                                                              of America
156     0661              Penn Family Medicine 687 Unionville Rd                 Kennett Square   Pennsylvania 19348-4717     Chester         United States
                          Unionville                                                                                                          of America
157     0662              UPHS Clinical        200 Willowbrook Lane              West Chester     Pennsylvania 19382-5697     Chester         United States
                          Practice                                                                                                            of America
158     0664              Penn Cardiology Cape 211 S Main St Ste 205             Cape May Court   New Jersey    08210-2264    Cape May        United States
                          May Court House                                        House                                                        of America

159     0666             Penn Cardiology        200 Campbell Drive               Willingboro      New Jersey    08046-1067    Burlington      United States
                         Willingboro                                                                                                          of America
160     0667             Penn Transplant        3205 Fire Rd                     Egg Harbor       New Jersey    08234-5884    Atlantic        United States
                         Institute (Egg Harbor)                                  Township                                                     of America
161     0668             Penn Cardiology        1076 E Chestnut Avenue           Vineland         New Jersey    08360-5843    Cumberland      United States
                         Vineland                                                                                                             of America
162     0702                                    1400 N. American Street, Suite   Philadelphia     Pennsylvania 19122-3838     Philadelphia    United States
                                                100C                                                                                          of America
163     0709   002969.80                        3250 S 76th St                   Philadelphia     Pennsylvania 19153-3254     Philadelphia    United States
                                                                                                                                              of America

                                                                          Page 47
                                                                                                                                           Case ID: 210900124
                                                                                                                                         POLICY-126
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 160 of 172


                                                               SCHEDULE OF LOCATIONS                                          Account No. 1-56307
                                                                   APPENDIX A                                                  Policy No. 1056619

Loc. No. ID Index No. Name                Street Address                        City           State        Postal Code   County         Country
164      0643         UPHS Clinical       Two Bala Plaza, Suite IL-27           Bala Cynwyd    Pennsylvania 19004-1156    Montgomery     United States
                      Practices - Penn                                                                                                   of America
                      Medicine Bala
                      Cynwyd
165      0895         Washington Township 239 Hurffville Crosskeys Rd           Sewell         New Jersey   08080-4002    Gloucester     United States
                                                                                                                                         of America
166      0896           Moorestown Cancer        350 Young Avenue               Moorestown     New Jersey   08057-3115    Burlington     United States
                        Center/Virtua Samson                                                                                             of America
                        Cancer Center
167      0701 002844.99 Perelman School of       3711 Market St Ste 800         Philadelphia   Pennsylvania 19104-5532    Philadelphia   United States
                        Medicine                                                                                                         of America
168      0703           School of Social         4725 Chestnut Street, 112 and Philadelphia    Pennsylvania 19139-4614    Philadelphia   United States
                        Policy and Practice      113                                                                                     of America
169      0707 003732.96 UPHS - Gym/Parking       4050 Ludlow St                Philadelphia    Pennsylvania 19104-3038    Philadelphia   United States
                        Garage                                                                                                           of America
170      0717 003730.05 Division of Recreation   3331 River Fields Drive        Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        and Athletics -                                                                                                  of America
                        Mondschein Throwing
                        Complex

         0718 003730.05 Division of Recreation 3331 River Fields Drive          Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        and Athletics - Ellen                                                                                            of America
                        Vagelos C'90 Field
                        Hockey Field

         0719 003730.05 Division of Recreation 3331 River Fields Drive          Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        and Athletics - Rhodes                                                                                           of America
                        Soccer Stadium and
                        Field




                                                                           Page 48
                                                                                                                                       Case ID: 210900124
                                                                                                                                  POLICY-127
                                    Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 161 of 172


                                                              SCHEDULE OF LOCATIONS                                         Account No. 1-56307
                                                                  APPENDIX A                                                 Policy No. 1056619

Loc. No. ID Index No. Name                     Street Address                 City           State        Postal Code   County         Country
         0720 003730.05 Division of Recreation 3331 River Fields Drive        Philadelphia   Pennsylvania 19104         Philadelphia   United States
                        and Athletics -                                                                                                of America
                        Meikeljohn Stadium -
                        Murphy Field

171       0721 003731.19 Hospital of the        1600 Warfield Street          Philadelphia   Pennsylvania 19145         Philadelphia   United States
                         University of                                                                                                 of America
                         Pennsylvania - Parking
                         Lot




                                                                         Page 49
                                                                                                                                   Case ID: 210900124
                                                                                                                                POLICY-128
                                   Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 162 of 172


                                                                       WIND AREAS                                               Account No. 1-56307
                                                                       APPENDIX B                                                Policy No. 1056619

Loc. No. ID Index No. Name                       Street Address                 City             State        Postal Code   County          Country
27       0650           UPHS Clinical            3549 Chestnut St, 9th Floor.   Mays Landing     New Jersey   08330-8908    Atlantic        United States
                        Practices - Sleep                                                                                                   of America
                        Center, Sheraton
                        University City Hotel
28       0651           UPHS Clinical            155 Medical Center Way, 2nd May's Landing       New Jersey   08330         Atlantic        United States
                        Practices - Penn         Floor                                                                                      of America
                        Cardiology Somers
                        Point at Shore
                        Memorial Cancer
                        Center
36       0089 021370.78 Penn Club                30 West 44th Street            New York         New York     10036-6604    New York        United States
                                                                                                                                            of America
117      0894 002120.44                          401 Bordentown Hedding      Bordentown          New Jersey   08505         Burlington      United States
                                                 Road, Unit 400                                                                             of America
118      0670             Penn Cardiology        155 Medical Center Way, 2nd Somers Point        New Jersey   08244         Atlantic        United States
                          Somers Point           Floor                                                                                      of America
132      0691             School Bell            2000 Varsity Lane           Bear                Delaware     19701-3900    New Castle      United States
                          Apartments (UPHS                                                                                                  of America
                          represented by
                          Elizabeth Johnston)
135      0672             Penn Neurosurgery      101 Atlantic City Int'l Airport, Egg Harbor     New Jersey   08234         Atlantic        United States
                          Egg Harbor             Ste 214,                         Township                                                  of America
143      0669             Penn Neurosurgery -    217 Madison Avenue               Mt. Holly      New Jersey   08060         Burlington      United States
                          Virtua Mt. Holly                                                                                                  of America
158      0664             Penn Cardiology Cape   211 S Main St Ste 205          Cape May Court   New Jersey   08210-2264    Cape May        United States
                          May Court House                                       House                                                       of America

159      0666             Penn Cardiology        200 Campbell Drive             Willingboro      New Jersey   08046-1067    Burlington      United States
                          Willingboro                                                                                                       of America
160      0667             Penn Transplant        3205 Fire Rd                   Egg Harbor       New Jersey   08234-5884    Atlantic        United States
                          Institute (Egg Harbor)                                Township                                                    of America
161      0668             Penn Cardiology        1076 E Chestnut Avenue         Vineland         New Jersey   08360-5843    Cumberland      United States
                          Vineland                                                                                                          of America

                                                                           Page 1
                                                                                                                                         Case ID: 210900124
                                                                                                                                       POLICY-129
                               Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 163 of 172


                                                            WIND AREAS                                        Account No. 1-56307
                                                            APPENDIX B                                         Policy No. 1056619

Loc. No. ID Index No. Name                 Street Address          City         State        Postal Code   County         Country
166      0896         Moorestown Cancer 350 Young Avenue           Moorestown   New Jersey   08057-3115    Burlington     United States
                      Center/Virtua Samson                                                                                of America
                      Cancer Center




                                                              Page 2
                                                                                                                        Case ID: 210900124
                                                                                                                   POLICY-130
           Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 164 of 172


                                                                                 Account No. 1-56307
                                                                                   Policy No. 1056619

                     SUPPLEMENTAL UNITED STATES
               CERTIFIED ACT OF TERRORISM ENDORSEMENT
This Endorsement is applicable to all insured Locations in the United States, its territories
and possessions and the Commonwealth of Puerto Rico.

Coverage for “Certified Act of Terrorism” Under The Terrorism Risk Insurance Act of 2002, as
amended.

In consideration of a premium charged of USD212,405, this Policy, subject to the terms and conditions
therein and in this Endorsement, covers direct physical loss or damage to insured property and any
resulting TIME ELEMENT loss, as provided in the TIME ELEMENT section of the Policy, caused by or
resulting from a Certified Act of Terrorism as defined herein.

Notwithstanding anything contained elsewhere in this Policy, any exclusion or limitation of terrorism in
this Policy and any endorsement attached to and made a part of this Policy, is hereby amended to the
effect that such exclusion or limitation does not apply to a “Certified Act of Terrorism” as defined herein.
This amendment does not apply to any limit of liability for a Certified Act of Terrorism, if any, stated
under the LIMITS OF LIABILITY clause of the DECLARATIONS section of this Policy.

With respect to any one or more Certified Act(s) of Terrorism, this Company will not pay any amounts
for which the Company is not responsible under the terms of the Terrorism Risk Insurance Act of 2002
(including subsequent action of Congress pursuant to the Act) which includes a provision stating that if
the aggregate insured losses exceed USD100,000,000,000 during any calendar year, neither the United
States Government nor any insurer that has met its insurer deductible shall be liable for the payment of
any portion of the amount of such losses that exceed USD100,000,000,000. If the aggregate insured
losses for all insurers exceed USD100,000,000,000, your coverage may be reduced.

The coverage provided under this Endorsement for “Certified” losses caused by acts of terrorism will be
partially reimbursed by the United States Government under a formula established by Federal Law.
Under this formula, the United States pays 85% (and beginning on January 1, 2016, shall then decrease by
1 percentage point per calendar year until equal to 80 percent) of covered terrorism losses exceeding a
statutorily established retention by the insurer referenced in this Policy. The premium charged for this
coverage is provided above.

The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism
exclusion, do not serve to create coverage for any loss which would otherwise be excluded under this
Endorsement or the Policy.

The coverage provided by this Endorsement only applies to a Certified Act of Terrorism.

Reference and Application: The following term(s) means:

Certified Act of Terrorism:

A “Certified Act of Terrorism” means any act that is certified by the Secretary of the Treasury, in
consultation with the Secretary of Homeland Security, and the Attorney General of the United States, to
be an act of terrorism pursuant to the federal Terrorism Risk Insurance Act of 2002 as amended and

Form FMG7308                                  Page 1 of 2                          Edition January 2015

                                                                                                     Case ID: 210900124
                                                                                                  POLICY-131
           Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 165 of 172


extended in 2005, 2007, and in 2015. The criteria contained in that Act for a “Certified Act of Terrorism”
include the following:

      a. The act resulted in aggregate losses in excess of USD5,000,000; and

      b. The act is a violent act or an act that is dangerous to human life, property or infrastructure and
         is committed by an individual or individuals as part of an effort to coerce the civilian
         population of the United States or to influence the policy or affect the conduct of the United
         States Government by coercion.




Form FMG7308                                  Page 2 of 2                          Edition January 2015

                                                                                                     Case ID: 210900124
                                                                                                  POLICY-132
              Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 166 of 172



                                                                                          Account No. 1-56307
                                                                                           Policy No. 1056619


                       RISK IMPROVEMENT COVERAGE ENDORSEMENT

It is agreed that this Endorsement is a part of the Policy and that the terms and conditions of the Policy are
amended as described herein. All other terms and conditions of the Policy remain unchanged.

Coverage provided under this Endorsement only applies to property described on Appendix A.

COVERAGE:

In consideration of the premium charged and subject to the terms, conditions, exclusions and limitations
of the Policy, as provided in the Valuation clauses of the Policy when insured property is repaired or
replaced as a direct result of insured physical loss or damage, the Policy is extended to cover:

       A.      The reasonable and necessary extra cost incurred by the Insured within two years of the
               physical loss or damage, at the place where the physical loss or damage happened or, if
               damaged property is rebuilt, repaired or replaced at another site, at such other site, to satisfy
               physical protection loss prevention recommendations in the FM Global Property Loss
               Prevention Data Sheets current at the time of the physical loss or damage utilizing FM
               Approved products and materials where applicable.

LIMIT OF LIABILITY: This Company's liability in a single occurrence under this Endorsement shall not
exceed 10% of the amount of PROPERTY DAMAGE loss at the insured location, not to exceed
USD500,000.

The amount of PROPERTY DAMAGE loss for purposes of the provision above does not include:

               1)    the application of any deductible(s) under the Policy.
               2)    the costs recoverable under this Endorsement.
               3)    stock, work in process, raw materials, finished goods or merchandise.
               4)    process water.
               5)    molds and dies.
               6)    property in the open.
               7)    property of others for which the Insured is legally liable.
               8)    personal property of employees and officers of the Insured.

RISK IMPROVEMENT COVERAGE ENDORSEMENT Exclusions: As respects this Endorsement, the
following additional exclusions apply:

This Endorsement does not cover:

               1)    stock, work in process, raw materials, finished goods or merchandise.
               2)    process water.
               3)    molds and dies.
               4)    property in the open.
               5)    property of others for which the Insured is legally liable.
               6)    personal property of employees and officers of the Insured.

Form FMG7332                                      Page 1 of 2
Factory Mutual Insurance Company



                                                                                                         Case ID: 210900124
                                                                                                      POLICY-133
             Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 167 of 172



               7) property adjusted on a basis other than repair or replacement as provided in the
                  Valuation clauses of the Policy.
               8) any loss recoverable elsewhere in the Policy.

ADDITIONAL CONDITION

Notwithstanding the provisions of the Valuation clauses of this Policy, the Insured must repair or replace
the insured real and/or personal property lost, damaged or destroyed as a condition for coverage under
this Endorsement.

TIME ELEMENT:

This Endorsement does not cover TIME ELEMENT loss.




Form FMG7332                                    Page 2 of 2
Factory Mutual Insurance Company



                                                                                                     Case ID: 210900124
                                                                                                 POLICY-134
            Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 168 of 172


                                                                                  Account No. 1-56307
                                                                                   Policy No. 1056619


                       CYBER OPTIMAL RECOVERY ENDORSEMENT

It is agreed that this Endorsement is a part of the Policy and that the terms and conditions of the Policy are
amended as described herein. All other terms and conditions of the Policy remain unchanged.

INSURED OPTION:

The Insured acknowledges having purchased a cyber policy.

As respects loss or damage that is covered by both this Policy and the cyber policy, and notwithstanding
anything contained in the OTHER INSURANCE clause in the GENERAL PROVISIONS section of this
Policy, the Insured may elect, within 180 days of notifying this Company of the loss, to apportion the loss
between this Policy and the cyber policy and to designate this Policy as primary, excess or contributing
insurance to the cyber policy with respect to each portion of the loss, provided designating it as such is
necessary to maximize the total indemnity available for the loss under both this Policy and the cyber
policy.

This election option shall be subject to the following additional conditions:

ADDITIONAL CONDITIONS

1) The Insured will provide this Company with a copy of any cyber policy in force at the time of loss.

2) Any coverage provided by the cyber policy that is not provided by this Policy does not extend to this
   Policy.

3) The insolvency, inability or unwillingness to pay of the company issuing the cyber policy shall in no
   event increase this Company’s liability or delay settlement under this Policy.




Form FMG7558                                      Page 1 of 1                              Edition October 2016


                                                                                                      Case ID: 210900124
                                                                                                   POLICY-135
Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 169 of 172




                                                 Filed and Attested by the
                                                Office of Judicial Records
                                                    02 SEP 2021 06:03 pm
                                                           S. RICE




                       Exhibit B




                                                                 Case ID: 210900124
          Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 170 of 172



                                                                 Factory Mutual Insurance Company
                                                                 1 Country View Road, Suite 200
                                                                 Malvern, PA 19355 USA
                                                                 T: 610 296 3100 F: 610 993 3338
                                                                 Direct Dial (610) 407-3469
                                                                 E-Mail: Steven.Gioia@fmglobal.com

August 3, 2020


Mr. Benjamin Evans, ARM
Associate Vice President
University of Pennsylvania
Office of Risk Management & Insurance

Reference:       Insured:        University of Pennsylvania
                 Location:       Hospital of the University of Pennsylvania
                                 3400 Spruce St.
                                 Philadelphia, PA19104
                 Policy No:      1056619
                 Date of Loss:   April 3, 2020
                 Description:    Impact associated with COVID-19
                 Claim ID:       501699


Dear Mr. Evans:

This will acknowledge our receipt of your July 2, 2020 letter regarding the above referenced loss as well
as our telephone conversation of July 10, 2020 regarding same.

This will also confirm our receipt of your July 15, 2020 email and spreadsheet listing COVID-19 patients
at various University of Pennsylvania (UPenn) locations. As discussed, please provide a redacted copy of
a positive COVID-19 test result for a patient at The Hospital of the University of Pennsylvania (HUP) in
the early to mid-March 2020 timeframe. In addition, you agreed to provide a copy of any directives
issued by HUP limiting or restricting access. We also discussed the executive order issued by the
Governor of Pennsylvania restricting elective surgeries. We are already in possession of a copy of this
order, so an additional copy is not required. Provision of the above information will allow us to continue
our investigation and evaluation of coverage under FM Global Policy 1056619 for Communicable
Disease Response and Interruption by Communicable Disease. Please provide this information as your
earliest opportunity.

Your July 2, 2020 letter advises that there may be other avenues for business interruption coverage with
respect to losses arising from COVID-19 including Time Element Coverages, Civil or Military Authority
Coverages and The Liberalization Provision. At the conclusion of our call you advised that you were
making claim under the Communicable Disease Coverages at this time and were “leaving the door open”
to make claim under these other coverages. As we advised you previously, the Policy contains Additional
Coverages for COMMUNICABLE DISEASE RESPONSE and INTERRUPTION BY
COMMUNICABLE DISEASE, subject to all terms and conditions of the Policy. COVID-19 meets the
definition of a communicable disease under the Policy. Other key conditions of this coverage are the
actual not suspected presence of a communicable disease at a location owned, leased or rented by UPenn,
access to which has been limited, restricted or prohibited for more than 48 hours.




                                                                                                     Case ID: 210900124
            Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 171 of 172

                                                                                                         Page 2

Responding to your reference to Policy provisions other than the Communicable Disease coverages, and
your statement that the policy does not contain a “virus” exclusion, we note that the Policy insures all risks
of direct physical loss or damage except as hereinafter excluded. Therefore, coverage is not available absent
physical loss or damage of the type insured. The Policy specifically excludes coverage for contamination.
The presence of a virus, pathogen, or disease causing or illness causing agent such as COVID-19 is a form
of contamination as defined in the Policy, which is excluded. The relevant provisions, in part, are set forth
below:

       D.     This Policy excludes the following unless directly resulting from other physical
              damage not excluded by this Policy:
              1) contamination, and any cost due to contamination including the inability to
                  use or occupy property or any cost of making property safe or suitable for use
                  or occupancy. If contamination due only to the actual not suspected presence
                  of contaminant(s) directly results from other physical damage not excluded
                  by this Policy, then only physical damage caused by such contamination may
                  be insured. This exclusion D1 does not apply to radioactive contamination
                  which is excluded elsewhere in this Policy.

The Policy defines contamination under 13. DEFINITIONS within the GENERAL PROVISIONS of the
Policy on Page 68:

              contamination:
              any condition of property due to the actual or suspected presence of any foreign
              substance, impurity, pollutant, hazardous material, poison, toxin, pathogen or
              pathogenic organism, bacteria, virus, disease causing or illness causing agent, fungus,
              mold or mildew.

Therefore the policy does have a specific exclusion which identifies that a virus is contamination which
is excluded per the above cited exclusion.

Similarly, other Policy coverages cited in your letter, such as Civil or Military Authority, do not apply
absent physical loss or damage of the type insured. For example, the Policy states, in relevant part, as
follows:


      A.      CIVIL OR MILITARY AUTHORITY

              This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred
              by the Insured during the PERIOD OF LIABILITY if an order of civil or military
              authority limits, restricts or prohibits partial or total access to an insured location
              provided such order is the direct result of physical damage of the type insured at
              the insured location or within five statute miles/eight kilometres of it.

The presence of COVID-19 at an insured location does not constitute “physical damage of the type insured”
as required under this provision. Accordingly, the Policy’s Civil or Military Authority provision (and other
Policy provisions requiring physical loss or damage of the type insured) do not respond based on the
information presented.

Consequently, based on the limited information provided at this time, the coverage that appears potentially
available under our Policy for losses arising from COVID-19 is found in our Communicable Disease
coverages, assuming the conditions of those coverages are satisfied. As discussed above, to the extent



                                                                                                        Case ID: 210900124
            Case 2:21-cv-04490 Document 1-1 Filed 10/13/21 Page 172 of 172

                                                                                                        Page 3

UPenn believes that it has sustained physical loss or damage from other causes of loss, please provide
further information so that we may investigate those causes of loss.

If any of the above information is inaccurate, please advise. Once we have received the above requested
information and had an opportunity to complete our investigation and review of your policy information,
we will confirm any applicable coverages, loss payables, and deductibles in effect.

Neither this letter nor our investigation is an admission or denial of liability and does not waive any right
or duties of either party under the Factory Mutual Insurance Company Policy. Anything done or to be
done by Factory Mutual Insurance Company, or on its behalf, in connection with the above described
matter, including but not limited to, any investigation into the cause or amount of loss or other matter
relative thereto, shall not waive, invalidate, forfeit or modify any of its rights under the policies issued by
it.

We would like to thank you for your cooperation in this matter and we look forward to working with you
on this loss. In the interim, should you have any questions or comments, please feel free to contact us.

Yours truly,


Steven A. Gioia CPCU, ARM
General Adjuster
Malvern Office/Washington Operations




For your protection, The State of Pennsylvania requires the following statement:
ANY PERSON WHO KNOWINGLY AND WITH INTENT TO DEFRAUD ANY INSURANCE COMPANY OR
OTHER PERSON FILES AN APPLICATION FOR INSURANCE OR STATEMENT OF CLAIM CONTAINING
ANY MATERIALLY FALSE INFORMATION, OR CONCEALS FOR THE PURPOSE OF MISLEADING,
INFORMATION CONCERNING ANY FACT MATERIAL THERETO, COMMITS A FRAUDULENT
INSURANCE ACT, WHICH IS A CRIME, AND SHALL ALSO BE SUBJECT TO A CIVIL PENALTY NOT TO
EXCEED FIVE THOUSAND DOLLARS AND THE STATED VALUE OF THE CLAIM FOR EACH
VIOLATION.




                                                                                                      Case ID: 210900124
